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              IN THE CIRCUIT COURT OF LINCOLN COUNTY, ARKANSAS


STAR CITY COLLISION CENTER, LLC                                                     PLAINTIFF

       vs.

STATE AUTO PROPERTY
AND CASUALTY INSURANCE COMPANY                                                      DEFENDANT



                                         COMPLAINT

       Comes now the Plaintiff, Star City Collision Center, LLC, by and through its attorneys,

Gibson & Keith, PLLC, and for its Complaint and causes of action against the Defendant, State Auto

Property and Casualty Insurance Company, states and alleges as follows:

       1.      Plaintiff Star City Collision Center, LLC, is an Arkansas company with its principal

place of business located in Star City, Lincoln County, Arkansas.

       2.      Defendant State Auto Property and Casualty Insurance Company is a foreign

insurance company engaged in the business of selling property and casualty insurance in the State

of Arkansas. The Registered Agent for service of process for Defendant is the Corporation Service

Company located at 300 Spring Bldg., Suite 900, 300 S. Spring Street, Little Rock, Arkansas, 72201.

                                          Backrround

       3.      In exchange for a valuable premium paid by Plaintiff to Defendant, the Defendant

sold and issued a Business Owners insurance policy to Plaintiff that provided coverage for fire and

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casualty losses to Plaintiff's body and repair shop building facility in Star City, Arkansas, and the

equipment and other personalty situated therein, and other coverages related to fire and casualty

losses including demolition cost and debris removal, bailee coverage, fire department charge

coverage, garagekeepers coverage, consequential damage coverage, inventory and appraisal

coverage, outdoor sign coverage, and personal effects coverage. Attached hereto as Exhibit "A" is

a true and correct copy of this Business Owners insurance policy issued by Defendant to Plaintiff on

or about November 3, 2016, which bears policy number BOP 2896359.

       4.      On or about January 14, 2017, the Plaintiff's said body and repair shop facility in Star

City, Arkansas, and the personal property contents therein, were totally destroyed by fire.

       5.      The fire appears to have originated from a wiring problem with a customer's camper

that was in Plaintiff's said shop for repair. Subsequent to the fire, it was discovered that a recall

notice had been issued by the manufacturer of the camper relative to a fire risk and hazard associated

with an improper installation of the air conditioning unit in the camper.

       6.      Early on the morning of January 14, 2017, notification of the fire and consequence

loss was given to Defendant's Star City agent Kevin White.

       7.      On January 17, 2017, Defendant's adjusters and fire investigators came to Star City

and investigated the fire and things pertaining thereto, and took recorded statements of the principals

of the Plaintiff, namely Jody Davis and Barbara Outlaw.           Thereafter on January 20, 2017,

Defendant's adjuster Jeff Maxwell contacted Ms. Outlaw by phone and asked additional questions

of her which she answered.

       8.      While in Star City on January 17, 2017, Defendant's adjuster Rafe Meurer informed

Mr. Davis and Ms. Outlaw that an advance of $20,000 on the policy coverages would be made by


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Defendant to Plaintiff in the next few days given that the fire had put Plaintiff completely out-of-

business.

       9.      When the advance on policy coverages was not forthcoming, Plaintiffs

representatives contacted Defendant's adjuster Jeff Maxwell on February 6, 2017, asking when the

advance on the policy would be made. After failing to keep his promise to provide an answer about

an advance on February 8, 2017, Mr. Maxwell said he needed until February 15, 2017, to get an

answer. That day came and went without further response about an advance on the policy, a status

that remains true today.

       10.     By letter dated February 3, 2017, but not received by Plaintiff until February 9, 2017,

Defendant provided Plaintiff with a proof of loss form.

       11.     By letter transmitted by e-mail to Defendant's adjusters Maxwell, Durham and Laird

on February 24, 2017, the Plaintiff submitted a detailed proof of loss relative to the fire that

destroyed their business. The original of the proof ofloss was on the same day sent by certified mail

by Plaintiff to Defendant.

                                       Claims on the Policy

       12.     Given the total loss by fire of the Plaintiff's body and repair shop building facility,

and the provisions of the Arkansas Valued Policy Law, the Plaintiff made claim on the policy by way

of its said proof ofloss for the $550,000 limits of the building coverage afforded by the policy, and

Plaintiff seeks judgment against Defendant herein in the amount of said $550,000 limits for the fire

loss ofits building, plus both pre-judgment and post-judgment interest thereon until fully paid at the

highest rate provided by law, plus the 12% penalty prescribed by Arkansas law including Ark. Code

Ann. § 23-79-208, and plus all attorney fees, costs and expenses for the prosecution and collection


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of the loss as prescribed by Arkansas law including Ark. Code Ann. § 23-79-208, less amounts paid

to satisfy the bank mortgage against said body and repair shop facility.

       13.     Given the total loss by fire ofthe equipment and other contents ofPlaintiff's body and

repair shop building facility having a value in excess of $200,000, the Plaintiff made claim on the

policy by way of its said proof of loss for the $150,000 limits of the business personal property

coverage afforded by the policy, and Plaintiff seeks judgment against Defendant herein in the amount

of said $150,000 limits for the fire loss of its equipment and other business personal property, plus

both pre-judgment and post-judgment interest thereon until fully paid at the highest rate provided

by law, plus the 12% penalty prescribed by Arkansas law including Ark. Code Ann.§ 23-79-208,

and plus all attorney fees, costs and expenses for the prosecution and collection of the loss as

prescribed by Arkansas law including Ark. Code Ann.§ 23-79-208.

       14.     Give the destruction by fire of Plaintiff's body and repair shop building, it will be

necessary to have the remnants of said building demolished and the debris removed from the

Plaintiff's business premises. The policy sold by Defendant to Plaintiff affords demolition and

debris removal coverage up to 25% of the $5 50,000 limits of coverage on the building which would

be $137,500 in coverage for demolition and debris removal. Plaintiff obtained two proposals from

contractors to do the needed demolition and debris removal work. One proposal was for $36,000

and the other was for $40,000, and same were attached to Plaintiff's proof of loss submitted to

Defendant. Plaintiff made claim on the policy by way of its said proof of loss for the cost of

demolition and debris removal, and Plaintiff seeks judgment against Defendant herein in the amount

of the average of said proposals, specifically $38,000, for the demolition and debris removal, plus

plus both pre-judgment and post-judgment interest thereon until fully paid at the highest rate


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provided by law, plus the 12% penalty prescribed by Arkansas law including Ark. Code Ann. § 23-

79-208, and plus all attorney fees, costs and expenses for the prosecution and collection of the loss

as prescribed by Arkansas law including Ark. Code Ann. § 23-79-208.

        15.     The policy also affords an inventory and appraisal coverage which pays up to $1,000

for expenses incurred by Plaintiffto investigate a claim. Plaintiff has expended an amount in excess

of this $1,000 coverage for the services of a fire investigator and a forensic engineer to investigate

the subject fire claim, and made claim on the policy by way of its said proof of loss for said $1,000

limits of this coverage, and Plaintiff seeks judgment against Defendant herein in the amount of the

$1,000 limits of said coverage, plus plus both pre-judgment and post-judgment interest thereon until

fully paid at the highest rate provided by law, plus the 12% penalty prescribed by Arkansas law

including Ark. Code Ann. § 23-79-208, and plus all attorney fees, costs and expenses for the

prosecution and collection of the loss as prescribed by Arkansas law including Ark. Code Ann. §

23-79-208.

        16.    The policy also affords an additional coverage for outdoor signs with limits of $5,000.

Plaintiff estimates the value of its outdoor signs lost in the fire at $2,500, and has made claim on the

policy by way of its said proof of loss for $2,500 of this coverage, and Plaintiff seeks judgment

against Defendant herein in the amount of the $2,500 relative to said coverage, plus both pre-

judgment and post-judgment interest thereon until fully paid at the highest rate provided by law, plus

the 12% penalty prescribed by Arkansas     l~w   including Ark. Code Ann. § 23-79-208, and plus all

attorney fees, costs and expenses for the prosecution and collection of the loss as prescribed by

Arkansas law including Ark. Code Ann. § 23-79-208.

        17.    The policy also extends fire and casualty coverage to personal effects owned by


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Plaintiff and its officers and employees, and claim has been made by way of the proof ofloss for the

value personal effects lost by Plaintiff and its officers and employees in the fire. The total value of

those personal effects lost in the fire exceed the $5,000 limits of this coverage under the policy.

Plaintiff seeks judgment against Defendant herein in the amount of said $5,000 limits for the fire loss

of the personal effects of Plaintiff and its officers and employees, plus both pre-judgment and post-

judgrnent interest thereon until fully paid at the highest rate provided by law, plus the 12% penalty

prescribed by Arkansas law including Ark. Code Ann. § 23-79-208, and plus all attorney fees, costs

and expenses for the prosecution and collection of the loss as prescribed by Arkansas law including

Ark. Code Ann. § 23-79-208.

                                             Bad Faith

       18.     Defendant tried to require Plaintiffs principals Jody Davis and Barbara Outlaw to

sign a blanket authorization/release forms that would give Defendant and its agents and adjusters

unfettered access to every personal document and record imaginable respecting them, including,

without limitation, their personal medical records, photographs and phone records, as well as "any

other materials or records" that may be deemed necessary by Defendant to do its investigation of the

claim. There was no provision made in the forms that would require Defendant to provide copies

of whatever it obtained to Mr. Davis or Ms. Outlaw. Also, and notably, no request was made by

Defendant for an authorization form to be given by the insured, Plaintiff herein.

       19.     Through counsel Mr. Davis and Ms. Outlaw objected to signing and giving the forms

submitted by Defendant unless it could be shown that such was required by the terms ofthe 13 7 page

fine-print insurance policy. At no time thereafter has Defendant shown Plaintiff or its principals any

provision in the policy that requires an insured, or its principals such as Mr. Davis and Ms. Outlaw,


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to give any kind of authorization for release of information, much less a blanket authorization with

terms allowing Defendant to obtain documents all the way back to the time of a person's birth

certificate. Further, based on a reading of the 137 page fine-print policy, the policy, in fact, does not

contain any provision requiring an insured, or its principals such as Mr. Davis and Ms. Outlaw, to

give such an authorization to the Defendant insurance company.

        20.     Defendant's attempt to require Mr. Davis and Ms. Outlaw to give it a blanket

authorization for release of their most personal information is oppressive, abusive and evidence of

Defendant's bad faith in dealing with Plaintiff and its principals Davis and Outlaw relative to the

subject fire claim and Defendant's liability on the policy to Plaintiff.

        21.     Further, on February 7, 2017, Defendant demanded that Plaintiff provide Defendant

with up to 3 years of Plaintiff's financial records (including income and sales tax returns, bank

statements, monthly profit and loss statements, payroll registers, etc.), and with the personal financial

records (including tax returns, bank statements, etc.) of Mr. Davis (who is not even insured under

the policy) relative to a potential claim on the policy for loss of business income. Plaintiff declined

to provide that information to Defendant because Plaintiff was not making a claim on the policy for

loss of business income.

       22.     By letter dated March 7, 2017, Defendant repeated its demand for the financial

records of Plaintiff and the personal financial records of Mr. Davis, and this time added demands for

the personal financial records of Ms. Outlaw who is also not an insured under the policy. Defendant

cited a provision in the policy in support of its demand that, in pertinent part, says "permit us to

make copies of your books and records ... " That policy provision obviously applies only to the

insured under the policy. Mr. Davis and Ms. Outlaw are not insureds under the policy. Yet, the


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Defendant demands their personal financial records. This requesting of personal financial records

from persons who are not insureds under the policy is obviously intended to intimidate and oppress,

and is part of Defendant's bad faith conduct relative to its liability under the policy to Plaintiff and

the subject fire loss. Further, Defendant's continuing demands for financial records of the insured

(Plaintiff) are wholly unnecessary as Plaintiff has not made claim for loss of business income on the

policy. Again, Defendant's conduct in this regard is no less than harassing and is being done in bad

faith.

         23.   Plaintiffhas cooperated with Defendant in its investigation ofthe fire loss. Plaintiff's

principals Davis and Outlaw have given recorded statements to Defendant's adjusters, and have

answered further questions posed by Defendant's adjusters to them by telephone. Plaintiff has also

provided Defendant with copies of its 2014 and 2015 income tax returns.

         24.   By e-mail of February 24, 2017, Defendant requested financial information relative

to the mortgage against Plaintiff's body and repair shop building and land, and Plaintiff promptly

provided a copy of the bank's claim and payoff statement regarding the mortgage to Defendant.

         25.   In that same February 24, 2017, e-mail, Defendant requested "financial

documentation relating to ... the business accounts of [Plaintiff]." Since Plaintiff had not made

claim for loss of business income on the policy, Plaintiff advised Defendant that it could not

understand the need of Defendant for financial information beyond that already provided, and asked

that Defendant "specifically" identify what further financial documentation it needed so that Plaintiff

could determine if same was "relevant" to the claims being made on the policy that should be

produced.

         26.   In that same February 24, 2017, e-mail, Defendant stated that it again wanted to


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question Mr. Davis and Ms. Outlaw. Having already given recorded statements, and having

answered other questions posed by Defendant's adjusters, Plaintiff responded by requesting

Defendant to specifically inform what further information it needed and that, if relevant to the claim,

same would be promptly provided to Defendant.

        27.     Then there is the letter from Defendant to Plaintiff dated March 7, 2017, which was

not received until the afternoon of March 9, 2017, wherein Defendant asserted that its adjuster

Durham wanted to meet with Mr. Davis and Ms. Outlaw on March 7, 2017, so that ''they may

provide statements regarding this claim and answer any questions that Mr. Durham may have", and

wherein Defendant goes on to inquire "whether [they] will be available to meet with Mr. Durham

at that time." Here Defendant engages in outright dishonest conduct, as Defendant well knew that

its March 7 letter request would not be received until some days after the March 7 date scheduled

by that letter for further questioning of Mr. Davis and Ms. Outlaw. This conduct constitutes a

dishonest attempt by Defendant to build a case for lack of cooperation by Plaintiff relative to

investigation of the claim. Further, on that day of March 7, 2017, Defendant's adjuster Durham was

in Star City, Arkansas, and made no attempt to ask for an additional interview or questioning of Mr.

Davis or Ms. Outlaw. This is clear evidence of the bad faith of Defendant and its adjusters in

handling the Plaintiff's claim on the policy for its losses in the fire.

       28.      Defendant well knows that it has no arson or other defense to its liability to Plaintiff

under the policy, but nevertheless Defendant has engaged in dishonest, abusive and oppressive

conduct to delay payment to Plaintiff under the policy, and to engage in a fishing expedition to try

and find something - anything - to avoid paying its legal obligations under the policy.

        29.     Further, the policy also affords garagekeeper coverage under which Defendant is


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obligated to pay the actual cash value of customer autos destroyed in the fire, plus the reasonable

value for loss of use of same, less a $500 deductible. This is an important coverage purchased by

Plaintiff from Defendant as Plaintiff's customers reasonably expect that a fire or other casualty loss

to his/her vehicle while in Plaintiff's possession for repairs or service will be paid by Plaintiff's

insurance.

       30.     There were a number of customer autos destroyed in the fire including a 1985

Freightliner Dump Truck and a 2003 Toyota Tacoma understood to be owned by William Hoisted,

a 2002 Mitsubishi Diamante understood to be owned by Dayton Reed, a 1983 Jeep CJ5 understood

to be owned by Jim Reed, a 2016 Polaris RZR 570 and 2007 Yamaha YRS 450 understood to be

owned by Barry Cole,a 1929 Mercedes Gazelle Replica understood to be owned by Gene Yarbrough,

· and a 2003 Yamaha 400 Kodiak understood to be owned by Charles Blevins.

       31.     On information and belief, said customers of the Plaintiff promptly contacted

Defendant after the fire about receiving payment for their autos destroyed in the fire, but to-date

Defendant has failed and refused to pay for their losses. Also on information and belief, Defendant's

response to said owners of said autos has been to say that their losses are still under investigation,

as part of a dishonest and oppressive effort to avoid or delay payment of what is obviously owed

under the policy to Plaintiff's customers. It has been over 2 months since Defendant was notified of

the total fire loss of Plaintiff's body and repair shop, and everything in it including the autos of

Plaintiff's customers, and Defendant still has yet to pay for same, or to offer substitute vehicles for

the use of those customers while they wait for Defendant to determine and pay them their losses.

       32.     Further, Defendants adjusters have falsely represented to Plaintiff's customers Barry

Cole and Charles Blevins that their all terrain vehicles destroyed in the fire are not customer autos


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covered by the garagekeepers coverage under the policy. The Cole and Blevins all terrain vehicles

are self-propelled 4-wheel vehicles designed to carry passengers on roads and other terrain and,

consequently, they are customer autos within the terms and coverage of the garagekeepers coverage

afforded by the policy. Defendant could have drawn its garagekeeper's coverage to only apply to

customer autos licensed to travel on public highways and streets, but it didn't. Consequently, the

garagekeepers coverage under the policy covers the fire loss to the Cole and Blevins all terrain

vehicles, and it is false, fraudulent and dishonest for Defendant to tell Plaintiff's customers Cole and

Blevins that their all terrain vehicles are not covered.

        33.     This conduct by Defendant is most harmful to the Plaintiff's relations with its said

customers, and Defendant knows it; yet, Defendant continues to drag its feet in dealing with and

paying these customer auto claims.

        34.     Plaintiffshould be awarded both compensatory and punitive damages for Defendant's

bad faith handling of the Plaintiff's claims on the policy relative to the fire. Defendant's conduct

has been dishonest, abusive, coercive and malicious, and same has and continues to cause harm and

damages to Plaintiff.

        WHEREFORE, the premises considered, the Plaintiff prays for judgment over and against

the Defendant in the amounts and for the things hereinabove set forth; and that Plaintiff have and

recover all other proper relief.

       Demand for Jwy Trial. The Plaintiff hereby respectfully demands that all issues and claims

herein be tried to and determined by a jury.




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                                    Respectfully Submitted,

                                    GIBSON & KEITH, PLLC
                                    Attorneys for Plaintiffs
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                                    Phone: 870/367-2438
                                    Fax:   870/367-8306

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                                           Ark. Bar No. 81067
                                           E-mail: ccgiii@gibsonandkeith.com




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                      Request for a Certified Copy of a policy
                                     Affidavit


State of Ar\ciMas

County of            L;neolri

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The undersigned, Cade Riley having been duly cautioned and sworn, states that he has
the title of Commercial Insurance Underwriter at State Auto Property and Casualty
Insurance Company. Afflant further states that the attached materials fairly and
accurately represent the insurance policy BOP 2896359 with effective dates of 11-3-16
to 11-3-17 issued by State Auto Property and casualty Insurance Company to Star City
Collision Center LLC as it would have appeared on 1-14-17. Further affiant saith naught.




Cade Riiey



Sworn to and subscribed in my presence this the           .:1_ day of F°'@QVAA--"/. 20_.L_?




                                                      Expiration Date of Notary's Commission
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     ~STATE AUTO•
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  STAR CITY INSURANCE AGENCY LLC                                                    Acct. Number CB90192283
  POBOX340
  STAR CITY, AR 71667




ITo:      Insured                                                           .. , Your Independent Ageht




 STAR CITY COLLISION CENTER LLC                                         STAR CITY INSURANCE AGENCY LLC
 1610 N LINCOLN AVE                                                     POBOX340
 STAR CITY, AR 71667                                                    STAR CITY, AR 71667




Thank you for insuring with State Auto Insurance Companies. Attached is information about your new business,
renewal or policy change. Please contact your agent with any questions.

Your coverages are listed on the attached declarations pages. Any new or revised coverage forms are attached.

The State Auto Insurance companies and your Independent agent strive to provide overwhelming service to you.
Please let us know how we can best serve your needs.

ENCLOSED DOCUMENTS ARE POLICY INFORMATION ONLY.
YOUR BILL WILL BE SENT SEPARATELY, IF NEEDED.
If you have questions concerning policy payment status, please call Payment Services at 1-800-444-9950, Ext. 5118.




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  ~STATE AUTOe
,,.;.) Insurance Companies                                                              BOP 2896359                      00

NAMED INSURED AND MAILING ADDRESS:                          AGENT NAME AND ADDRESS:
STAR CITY COLLISION CENTER LLC                              STAR CITY INSURANCE AGENCY LLC
1610 N LINCOLN AVE                                          POBOX340
STAR CITY, AR 71667                                         STAR CITY, AR 71667

                                                            (870) 628-5133
Dear Valued Customer,

Thank you for allowing us to provide your important insurance protection. Your satisfaction with your insurance
coverage is essential to us and we would like to keep you Informed about changes to your policy.

Please take a moment and review the notices listed below. These notices are intended to make you aware of
important changes such as coverage broadenings, reductions or restrictions. Your careful review is appreciated.

ff you have any questions about these changes, please contact your insurance agency at the address and phone
number shown above.

Again, thank you for placing your insurance with State Auto Insurance Companies!



                                   POLICYHOLDER INFORMATION


PN 01110404                         Fire Protection Notice -Arkansas
PS 001411 09                        Special Information for Arkansas Policyholders
PN02 390707                         lfYou Have a Claim
MC 78 0391                          Contractors - Hiring Subcontractors - SAVE Information
PS 00110707                         Notice of Premium Audit
PS 00 280112                        Data Compromise Breach Helpline
PS 00 380114                        Data Compromise Breach E-Risk Hub Stuffer




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                           POLICYHOLDER DISCLOSURE -
                    NOTICE OF TERRORISM INSURANCE COVERAGE
You are hereby notified that under the Terrorism Risk Insurance Act (Act), as amended, that you have a right to
purchase insurance coverage for losses arising out of certified acts of terrorism. The term "certified act of
terrorism" means any act that is certified by the Secretary of the Treasury - in accordance with the provisions
of the federal Terrorism Risk Insurance Act - to be an act of terrorism; to be a violent act or an act that is
dangerous to human life, property; or Infrastructure; to have resulted in damage within the United States, or
outside the United States in the case of certain air carriers or vessels or the premises of a United States
mission; and to have been committed by an individual or individuals as part of an effort to coerce the civilian
population of the United States or to influence the policy or affect the conduct of the United States Government
by coercion.

You should know that coverage provided by this policy for losses resulting from certified acts of terrorism, such
losses may be partially reimbursed by the United States Government under a formula established by federal law.
However, your policy may contain other exclusions which might affect your coverage, such as an exclusion for
nuclear events. Under the formula, the United States Government generally reimburses 80% of covered terrorism
losses exceeding the statutorily established deductible paid by the insurance company providing the coverage. The
premium charged for this coverage is provided on the policy Declarations page and does not include any charges
for the portion of loss covered by the federal government under the act.

LIMITATION ON PAYMENT OF TERRORISM LOSSES
You should also know that the Terrorism Risk Insurance Act, as amended, contains a $100 billion cap that limits
U.S. Government reimbursement as well as insurer's liability for losses resulting from certified acts of terrorism
when the amount of such losses in any one calendar year exceeds $100 billion. If the aggregate insured losses
for all insurers exceed $100 billion, your coverage may be reduced.
If you purchase this coverage on an umbrella policy, you must also purchase this coverage for underlying general
liability policies.

In the context of a newly issued policy or renewal offer, this form becomes part of the application for this
coverage.

You ma select terrorism insurance covera e as follows:
  e portion o your annual policy premium that is attributable to coverage for certified acts of terrorism is
shown on the declarations page. If you wish to reject this coverage, please read and complete the form below.

You may reject terrorism insurance coverage as follows:
You may elect to decline coverage for certified acts of terrorism. However, if your policy covers property located
in a state with a fire following statutory requirement, the terrorism exclusion makes an exception for fire losses
to such covered property resulting from certified acts of terrorism. If you choose to decline coverage for certified
acts of terrorism, that rejection is not applicable to fire losses to property in those states resulting from
certified acts of terrorism, unless excepted by statute or other regulatory means. A separate premium is displayed
on the declarations page for coverage for fire losses that result from certified acts of terrorism.




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To reject coverage, you must 'X' the box below, sign your name, print your name, date this form and return it to
the compan within 30 days. If you choose not to reject this coverage, you do not need to return this form.
                 ere y e ect to ex u e osses ansmg        m cert e acts        erronsm an un ers n t         w1
             have no coverage for losses resulting from certified acts of terrorism. I understand that if I
             exclude certified acts of terrorism coverage, coverage will not be available until my next renewal.




                                                                      State Auto Property and Casualty Insurance Co.
               POl1cytiolder/APphcanrs Signature                                     Insurance Company
                                                                                BOP    2896359     00
                          Print Name                                                   Policy Number


                             Date




                                                   03     - 0002963

                             STAR CITY INSURANCE AGENCY LLC
                             PO BOX 340
                             STAR CITY, AR 71667


                                             (870) 628-5133




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. .'i.J    Insurance Companies                                                          BOP 2896359                           00

                                              IMPORTANT NOTICE

       Did you know that the firefighting ability of your Fire Department helps lower your insurance
       rates? It's true! The better your firefighters are equipped and trained, the better their access to
       water for fighting fires, the length of time It takes for them to arrive at a fire, are a few of
       the many factors that have an Impact on your property insurance rates. Help your firefighters help
       you! They need your support, financial and otherwise. Adequate funding is important to Improving
       the protection that may translate to lower premiums!

       If a fire loss occurs, we are required by state law (Arkansas Code 12-13-303) to furnish
       relevant information relating to the loss to any state or federal law enforcement or other agency
       that has responsibility for Investigation of fires, if:

       *    The agency requests the information, or
       *    After investigating the fire, we have reason to believe it was not of accidental origin.

       If we provide information to a fire investigation agency, we will:

       *    Notify you of that action within 90 days; and
       *    Send you a copy of the report, if an authorized agency commences civil action or criminal
            prosecution.




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lllh.J    Insurance Companies                                                               BOP 2896359                      00



                             SPECIAL INFORMATION FOR ARKANSAS POLICYHOLDERS


         Arkansas law (Act        197 of 1987,       now Ark.   Code Ann.   h     23-79-138) requires Insurance
         companies to provide policyholders with the name, address and telephone number of their agent,
         company, and the Arkansas Insurance Department with every policy. The Agent infonnatlon is
         listed in your Declarations. Company and Insurance Department information appears below. If
         necessary, please feel free to contact the Arkansas Insurance Department

         Please keep this with your policy for future reference.

                                                State Auto Insurance Companies
                                                        Southern Region
                                                      100 State Auto Blvd.
                                                Goodlettsville, TN 37072-9957
                                                        (615) 851-6400

                                                 Arkansas Insurance Department
                                                     1200 West Third Street
                                                     Little Rock, AR 72201
                                               (501) 371-2640 or (800) 852-5494




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. .t;J      Insurance Companies                                                        BOP 2896359                          00


                            Thank you for allowing us to serve your Insurance needs



                                           ST ATE AU T 0             Claim Handlers:
                                                    Fair, Friendly and Fast
       State Auto is proud of the service we provide our policyholders when they have a
       claim. We hope you never have a claim but, if you do, we want to make it as
       painless and worry-free as possible. We're committed to providing service that's
       fast • as well as fair and friendly. In fact, we pledge to make an honest effort to
       contact you within two hours of the time we receive the report of your loss.*


       Please notify your agent as soon as feasible if you have a claim. The sooner your
       agency knows about your loss, the sooner they can report it to us so we can begin
       working with you to handle the claim.


       •    Although we always want to accomplish the two-hour contact time mentioned in our pledge - and we
            usually do call within that time period - we're sure you understand that may be impossible at certain
            unusual times such as when we're faced with a large weather-related catastrophe affecting many people
            in the same area.




      To report a claim:
         * Call your agent or
         * Call State Auto directly at 1-800-444-9950 or
         * Report your claim on StateAuto.com




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    ,.;J          Insurance Companies                                                             BOP 2896359                        00




                      ATTENTION CONTRACTORS - IT                                ·s   TIME TO SAVEi
                Protect yourself from needless costs and liabilities. Follow these important steps when working
                with subcontractors.



                [!]        afety programs are essential for your subco- as well as your own employees.
                            For the safety of all workers on your job sites, it's essential that subcontractors
                            observe the loss control regulations you've established for your business.
                            Make sure that the contracts you sign require your subcontractors to comply with
                            all state safety requirements, as well as your own safety standards. The
                            documents should also specify that if subcontractors in tum hire subcontractors,
                            the latter must also comply.

                            Clearly state your own safety regulations within the contract. Be sure to describe
                            the steps you will take if any subcontractor fails to correct an unsafe condition
                            on the job. This way, everyone knows what's expected - - and what will happen
                            if standards are not met.


                ~  greements with your subcontractors on their responsibilities should be entered Into before
                LJ work begins.
                            Hold-Harmless Agreements are an important form of protection for your business.
                            When written in your favor, these legal documents confirm that your
                            subcontractors will assume liability for Bodily Injury or Property Damage losses
                            arising from their actions - - whether suffered by the public or by another
                            contractor's employees on the job site.
                            Hold-Harmless Agreements are a vital supplement to Certificates of Insurance.
                            These documents confirm that subcontractors are responsible for their own work
                            - - as well as their own Insurance protection. Make sure that both are received
                            before your subcontractors begin their activities. Remember that these documents
                            should certify protection for the full duration of the subcontractor's job.



                G          erlfy .....,,nee pm-n is seand by all subcontractors before work begins.
                            The subcontractors you hire should carry their own General Liability, Automobile
                            Liability and Workers Compensation insurance. Their failure to do so can cost you
                            in two ways:
                                ' In many states, subcontractors who do not carry their own coverage
                                   are treated as your employees for insurance purposes. (Their
                                   employees would also be treated as part of your work force.) This
                                   may increase the cost of your General Liability and Workers
                                   Compensation insurance.




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   ll#liJ Insurance Companies                                                                     BOP 2896359                         00




                               ' As general contractor, you may be held responsible for the work of
                                 your subcontractors. If they have no insurance, you may have to pay
                                 for Bodily Injury or Property Damage losses arising from their actions.
                                 State law may also require you to pay for Injuries suffered by
                                 uninsured subcontractors or their employees, if these injuries occur on
                                 your job site.
                            Help prevent these problems by requiring that all subcontractors supply Certifi-
                            cates of Insurance for General Liability, Auto Liability and Workers Compensation
                            coverages before they start work. File these documents In a secure place - - and
                            check with subcontractors regularly to make certain coverage has not lapsed or
                            been cancelled. Coverage must remain in force for the entire period your
                            subcontractors will be on the job.
                            While we cannot suggest what limits will be adequate, the following may be
                            used as a guideline. These are the minimum limits required to. save you the cost
                            of providing for your Subcontractors' protedion under your coverage.
                                              Minimum General Liability Coverage
                                     '   $300,000   Products/Completed Operations Aggregate
                                     '   $300,000   General Aggregate
                                     '   $300,000   Any One Occurrence (Coverage A)
                                     '   $300,000   Any One Person or Organization (Coverage B)
                            NOTE: Your subcontractors' General Liability coverage must be written on an
                            occurrence basis.
                            IF THE WORK BEING PERFORMED BY SUBCONTRACTORS IS UNUSUALLY HAZARD-
                            OUS, YOU SHOULD REQUIRE HIGHER GENERAL LIABILITY LIMITS. Your agent can
                            help you establish the proper limits for greater-than-average exposures.
                                            Minimum Automobile Liability Coverage
                                          $300,000 Each Accident
                            NOTE: Your subcontractors' Auto Liability coverage should be written to cover all
                            owned and non-owned autos.                   ·
                                             Minimum Employers Liability Coverage
                                           (Coverage "B" on the Workers Compensation Policy)
                                          $100,000 Each Accident
                                          $100,000 Each Employee for Injury by Disease
                                          $500,000 Aggregate for Injury by Disease

               lcl nter each job with the security of knowing you've protected yourself and your subcon-
               LJ tractors.
                      Your agent will be glad to answer any questions you have about protection for
                            you and your subcontractors. We encourage you to take these steps today to
                            proted yourself and those who work for you.




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lllhJ     Insurance Companies                                                         BOP 2896359                      00

                                  ATTENTION POLICYHOLDER
                                              Notice of Premium Audit

  When we issue a General Liability or Workers Compensation Insurance coverage, we base its premiums
  on estimated values over the upcoming policy period, such as payroll, sales or the cost of work
  subcontracted to others. Throughout the policy period, the actual values may fluctuate from the amounts
  used to estimate the policy premium.

  To determine the actual values developed over the policy period, we may conduct a premium audit at the
  end of the term by way of an accounting records review. This review may be by telephone, mall, or a
  physical examination of the business's accounting records by a State Auto representative.

  Final premiums are then adjusted up or down, based on how the actual values compared to the originally
  estimated values.

  Here are some suggestions that can help make the premium audit process take as
  little of your time as possible, yet result In the most accurate calculation of your
  actual premium:

  1.   Before your scheduled appointment with the auditor, have your payroll and sales records ready for
       review for the policy period being audited.

  2.   Payroll should include an Itemized list of all employees and all labor used, and their payroll including
       overtime, commissions and bonuses for each job duty performed.

  3.   Sales include the total gross income from the sale and/or installation of goods you sold.

  4.   If you hire any subcontractors, be prepared to provide the names and the total cost of labor and
       materials used or delivered for use In the execution of work done by each contractor.

  5.   The auditor will also ask to review the liability certificates of Insurance for the subcontractors doing
       work on your behalf.
  We recommend you require certificates of insurance from all of your subcontractors and keep them on
  file. Not only can this practice help protect you from the financial consequences of losses caused by
  your subcontractors, it can also help you avoid potentially higher premium charges than if this important
  risk management control were not in place.

  By maintaining proper accounting records and providing information as requested during the premium audit,
  you help to manage your overall Insurance costs.


             Please contact your State Auto agent should you have any questions
                                   relating to your policy.




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~           Insurance Companies                                                       BOP 2896359                   00


                                     IMPORTANT INFORMATION
This notice describes an additional benefit being provided to you as a State Auto policyholder with Data
Compromise Plus coverage. Please review this document carefully and contact your agent if you have any
questions.

                          STATE AUTO INSURANCE IDENTITY RECOVERY HELP LINE

                                                 1-800-414-9783

This policy provides you access to the State Auto Insurance Identity Recovery Help Line. The identity recovery
help line can provide Individuals who qualify as an "identity recovery insured" with:

1)   Information and advice for how to respond to a possible "Identity theft"; and
2) Instructions for how to submit a service request for Case Management Service and/or a claim form for
     Expense Reimbursement Coverage.

An "identity recovery insured" means:
   a. An individual or sole proprietor when the policyholder is described as an Individual or Sole proprietor.
   b. The current partners when the policyholder is described as a partnership.
   c. All the individuals having 20% or more ownership interest for policyholders described as a corporation or
       other organization. However, If no one has an ownership position of 20% or more, then the" identity
       recovery insured" will be the chief executive officer or with respect to a religious institution, the senior
       ministerial employee.


No coverage Is provided by this notice nor can It be construed to replace any provision of
your policy. This notice is only intended to bring more attention to this valuable service
which Is part of the Data Compromise Plus coverage you have elected to purcase. If there Is
any conflict between the policy and this summary, the provisions of the policy shall prevail.

Please refer to your policy for the actual terms, coverage amounts, conditions and
exclusions. If you have any questions, or wish to Increase or reduce your limits, please
contact your independent State Auto Insurance agent.




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~ Insurance Companies                                                                 BOP 2896359                          00

                                           Be Prepared for a Data Breach!

                               Check Out The eRisk Hub Risk Management Portal!


You've taken a great first step toward protecting your business from a data breach by purchasing a State Auto
business insurance policy with our exclusive Data Compromise Plus coverage.

However, if your organization suffers a data breach, would you be prepared? As we all know from the news, even
very large companies aren't always ready to respond. Yet, when a breach occurs, time is of the essence.

Now you can develop an effective data breach response plan in advance of a crisis that can help you be prepared,
protect your customer relationships, and protect your business reputation.

As part of your Data Compromise Plus coverage, State Auto provides you an online data breach portal that equips
you with a risk management tool to help you be prepared should a breach occur. There is no cost to you! This is
a complimentary service to you as a State Auto Data Compromise Plus policyholder.

The portal is called eRisk Hub, and it's designed to help you better understand your risks and establish a
response plan so you can minimize the financial effects of a data breach should one occur.


                                       Key Features of the eRisk Hub Portal

  * Incident Response Plan Roadmap - suggested steps to take following a data breach
  * Online Training Modules - ready-to-use training on privacy Best Practices and Red Flag Rules
  * Risk Management Tools - assist you in managing our cyber risk, including state notification laws
  * News Center - cyber risk and security news stories, helpful industry links, security biogs
  * Learning Center - Best Practices stories and webinars from leading cyber security experts
  * eRisk Resources - a directory to quickly find external resources on pre- and post-breach disciplines


                                             Register for eRisk Hub Now

To access the eRisk Hub portal, all you need to do is register and set up your unique User ID and Password.                Just
follow these steps:

  * Go to www.stateauto.com and click on Insurance at the top of the page. Next, select Business in the left
    menu box. Use the link on the right of the page titled Data Compromise Plus. From this page, click on
    the link eRisk Hub in the center of the page.
  * Complete the information in the center of the page, including your name and company. Please note that your
    User ID and Password are case-sensitive.
  * Enter your assigned access code: 12116-4.
  * Enter the challenge word on the screen and click "Submit".
  * You will get a "Registration Complete" message on the next screen. You can now login to the portal.




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. .LJ    Insurance Companies                                                     BOP 2896359                      00




      BUSINESSOWNERS POLICY




State Auto Property and Casualty Insurance Co.
1300 Woodland Ave
West Des Moines, IA 50265

HOME OFFICE 518 EAST BROAD STREET COLUMBUS OHIO 43215-3976
TELEPHONE 614-464-5000

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llllli..J     Insurance Companies                                                    BOP 2896359                      00

CONDITIONS APPLICABLE TO STATE AUTOMOBILE MUTUAL INSURANCE COMPANY
DIVIDENDS
You are entitled to the proportionate part of any policyholder's dividend if declared by our Board of Directors in
accordance with its By-Laws.

NOTICE OF POLICYHOLDERS MEETINGS
While your policy Is In force, you are one of our members and are entitled, in person or by proxy, to one vote at
all meetings of the members. The annual meeting of the members is held at 9 o'clock A.M., Columbus time, on
the first Friday of March of each year at our Home Office at 518 East Broad Street, Columbus, Ohio.

NON-ASSESSABLE
This policy is non-assessable and the insured shall not be liable for the payment of any assessment nor for the
payment of any premium other than that stated In this policy.


IN WITNESS WHEREOF, we have caused this policy to be signed by our Secretary and President at Columbus, Ohio,
and countersigned on the Declarations page by an authorized agent of the State Auto Insurance Companies.



                         Secretary                                       President




                    Melissa A. Centers                               Michael E. LaRocco




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~           Insurance Companies                                                                BOP 2896359                              00

                  BUSINESSOWNERS POLICY COMMON DECLARATIONS
 NAMED INSURED AND MAILING ADDRESS:                              AGENT NAME AND ADDRESS:
  Flrst Named Insured Is Specified To Be:                        STAR CITY INSURANCE AGENCY LLC
 STAR CITY COLLISION CENTER LLC                                  POBOX340
 1610 N LINCOLN AVE                                              STAR CITY, AR 71667
 STAR CITY, AR 71667


POLICY PERIOD:
    From: 11/03/2016        To: 11/03/2017
                                                                 AGENT TELEPHONE NUMBER:
                                                                 (870) 628-5133
                                                                                                                               I   AGT.NO.
                                                                                                                                   0002963
COVERAGE PROVIDED BY:                                            A STATE AUTO INSURED SINCE:
State Auto Property and Casualty Insurance Co.                                                   2016
AUDITABLE POLICY:
 Yes
                           I   POLICY STATUS:
                        New Business • Standard
                                                                 AFTER-HOURS CLAIMS SERVICE:
                                                                   800-766-1853 or www.stateauto.com
The coverage and these declarations are effective 12:01 AM Standard Time on 11/03/2016 at the above malling
address.
BUSINESS ENTITY TYPE:                           BILLING ACCOUNT NUMBER:                  BILLING QUESTIONS?
 Ltd Liability Co                               CB90192283                               Call 800-444-9950 X5118
                                                Direct Biii insured 11-Pay
BUSINESS DESCRIPTION:        Auto Body Shop


In return for the payment of the premium, and subject to all the terms of this policy, we agree with you to provide the
insurance as stated in this policy.

PREMIUM SUMMARY BY COVERAGE PARTS AND POLICIES
This policy consists of the following coverage parts or policies for which a premium is indicated. This premium may be
subject to adjustment.

COVERAGE PARTS                                                                                                      PREMIUMS
  Businessowners Special Property Coverages                                                                              $3,358.00
  Commercial General Liability Coverage Part                                                                               $793.00
  Buslnessowners Platinum Package Policy Coverages                                                                         $203.00
  Businessowners Auto Service Platinum Plus Coverages                                                                      $481.00
  Buslnessowners Extra Coverage                                                                                             $98.00

                        Terrorism (included in total below)                                                                        $24. 00
                        POLICY TOTAL AT INCEPTION                                                                        $4,933.00




These declarations together with the Common Policy Conditions and coverage form(s) and any
endorsement(s) identified on these declarations and attached to your policy complete the above
numbered policy.

Countersigned - - - - - - - - - -
                                 (Date)                                        (Authorized Representative)

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~ Insurance Companies                                                                 BOP 2896359                          00

                                  FORMS AND ENDORSEMENTS
                                    APPLICABLE TO ALL COVERAGE PARTS
NEW     FORM OR ENDORSEMENT                ENDORSEMENT TITLE
           AND EDITION DATE                (Only the endorsement tltles are shown below, please review the
                                           form for a complete description of coverage.)


  *         BP 00 09C 01 08                Common Policy Conditions
  *         SI 10 080116                   Common Policy Jacket
  *         SI 11 0001 04                  Installment Payments
  •         BP 01 53C 07 11                Arkansas Changes
  •         BP 05150115                    Disclosure Pursuant to Terrorism Risk Insurance Act
  •         PN 00 830115                   Notice of Terrorism Insurance Coverage

*Indicates a new form has been added or a replacement form has been substituted for one of an earlier
 edition. Please retain all forms.




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,,.;.) Insurance Companies                                                                 BOP 2896359                             00


 BUSINESSOWNERS SPECIAL PROPERTY COVERAGE DECLARATIONS

 DESCRIPTION OF PREMISES               Premises 0001             Building 001

              Building Address                                               Construction/Protection Class

1610 N Lincoln Ave                                                      Construction: Non-Combustible
Star City, AR 71667                                                     Protection Class 05



CLASS CODE            OCCUPANCY
21010                 Automobile Body Shops

                                           COVERAGE DESCRIPTIONS

                                                      THEFT             LOSS PAYMENT AUTOMATIC
    COVERED PROPERTY                      LIMIT      COVERAGE             . BASIS    INCREASE % PREMIUM

 Building                                 $550,000         Yes          Replacement Cost         4                             $2,547
 Business Personal Property               $150,000         Yes          Replacement Cost         4                              $811

               Property losses are subject to a   $1,000           deductible except as otherwise noted.


                  PREMISES 0001 BUILDING 001                                               EXTRA COVERAGE
             COVERAGES                       LIMIT                                            PREMIUM
Ord/Law: Demolition Cost                                     $50,000                            Included
Ord/Law: Increased Cost of Constr                            $50,000                            Included
Equipment Breakdown                                          Included                           Included
Utility Services-Direct Damage                               $25,000                            Included
Water Backup of Sewers and Drains                            $15,000                            Included
Terrorism-Building                                           $550,000                                $15
Terrorism-Business Pers. Property                            $150,000                                $4

                           See Polley-Wide Coverages for additional valuable coverages.




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,,.;_] Insurance Companies                                                           BOP 2896359                       00

                                   FORMS AND ENDORSEMENTS
               APPLICABLE TO THE BUSINESSOWNERS SPECIAL PROPERTY COVERAGE
NEW     FORM OR ENDORSEMENT                ENDORSEMENT TITLE
           AND EDITION DATE                (Only the endorsement titles are shown below, please review the
                                           form for a complete description of coverage.)


  *         BP 00 0212 99                  Businessowners Special Property Coverage Form
  *         BP 04 34C 01 97                Computer Coverage
  *         BP 04 46C 01 96                Ordinance or Law Coverage
  *         BP21 020700                    Appurtenant Structures
  *         BP21 030700                    Arson and Theft Reward
  *         BP21 060700                    Business Income Changes-Beginning of the Period of Restoration
                                           (Adjustment of Waiting Period)
  *         BP21180700                     Exhibitions/Fairs/Sales Samples
  *         BP 2121 0700                   Fire Extinguisher Recharge Expense
  *         BP 21250700                    Inventory and Appraisals
  *         BP 21280700                    Lock and Key Replacement
  *         BP 21 310700                   Newly Acquired or Constructed Buildings
  •         BP 21320700                    Premises Boundary
  *         BP 21480910                    Business Personal Property-Automatic Increase
  *         BP 21 7111 02                  Limited Coverage for Fungi, Wet Rot.Dry Rot and Bacteria
  *         BP 21 7211 02                  Exclusion - Fungi.Wet Rot, Dry Rot and Bacteria
  *         BP 05 23C 0115                 Cap On Losses From Certified Acts ofTerrorlsm
  .         BP 21 050700                   Brands and Labels
  ..        BP 21110700                    Computer Fraud Coverage
  *         BP 2113 07 00                  Credit Card Invoices
  •         BP 2112 0700                   Consequential Damage
  *         BP 21 340113                   Water Backup of Sewers and Drains
  *         BP 21150700                    Equipment Breakdown Endorsement
  *         BP 21200700                    Extended Outdoor Property
  *         BP 21220512                    Garagekeepers Coverage
  *         BP 22 21 0707                  Auto Damage to Leased Real Property Coverage
  .         BP 216901 02                   Personal Property of Others - Bailee Form
  *         BP 22 36 01 08                 Auto Service Operations - Employees' Tools Coverage
  .         BP21260700                     Lease Gap Endorsement
  •         BP 04 56C 01 97                Utility Services - Direct Damage




*Indicates a new form has been added or a replacement form has been substituted for one of an earlier
  edition. Please retain all forms.

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 BUSINESSOWNERS SPECIAL PROPERTY COVERAGE DECLARATIONS
Coverages provided by your Buslnessowners Policy are described in the coverage forms and endorsements attached
to your policy and identified in these declarations. The most we will pay for any one occurrence Is the greatest of the
applicable limit of Insurance shown below. Higher limits shown below supersede limits for the same coverage
described in the coverage forms and endorsements.
See coverages per building for additional valuable coverages.


         POLICY-WIDE COVERAGES                                   LIMIT                           PREMIUM


Accounts Receivable                                       $25,000 ln/$2,500 Out                    Included
Appurtenant Structures                                          10%/$10,000                        Included
Arson and Theft Reward                                             $10,000                         Included
Auto Damage to Leased Real Property                               $100,000                         Included
Bailee-Pers. Prop of Others                                         $2,000                         Included
Brands and Labels                                                 Included                         Included
Bulldlng Limit Automatic Increase                                      4%                          Included
Business Inc-Walt Period 0 hours                          Actual Loss - 12 mos.                    Included
Business Income-Extended                                           30 Days                         Included
Business Inc-Ord Payroll Ext                                       60 Days                         Included
Bus. Pers. Prop. Seasonal Increase                                    25%                          Included
Computer Coverage                                                  $15,000                         Included
Computer Fraud                                                      $3,000                         Included
Consequential Damage                                               $10,000                         Included
Credit Card Invoices                                               $15,000                         Included
Debris Removal                                                 25%/$20,000                         Included
Employee Dishonesty*                                               $25,000                         Included
Exhibitions/Fairs/Sales Samples                                    $10,000                         Included
Fire Department Service Charge                                     $5,000                          Included
Fire Extinguisher Recharge                                         $2,500                          Included
Forgery and Alteration                                             $5,000                          Included
Garagekeepers Comprehensive
   $500 per Vehlcle/$2,500 per Occurrence Ded                    $150,000                               $47
Garagekeepers - Collision $500 ded                               $150,000                               $32
Inventory and Appraisals                                           $1,000                          Included
Lease Gap                                                        Included                          Included
Lock Replacement                                                   $5,000                          Included
Money Orders/Counterfeit Currency                                 $10,000                          Included
Money and Securities*                                     $10,000 ln/$5,000 Out                    Included
Newly Acquired or Constructed Bldgs                         $500,000/120 Days                      Included
Outdoor Property                                              $10,000/$1,000                       Included
Outdoor Signs*                                                     $5,000                          Included
Personal Effects                                                   $5,000                          Included
Pers. Prop-Newly Acquired Premises                          $250,000/120 Days                      Included
Personal Property-Off Premises                                    $10,000                          Included
Premises Boundary                                               1,000 Feet                         Included




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 BUSINESSOWNERS SPECIAL PROPERTY COVERAGE DECLARATIONS
Coverages provided by your Businessowners Policy are described in the coverage forms and endorsements attached
to your policy and identified in these declarations. The most we will pay for any one occurrence Is the greatest of the
applicable limit of insurance shown below. Higher limits shown below supersede limits for the same coverage
described in the coverage forms and endorsements.
See coverages per building for additional valuable coverages.


          POLICY-WIDE COVERAGES                                  LIMIT                           PREMIUM


Preservation of Property                                         30 Days                            Included
Tools-Employee-Auto Service Ops                       Employee/$5,000 Total$25,000                  Included
Valuable Papers                                          $10,000 ln/$2,500 Out                      Included
  Note: Polley-wide coverages followed by an *' and the additional coverage-exterior building glass are subject to a
                           $500 Optional Coverage/exterior building glass deductible.




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 COMMERCIAL GENERAL LIABILITY COVERAGE PART DECLARATIONS

I COMMERCIAL GENERAL LIABILITY COVERAGE LIMITS OF INSURANCE:
  Each Occurrence Limit                                         $300,000
     Damage To Premises Rented To You Limit                     $300,000       Any One Premises
     Medical Expense Limit                                        $5,000       Any One Person
  Personal And Advertising Injury Limit                         $300,000       Any One Person or Organization
  General Aggregate Limit                                       $600,000
  Products - Completed Operations Aggregate Limit               $600,000


I AUDIT PERIOD
  Annual



 DEDUCTIBLE LIABILITY SCHEDULE (See CG 03 OOfor complete details)

  Coverage                                                       Deductible Amount         Basis
  Property Damage Liability                                                      $500      Per Claim


APPLICATION OF DEDUCTIBLE - see endorsement CG 03 00 for any limitation on the application of this deductible.




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 COMMERCIAL GENERAL LIABILITY COVERAGE PART DECLARATIONS

 SCHEDULE OF PREMISES - All Premises You Own, Rent or Occupy                    PREMISES 0001

              Location Address                                                  Territory
  1610 N Lincoln Ave                                                              003
  Star City, AR 71667




 CLASS CODE       CLASSIFICATION DESCRIPTION
  21010           Automobile Body Shops

I PREMIUM BASIS              $200,000 Gross Sales


                                 Per          Premises/Operations      Products/Completed Operations
 RATE                        1000                      $2.033                           $1.093
 ADVANCE PREMIUMS                                        $407                               $219




ISCHEDULE OF PREMISES                                                    PREMISES       9999


I CLASS CODE I CLASSIFICATION DESCRIPTION
  25121           Data Compromise Plus Coverage $50,000


                  PREMIUM                                                                      ADVANCE
                                                            PER          RATE
                   BASIS                                                                       PREMIUM
   1 Units                                                 1             $162.000                                    $162




 PREMIUM



  Total Advance Premium (Subject To Audit):                                                                          $793




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                                  FORMS AND ENDORSEMENTS
              APPLICABLE TO THE COMMERCIAL GENERAL LIABILITY COVERAGE PART
NEW      FORM OR ENDORSEMENT               ENDORSEMENT TITLE
            AND EDITION DATE               (Only the endorsement titles are shown below, please review the
                                           form for a complete description of coverage.)


  *         CG21671204                     Fungi or Bacteria Exclusion
  *         IL002109 08                    Nuclear Energy Exclusion
  *         CG22 68 09 97                  Operation of Customer Autos on Particular Premises
  *         SL 00 62 01 08                 Broad Form Notice of Occurrence
  *         SLOO 630108                    Liability Extension Endorsement
  *         SL 00 6401 08                  Incidental Medical Services Liability
  *         SL 20 02 01 06                 Asbestos Exclusion
  *         SL 20 0401 06                  Exclusion - Lead Liability
  *         CG21070514                     Exclusion - Access or Disclosure of Confidential or Personal
                                           Information And Data-related Liab Lmtd Bodily Exception Not Incl
  *         CG 00 011204                   Commercial General Liablllty Coverage Form
  *         CG 00670509                    Recording and Distribution of Material or Information In
                                           Violation of Law
  *         CG 214707 98                   Employment Related Practices Exclusion
  *         SL 20 511211                   Amendment of Contractual Liability Exclusion
  *         CG21700115                     Cap on Losses From Certified Acts of Terrorism
  *         CG26 860115                    Arkansas Exclusion of Punitive Damages Related To a Certified
                                           Act of Terrorism
  *         CG 26 08 0490                  Arkansas Changes - Multi-Year Policies
  *         CG26441204                     Arkansas Changes - Binding Arbitration
  *         SL01 01 01 06                  Arkansas Changes Pollution Exclusion
  *         CG 0142 0711                   Arkansas Changes
  *         SL20 38 0113                   Additional Insured - Owners, Lessees, or Lessors of Leased
                                           Equipment - Automatic
  *         CG 20 3510 01                  Additional Insured - Grantor of Licenses -Automatic
  *         SL 101012 04                   Auto Service Garage Broadened Products Liability Endorsement
  *         CG043712 04                    Electronic Data Liability
  *         SL 1016 01 08                  Medical Expenses-Food Operations
  *         SL 10180108                    Broadened Non-Owned Watercraft
  •         CG03000196                     Deductible Liability Insurance
  *         SL21160108                     Professional Liability Exclusion
  *         SL 31 050614                   Data Compromise Plus




*Indicates a new form has been added or a replacement form has been substituted for one of an earlier
 edition. Please retain all forms.

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COMMERCIAL GENERAL LIABILITY COVERAGE PART DECLARATIONS

Coverages provided by your Businessowners Polley are described In the coverage forms and endorsements
attached to your policy and identified In these declarations. The most we will pay for any one occurrence is the
greatest of the applicable limit of insurance shown below. Higher limits shown below supersede limits for the same
coverage described in the coverage forms and endorsements.




       COVERAGES INCLUDED                              LIMITS                            PREMIUM


Additional Ins. Automatic Status                           Included                        Included
Additional Ins Granter of Licenses                         Included                        Included
Advertising Injury                                         Included                        Included
Auto Service Broadened Products                            Included                        Included
Bodily Injury                                              Included                        Included
Broad Form Notice of Loss                                  Included                        Included
Broad Form Property Damage                                 Included                        Included
Broadened Non Owned Watercraft                             Included                        Included
Business Liability Extension                               Included                       Included
Condltlonal lndemnitee Defense                             Included                       Included
Contractual Liability                                      Included                       Included
Cost of Bonds                                            $250 per day                     Included
Cost Incurred From Claim Assistance                        Included                       Included
Cross Liability Coverage                                   Included                       Included
Damage to Property of Others                               Included                       Included
Electronic Data Liability                                  $10,000                        Included
Explosion,Collapse,Underground Cov                        Included                        Included
Employees as Insureds                                     Included                        Included
Extended Bodily Injury                                    Included                        Included
Host Liquor Liability                                     Included                        Included
Incidental Medlcal Services                               Included                        Included
Independent Contractors Protective                        Included                        Included
Legal Defense and Court Costs                             Included                        Included
Limited World Wide Liability                              Included                        Included
Loss of Earnings                                        $250 per day                      Included
Medical Expense-Food                                      Included                        Included
Newly Acquired Organizations                              Included                        Included
Non-Owned Auto Parking                                    Included                        Included
Operation of Mobile Equipment                             Included                        Included
Pre & Post Judgment Interest                              Included                        Included
Real Estate Manager as Insured                            Included                        Included
Reasonable Force                                          Included                        Included
Volunteers as Insureds                                    Included                        Included
Terrorism-Liability                                       Included                             $5
This is a brief representation of coverage provided.   Consult policy coverage forms for complete and detailed
coverage descriptions, restrictions and conditions.




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               BUSINESSOWNERS COMMON POLICY CONDITIONS
The Businessowners Special Property Coverage Form, the Commercial General Liability Coverage Form, and the
Liquor Liability Coverage Form (including any endorsements or modifications thereto) are subject to the following
conditions. Depending upon the laws of your state, some conditions may be changed by the attachment of a state
amendatory endorsement.


A. Cancellation                                                                     prov1s1on wi 11 not apply where
   1. The first Named             Insured shown in the                              you are in a bona fide dispute
          Declarations may cancel this policy by                                    with     the    taxing   authority
          mailing or delivering to us advance written                               regarding payment of such taxes.
          notice of cancellation.                                     b. 10 days before the effective date of
     2.   We may cancel this policy by mailing or                          cancellation if we cancel for nonpayment
          delivering to the first Named Insured written                    of premium.
          notice of cancellation at least:                            c. 30 days before the effective date of
          a. 5 days before the effective date of                           cancellation if we cancel for any other
               cancellation if any one of the following                    reason.
               conditions exists at any building that is           3. We will mail or deliver our notice to the
               Covered Property in this policy.                       first Named lnsured's last mailing address
               (1) The building has been vacant or                    known to us.
                   unoccupied 60 or more consecutive               4. Notice of cancellation will state the effective
                   days. This does not apply to:                      date of cancellation. The policy period will
                   (a) Seasonal unoccupancy; or                       end on that date.
                   (b) Buildings     in    the    course  of       5. If this policy is cancelled, we will send the
                        construction,       renovation    or          first Named Insured any premium refund due.
                        addition.                                     If we cancel, the refund will be pro rata. If
                   Buildings with 65% or more of the                  the first Named Insured cancels, the refund
                   rental units or floor area vacant or               may be less than pro rata. The cancellation
                   unoccupied are considered unoccupied               will be effective even if we have not made
                   under this provision.                              or offered a refund.
               (2) After damage by a covered cause of              6. If notice is mailed, proof of mailing will be
                   loss,     permanent repairs       to  the          sufficient proof of notice.
                   building:
                   (a) Have not started, and                   B. Changes
                   (b) Have not been contracted for,              This policy contains all the agreements between
                   within 30 days of initial payment of           you and us concerning the insurance afforded. The
                   loss.                                          first Named Insured shown in the Declarations Is
               (3) The building has:                              authorized to make changes in the terms of this
                   (a) An outstanding order to vacate;            policy with our consent. This policy's terms can
                   (b) An outstanding demolition order;           be amended or waived only by endorsement
                        or                                        issued by us and made a part of this policy.
                   (c) Been       declared      unsafe    by
                        governmental authority.                C. Concealment, Misrepresentation or Fraud
               (4) Fixed and salvageable items have               This policy is void in any case of fraud by you
                   been or are being removed from the             as It relates to this policy at any time. It is
                   building and are not being replaced.           also void if you or any other insured, at any
                   This does not apply to such removal            time, intentionally conceal or misrepresent a
                   that is necessary or Incidental to any         material fact concerning:
                   renovation or remodeling.                      1. This policy;
               (5) Failure to:                                    2. The Covered Property;
                   (a) Furnish necessary heat, water,             3. Your interest in the Covered Property; or
                        sewer service or electricity for          4. A claim under this policy.
                        30 consecutive days or more,
                        except    during     a    period  of   D. Examination of Your Books and Records
                        seasonal unoccupancy; or                  We may examine and audit your books and
                   (b) Pay property taxes that are                records as they relate to this policy at any time
                        owing and have been outstanding           during the policy period and up to three years
                        for more than one year following          afterward.
                        the date due, except that this



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E. Inspections and Surveys                                          b. Will be the payee for any return
   1. We have the right to:                                              premiums we pay.
      a. Make inspections and surveys at any                     2. The premium shown in the Declarations was
           time;                                                    computed based on rates in effect at the
      b. Give you reports on the conditions we                      time the policy was Issued. On each
           find; and                                                renewal, continuation or anniversary of the
      c. Recommend changes.                                         effective date of this policy, we will
   2. We are not obligated to make any                              compute the premium in accordance with our
      inspections,       surveys,      reports      or              rates and rules then in effect.
      recommendations and any such actions we                    3. With our consent, you may continue this
      do undertake relate only to insurablllty and                  policy in force by paying a continuation
      the premiums to be charged. We do not                         premium for each successive one-year
      make safety inspections. We do not                            period. The premium must be:
      undertake to perform the duty of any person                   a. Paid to us prior to the anniversary date;
      or organization to provide for the health or                       and
      safety of workers or the public. And we do                    b. Determined in accordance with Paragraph
      not warrant that conditions:                                       2. above.
      a. Are safe or healthful; or                                  Our forms then in effect will apply. If you
      b. Comply with laws, regulations, codes or                    do not pay the continuation premium, this
           standards.                                               policy will expire on the first anniversary
   3. Paragraphs 1. and 2. of this condition apply                  date that we have not received the premium.
      not only to us, but also to any rating,                    4. Undeclared exposures or change in your
      advisory, rate service or similar organization                business operation, acquisition or use of
      which makes insurance inspections, surveys,                   locations may occur during the policy period
      reports or recommendations.                                   that are not shown in the Declarations. If
   4. Paragraph 2. of this condition does not                       so, we may require an additional premium.
      apply to any inspections, surveys, reports or                 That premium will        be determined in
      recommendations we may make relative to                       accordance with our rates and rules then in
      certification,  under state or         municipal              effect.
      statutes, ordinances or regulations, of boilers,
      pressure vessels or elevators.                         J. Transfer of Rights of Recovery against
                                                                Others to Us • Property
F. Insurance     under     Two       or     More                If any person or organization to or for whom
   Coverages                                                    we make payment under this policy has rights
   If two or more of this policy's coverages apply              to recover damages from another, those rights
   to the same loss or damage, we will not pay                  are transferred to us to the extent of our
   more than the actual amount of the loss or                   payment. That person or organization must do
   damage.                                                      everything necessary to secure our rights and
                                                                must do nothing after loss to Impair them. But
G. Liberallzatlon                                               you may waive your rights against another party
   If we adopt any revision that would broaden the              in writing:
   coverage under this policy without additional                a. Prior to a loss to your Covered Property.
   premium within 45 days prior to or during the                b. After a loss to your Covered Property only
   policy period, the broadened coverage will                       if, at time of loss, that party is one of the
   immediately apply to this policy.                                following:
                                                                    (1) Someone insured by this insurance;
H. Other Insurance • Property                                       (2) A business firm:
   If there is other insurance covering the same                         (a) Owned or controlled by you; or
   loss or damage, we will pay only for the                              (b) That owns or controls you; or
   amount of covered loss or damage In excess of                    (3) Your tenant.
   the amount due from that other insurance,                    You may also accept the usual bills of lading or
   whether you can collect on it or not But we                  shipping receipts limiting the liability of carriers.
   will not pay more than the applicable Limit of               This will not restrict your insurance.
   Insurance.
                                                             K. Transfer of Your Rights and Duties
I.   Premiums                                                   under This Policy
     1. The first Named Insured shown in the                    Your rights and duties under this policy may not
        Declarations:                                           be transferred without our written consent except
        a. Is responsible for the payment of all                In the case of death of an individual Named
            premiums; and                                       Insured.


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     If you die, your rights and duties will be                 forth under the Common Policy Conditions. Such
     transferred to your legal representative but only          notice will specify the date and time of
     while acting within the scope of duties as your            cancellation. If we receive an installment
     legal     representative.   Until   your     legal         payment after the date of cancellation, we may,
     representative Is appointed, anyone having proper          subject to the laws of your state, reinstate your
     temporary custody of your property will have               policy, issue you a new policy with a new
     your rights and duties but only with respect to            policy period or return the late payment to you.
     that property.
                                                             M. Calculation of Premium Endorsement
L. Installment Payments                                         The premium shown in the Declarations was
   If you have elected to pay the premium on this               computed based on rates in effect at the time
   policy in installments and you fail to pay an                the policy was issued. On each renewal,
   installment when due, we will assume you no                  continuation or anniversary of the effective date
   longer want the insurance. In such event we                  of this policy, we will compute the premium in
   will issue you a notice of cancellation as set               accordance with our rates and rules then In
                                                                effect.



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               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                    INSTALLMENT PAYMENTS
This endorsement modifies insurance provided under the following:

     COMMON POLICY CONDITIONS

The policy is subject to the following condition:

If you have elected to pay the premium on this policy in installments and you fail to pay an installment when
due, we will assume you no longer want the Insurance. In such event we will issue you a notice of cancellation
as set forth under the Common Policy Conditions. Such notice will specify the date and time of cancellation. If
we receive an installment payment after the date of cancellation, we may, subject to the laws of your state,
reinstate your policy, issue you a new policy with a new policy period or return the late payment to you.


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                                     BUSINESSOWNERS SPECIAL
                                     PROPERTY COVERAGE FORM

Various provisions In this policy restrict coverage.                                  (b) Materials, equipment, supplies and
Read the entire policy carefully to determine rights,                                     temporary structures, on or within
duties and what is and Is not covered.                                                    100 feet of the described premises,
Throughout this policy the words "you" and •your''                                        used      for    making     additions,
refer to the Named Insured shown In the                                                   alterations   or    repairs  to    the
Declarations. The words "we•, •us· and •our" refer                                        buildings or structures.
to the Company providing this insurance.                                      b. Business Personal Property located in or
Other words and phrases that appear in quotation                                   on the buildings at the described premises
marks have special meaning. Refer to Section H. -                                  or In the open (or in a vehicle) within
Property Definitions.                                                              100 feet of the described premises,
                                                                                   induding:
A. Coverage
                                                                                    (1) Property you own that is used in your
    We will pay for direct physical loss of or                                          business;
    damage to Covered Property at the premises
    described in the Declarations caused by or                                     (2) Property of others that is in your care,
    resulting from any Covered Cause of Loss.                                           custody or control, except as otherwise
                                                                                        provided in Loss Payment Property Loss
    1. Covered Property                                                                 Condition E.6.d.(3)(b);
        Covered Property, as used in this policy,                                  (3) Tenant's improvements and better-
        means the type of property as described in                                      ments. Improvements and betterments
        this section, A.1., and limited in A.2.,                                        are fixtures, alterations, installations or
        Property Not Covered, if a Limit of Insurance                                   additions:
        is shown in the Declarations for that type of
        property.                                                                     (a) Made a part of the building or
                                                                                           structure you    occupy          but    do   not
        a.   Buildings,   meaning    the buildings and                                     own; and
             structures at the premises described in the
             Declarations, induding:                                                  (b) You acquired or made at your
                                                                                          expense but cannot legally remove;
             (1) Completed additions;                                                     and
             (2) Fixtures, including outdoor fixtures;                             (4) Leased personal property for which you
             (3) Permanently installed:                                                have a contractual responsibility to
                                                                                       Insure, unless otherwise provided for
                (a) Machinery; and                                                     under Paragraph A.1.b.(2).
                (b) Equipment;                                            2. Property Not Covered
             (4) Your personal property in apartments or                      Covered Property does not include:
                 rooms furnished by you as landlord;
                                                                              a.   Aircraft, automobiles, motortrucks and other
             (5) Personal property owned by you that is                            vehicles      subject  to   motor    vehicle
                 used to maintain or service the                                   registration;
                 buildings or structures or the premises,
                 including:                                                   b. "Money"     or   "securities"               except     as
                                                                                 provided in the:
                (a) Fire extinguishing equipment;
                                                                                   (1) Money      and      Securities              Optional
                (b) Outdoor furniture;                                                 Coverage; or
                (c) Floor coverings; and                                           (2) Employee Dishonesty Optional Coverage;
                (d) Appliances used for refrigerating,                        c. Contraband, or property in the course of
                    ventilating, cooking, dishwashing or                         illegal transportation or trade;
                    laundering;
                                                                              d. Land (including land on which the property
             (6) If not covered by other insurance:                              is located), water, growing crops or lawns;
                (a) Additions      under     construction,
                    alterations and repairs      to the
                    buildings or structures;




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       a. Outdoor        fences,   radio   or television                   b. With respect to glass (other than glass
            antennas (including satellite dishes) and                         building blocks) that is part of the interior
            their lead-in wiring, masts or towers,                           of a building or structure, or part of an
            signs (other than signs attached to                              outdoor sign, we will not pay more than
            buildings), trees, shrubs or plants, all                         $500 for the total of all loss or damage
            except as provided in the:                                       in any one occurrence. Subject to the $500
            (1) Outdoor Property Coverage Extension; or                      limit on all loss or damage, we will not
                                                                             pay more than $100 for each plate, pane,
           (2) Outdoor Signs Optional Coverage;                              multiple plate insulating unit, radiant or
        f. Watercraft (including motors, equipment and                       solar heating panel, jalousie, louver or
            accessories) while afloat                                        shutter.
    3. Covered Causes Of Loss                                                This Limitation does not apply to loss or
                                                                             damage by the "specified causes of loss",
       Risks Of Direct Physical Loss unless the loss                          except vandalism.
       Is:
                                                                         c. We will not pay for loss of or damage to
       a. Excluded In Section B., Exclusions; or                             fragile     articles   such   as    glassware,
       b. Limited in Paragraph A.4., Limitations;                            statuary,       marbles,    chin aware    and
       that follow.                                                          porcelains, if broken, unless caused by the
                                                                             "specified causes of loss" or building
    4. Limitations                                                           glass breakage. This restriction does not
       a. We will not pay for loss of or damage                              apply to:
            to:                                                              (1) Glass that is part of the interior of a
            (1) Steam boilers, steam pipes, steam                                 building or structure;
                engines or steam turbines caused by or                      (2) Containers of property held for sale; or
                resulting from any condition or event
                inside such equipment. But we will pay                      (3) Photographic or scientific instrument
                for loss of or damage to such                                     lenses.
                equipment caused by or resulting from                    d. For loss or damage by theft, the following
                an explosion of gases or fuel within                         types of property are covered only up to
                the furnace of any fired vessel or                           the limits shown:
                within the flues or passages through                         (1) $2,500 for furs, fur garments and
                which the gases of combustion pass.                               garments trimmed with fur.
           (2) Hot water boilers or other water                             (2) $2,500 for jewelry, watches, watch
                heating     equipment caused    by    or                          movements, jewels, pearls, precious
                resulting from any condition or event                             and semi-precious stones, bullion, gold,
                inside such boilers or equipment, other                           silver, platinum and other precious
                than an explosion.                                                alloys or metals. This limit does not
           (3) Property that is missing, but there is                             apply to jewelry and watches worth
                no physical evidence to show what                                 $100 or less per item.
                happened to It, such as shortage                            (3) $2,500 for patterns, dies, molds and
                disclosed on taking inventory. This                               forms.
                limitation does not apply to the
                Optional Coverage for Money and                       5. Additional Coverages
                Securities.                                              a. Debris Removal
           (4) Property that has been transferred to a                       (1) We will pay your expense to remove
                person or to a place outside the                                  debris of Covered Property caused by
                described premises on the basis of                                or resulting from a Covered Cause of
                unauthorized instructions.                                        Loss that occurs during the policy
                                                                                  period. The expenses will be paid only
                                                                                  if they are reported to us in writing
                                                                                  within 180 days of the earlier of:




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              (a) The date of direct physical loss or                           (2) Required by local ordinance.
                  damage; or                                                 d. Collapse
              (b) The end of the policy period.                                 (1) We will pay for direct physical loss or
          (2) The most we will pay under this                                        damage to Covered Property, caused by
               Additional Coverage is 25% of:                                        collapse of a building or any part of a
                                                                                     building Insured under this policy, If
              (a) The amount we pay for the direct                                   the collapse is caused by one or more
                  physical loss of or damage to                                      of the following:
                  Covered Property; plus
                                                                                    (a) The "specified cause of loss" or
              (b) The deductible in        this policy                                  breakage of building glass, all only
                  applicable to that loss or damage.                                    as insured against in this policy;
              But this limitation does not apply to                                 (b} Hidden decay;
              any additional debris removal limit
              provided in Paragraph (4) below.
                                                                                    (c) Hidden insect or vermin damage;
                                                                                    (d) Weight of       people          or        personal
          (3) This Additional Coverage                  does    not
                                                                                        property;
              apply to costs to:
                                                                                    (e) Weight of rain that collects on a
              (a) Extract •pollutants" from              land    or
                                                                                        roof;
                    water. or
                                                                                    (f) Use    of defective material       or
              (b) Remove, restore or replace polluted
                                                                                        methods in construction, remodeling
                  land or water.
                                                                                        or renovation if the collapse occurs
          (4) If:                                                                       during     the   course     of    the
              (a) The sum of direct physical loss or                                    construdion,      remodeling       or
                  damage and debris removal expense                                     renovation. However, If the collapse
                  exceeds the Limit of Insurance; or                                    occurs after construdion, remodeling
                                                                                        or renovation is complete and is
              (b) The debris removal expense exceeds                                    caused in part by a cause of loss
                  the amount payable under the 25%                                      listed in d.(1}(a} through d.(1)(e),
                  Debris Removal Coverage limitation                                    we will pay for the loss or
                  in Paragraph (2) above;                                               damage even if use of defective
              we     will     pay    up   to     an     additional                      material or methods in construction,
              $10,000 for each location In any one                                      remodeling or renovation, contributes
              occurrence under the             Debris    Removal                        to the collapse.
              Additional Coverage.                                              (2) If the direct physical loss or damage
       b. Preservation Of Property                                                  does not involve collapse of a building
                                                                                    or any part of a building, we will pay
          If It is necessary to move Covered
          Property from the described premises to                                   for loss or damage to Covered Property
                                                                                    caused by the collapse of personal
          preserve it from loss or damage by a
          Covered Cause of Loss, we will pay for                                    property only If:
          any direct physical loss of or damage to                                  (a) The     personal    property   which
          that property:                                                                collapses is inside a building
          (1) While It is being moved or while                                          insured under this policy; and
              temporarily stored at another location;                               (b) The collapse was caused by a
              and                                                                       cause of loss listed in d.(1)(a)
          (2) Only if the loss or damage occurs                                         through d.(1)(f) above.
              within 30 days after the property Is                              (3) With respect to the following property:
              first moved.                                                          (a) Awnings;
       c. Fire Department Service Charge                                            (b) Gutters and downspouts;
          When the fire department Is called to                                     (c) Yard fixtures;
          save or protect Covered Property from a
          Covered Cause of Loss, we will pay up to                                  (d) Outdoor swimming pools;
          $1,000 for your liability for fire                                        (e) Piers, wharves and docks;
          department service charges:                                                (f) Beach    or    diving platfonns                or
          (1) Assumed by contract or agreement                                           appurtenances;
              prior to loss; or



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                 (g) Retaining walls; and                                          With respect to the requirements set
                 (h} Walks, roadways and other paved                               forth in the preceding paragraph, if you
                     surfaces;                                                     occupy only part of the site at which
                                                                                   the described premises are located,
                 if the collapse is caused by a cause                              your premises means:
                 of loss listed in d.(1)(b} through
                 d.(1)(f), we will pay for loss or                                 (a) The portion of the building which
                 damage to that property only if such                                   you rent, lease or occupy; and
                 loss or damage is a direct result of                             (b) Any area within the building or on
                 the collapse of a building insured under                             the site at which the described
                 this pollcy and the property is Covered                              premises are located, if that area
                 Property under this policy.                                          services, or is used to gain access
                                                                                      to, the descr1bed premises.
            (4) Collapse  does not indude settling,
               cracking,    shrinkage,  bulging     or                             We will only pay for loss of Business
               expansion.                                                          Income that you sustain during the
                                                                                   "period of restoration" and that occurs
        e. Water Damage, Other Liquids,
                                                                                   within 12 consecutive months after the
           Powder Or Molten Material
                                                                                   date of direct physical loss or damage.
           Damage
                                                                                   We will only pay for ordinary payroll
           If loss or damage caused by or resulting                                expenses for 60 days following the
           from covered water or other liquid, powder                              date of direct physical loss or damage.
           or molten material damage loss occurs,
                                                                                   Business Income means the:
           we will also pay the cost to tear out and
           replace any part of the building or                                          (I) Net Income (Net Profit or loss
           structure to repair damage to the system                                          before income taxes) that would
           or appllance from which the water or                                              have been earned or incurred if
           other substance escapes.                                                          no physical loss or damage had
                                                                                             occurred, but not including any
           We will not pay the cost to repair any
                                                                                             Net Income that would likely
           defect that caused the loss or damage;                                            have been earned as a result of
           but we will pay the cost to repair or
                                                                                             an increase in the volume of
           replace damaged parts of fire extinguishing
                                                                                             business    due     to favorable
           equipment if the damage:
                                                                                             business conditions caused by
             (1) Results in discharge of any substance                                       the impact of the Covered Cause
                 from an automatic fire protection                                           of Loss on customers or on
                 system; or                                                                  other businesses; and
            (2) Is directly caused by freezing.                                         (ii) Continuing     normal   operating
         f. Business Income                                                                  expenses     incurred,  Including
                                                                                             payroll.
            (1) Business Income
                                                                                    Ordinary payroll expenses mean payroll
                We will pay for the actual loss of                                  expenses for all your employees
                Business Income you sustain due to the                              except:
                necessary     suspension     of     your
                "operations" during the "period of                                 (a) Officers;
                restoration". The suspension must be                              (b)   Executives;
                caused by direct physical loss of or
                                                                                  (c}   Department Managers;
                damage to property at the described
                premises. The loss or damage must be                              (d}   Employees under contract; and
                caused by or result from a Covered                                (e}   Additional Exemptions shown in the
                Cause of Loss. With respect to loss of                                  Declarations as:
                or damage to personal property In the
                open or personal property in a vehicle,                                  (i) Job Classifications; or
                the described premises include the area                                 (ii) Employees.
                within 100 feet of the site at which
                the descr1bed premises are located.




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                Ordinary payroll expenses include:                      g. Extra Expense
                (a) Payroll;                                                (1) We will pay necessary Extra Expense
                (b) Employee     benefits,    if     directly                    you incur during the "period of
                    related to payroll;                                          restoration" that you would not have
                                                                                 incurred if there had been no direct
                (c) FICA payments you pay;                                       physical loss or damage to property at
                (d) Union dues you pay; and                                      the described premises. The loss or
                                                                                 damage must be caused by or result
                (e) Workers' compensation premiums.                              from a Covered Cause of Loss. With
            (2) Extended Business Income                                         respect to loss of or damage to
                If the necessary suspension of your                              personal property in the open or
                 "operations"     produces  a   Business                         personal property in a vehicle, the
                 Income loss payable under this policy,                          described premises include the area
                 we will pay for the actual loss of                              within 100 feet of the site at which
                 Business Income you incur during the                            the described premises are located.
                 period that:                                                    With respect to the requirements set
                (a) Begins on the date property except                           forth in the preceding paragraph, if you
                     finished stock is actually repaired,                        occupy only part of the site at which
                     rebuilt or replaced and "operations"                        the described premises are located,
                     are resumed; and                                            your premises means:

                (b) Ends on the earlier of:                                      (a) The portion of the building which
                                                                                     you rent, lease or occupy; and
                     (i) The date you could restore your
                         "operations",  with   reasonable                        (b) Any area within the building or on
                         speed, to the level which would                             the site at which the described
                         generate the Business Income                                premises are located, if that area
                         amount that would have existed                              services, or is used to gain access
                         if no direct physical loss or                               to, the described premises.
                         damage had occurred; or                             (2) Extra Expense means expense incurred:
                     (II) 30 consecutive days after the                          (a) To     avoid   or     minimize the
                          date determined in (2)(a) above.                           suspension of business and to
                 However, Extended Business Income                                   continue "operations":
                 does not apply to loss of Business                                  (i) At the described premises; or
                 Income incurred     as a result of                                 (ii) At replacement premises or at
                 unfavorable business conditions caused                                   temporary   locations,   including
                 by the impact of the Covered Cause of                                    relocation expenses, and costs
                 Loss in the area where the described                                     to    equip  and    operate    the
                 premises are located.                                                    replacement      or     temporary
                 Loss of Business Income must be                                          locations.
                 caused by direct physical loss or                               (b) To   minimize the suspension of
                 damage at the described premises                                    business if you cannot continue
                 caused by or resulting from any                                     "operations".
                 Covered Cause of Loss.
                                                                                 (c) To:
             This Additional Coverage is not subject to
             the limits of Insurance.                                                (I) Repair or replace any property;
                                                                                         or
                                                                                    (ii) Research, replace or restore the
                                                                                         lost information on damaged
                                                                                         "valuable papers and records":




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                  to the extent It reduces the amount                        whichever is later.
                  of loss that otherwise would have                         The definitions of Business Income and
                  been payable under this Additional                         Extra Expense contained in the Business
                  Coverage or Additional Coverage f.                         Income and Extra Expense Additional
                  Business Income.                                          Coverages also apply to this Civil
           We will only pay for Extra Expense that                          Authority Additional Coverage. The Civil
           occurs within 12 consecutive months after                        Authority Additional Coverage is not
           the date of direct physical loss or                              subject to the Limits of Insurance.
           damage. This Additional Coverage is not                     j. Money Orders And Counterfeit
           subject to the Limits of Insurance.                               Paper Currency
       h. Pollutant Clean Up And Removal                                    We will pay for loss due to the good
           We will pay your expense to extract                              faith acceptance of:
           "pollutants" from land or water at the                           (1) Any U.S. or Canadian post office,
           described premises if the discharge,                                  express company, or national or state
           dispersal, seepage, migration, release or                             (or Canadian) chartered bank money
           escape of the "pollutants" is caused by or                            order that is not paid upon presentation
           results from a Covered Cause of Loss that                             to the issuer; or
           occurs during the policy period. The                            (2) Counterfeit United States or Canadian
           expenses will be paid only if they are                                paper currency;
           reported to us in writing within 180 days
           of the earlier of:                                                in exchange for merchandise, "money" or
                                                                            services or as part of a nonnal business
         (1) The date of direct physical loss or                            transaction.
               damage; or
                                                                            The most we will pay for any loss under
          (2) The end of the policy period.                                 this Additional Coverage is $1,000.
            The most we will pay for each location                     k. Forgery And Alteration
            under this Addltional Coverage is $10,000
            for the sum of all such expenses arising                        (1) We will pay for loss resulting directly
            out of Covered Causes of Loss occurring                              from forgery or alteratlon of, any
            during each separate 12 month period of                              check, draft, promissory note, bill of
            this policy.                                                         exchange or similar written promise of
                                                                                 payment In "money", that you or your
        i. Civil Authority                                                       agent has issued, or that was issued
            We will pay for the actual loss of                                   by someone who impersonates you or
            Business Income you sustain and necessary                            your agent.
            Extra Expense caused by action of civil                        (2) If you are sued for refusing to pay the
            authority that prohibits access to the                               check, draft, promissory note, bill of
            described premises due to direct physical                            exchange or similar written promise of
            loss of or damage to property, other than                            payment In "money", on the basis that
            at the described premises, caused by or                              it has been forged or altered, and you
            resulting from any Covered Cause of Loss.                            have our written consent to defend
            The coverage for Business Income will                                against the suit, we will pay for any
            begin 72 hours after the time of that                                reasonable legal expenses that you
            action and will apply for a period of up                             incur in that defense.
            to three consecutive weeks after coverage                      (3) The most we will pay for any loss,
            begins.                                                              including legal expenses, under this
            The coverage for necessary Extra Expense                             Additional Coverage is $2,500.
            will begin immediately after the time of                    I. Increased Cost Of Construction
            that action and ends:
                                                                            (1) This Additional Coverage applies only
            (1) 3 consecutive weeks after the time of                            to buildings insured on a replacement
                that action; or                                                  cost basis.
           (2) When your Business Income coverage
                ends;




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         (2) In the event of damage by a Covered                                 (b) If the building is repaired or
             Cause of Loss to a building that is                                     replaced at the same premises, or
             Covered Property, we will pay the                                       If you elect to rebuild at another
             increased costs incurred to comply                                      premises, the most we will pay for
             with enforcement of an ordinance or                                     the Increased Cost of Construction
             law in the course of repair, rebuilding                                 is     the    Increased  cost     of
             or replacement of damaged parts of                                      construction at the same premises.
             that property, subject to the limitations                           (c) If the ordinance or law requires
             stated In 1.(3) through 1.(9) of this                                    relocation to another premises, the
             Aclclitlonal Coverage.                                                  most we will pay for the Increased
         (3) The ordinance or law referred to In                                     Cost      of  Construction   is    the
             1.(2) of this Additional Coverage is an                                 increased cost of construction at
             ordinance or law that regulates the                                     the new premises.
             construction or repair of buildings or                          (8) This Additional Coverage is not subject
             establishes     zoning   or   land    use                            to the terms of the Ordinance or Law
             requirements at the described premises,                              Exclusion, to the extent that such
             and is In force at the time of loss.                                 Exclusion would conflict with the
                                                                                  provisions of this Additional Coverage.
         (4) Under this Additional Coverage, we will
              not pay any costs due to an ordinance                         (9) The costs addressed in the Loss
              or law that:                                                        Payment Property Loss Condition in this
                                                                                  Coverage Form do not include the
             (a) You were required to comply with
                  before the loss, even when the                                  increased      cost      attributable     to
                                                                                  enforcement of an ordinance or law.
                  building was undamaged; and
                                                                                  The     amount    payable       under   this
             (b) You failed to comply with.                                       Additional Coverage, as stated in 1.(6)
         (5) Under this Additional Coverage, we will                              of this Additional Coverage, is not
              not pay any costs associated with the                               subject to such limitation.
              enforcement of an ordinance or law                         m. Exterior Bulldlng Glass
              which requires any insured or others to
              test for, monitor, clean up, remove,
                                                                             (1) We will pay for direct physical loss of
                                                                                  or damage to glass, including lettering
              contain, treat, detoxify or neutralize, or
                                                                                  or ornamentation, that is part of the
              In any way respond to, or assess the
                                                                                  exterior of a covered building or
              effects of "pollutants".
                                                                                  structure at the described premises.
         (6) The most we will pay under this                                      The glass must be owned by you, or
              Additional Coverage, for each described                             owned by others but in your care,
              building insured under this Coverage                                custody or control. We will also pay
              Form, is $5,000.                                                    for necessary:
              The     amount     payable     under    this                       (a) Expenses     Incurred      to   put    up
              Additional     Coverage    ls     additional                            temporary plates or board up
              insurance.                                                              openings;
         (7) Wrth      respect    to   this    Additional                       (b) Repair or replacement of encasing
              Coverage:                                                               frames; and
             (a) We will not pay for the Increased                               (c) Expenses incurred to remove or
                  Cost of Construction:                                               replace obstructions.
                  (I) Until the property is actually                        (2) Paragraph A.3., Covered Causes Of
                      repaired or replaced, at the                                Loss and Section B., Exclusions do
                      same or another premises; and                               not apply to this Additional Coverage,
                 (II) Unless      the      repairs      or                        except for.
                      replacement are made as soon                               (a) Paragraph 8.1.b., Earth Movement;
                      as reasonably possible after the
                                                                                 (b) Paragraph      B.1.c.,       Governmental
                      loss or damage, not to exceed
                                                                                      Action;
                      two years. We may extend this
                      period In writing during the two                           (c) Paragraph B.1.d., Nuclear Hazard;
                      years.




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               (d) Paragraph B.1.f., War And Military                   b. Personal Property Off Premises
                   Action; and                                              You may extend the insurance that applies
               (e) Paragraph B.1.g., Water.                                to Business Personal Property to apply to
                                                                           covered Business Personal Property, other
           (3) We will not pay for loss or damage                          than "money" and "securities", "valuable
               caused by or resulting from:                                papers and records" or accounts receivable,
               (a) Wear and tear;                                          while it is in the course of transit or
                                                                           temporarily at a premises you do not own,
               (b) Hidden or latent defect;                                lease or operate. The most we will pay
               (c) Corrosion; or                                           for loss or damage under this Extension is
               (d) Rust                                                    $5,000.
           (4) The most we pay under this Additional                    c. Outdoor Property
                Coverage is the Building Limit of                          You may extend the insurance provided by
                Insurance shown in the Declarations.                       this policy to apply to your outdoor
              However, if you are a tenant and no                          fences, radio and television antennas
              Limit of Insurance is shown in the                           (Including satellite dishes), signs {other
              Declarations for Building property, the                      than signs attached to buildings), trees,
              most we will pay under this Additional                       shrubs and plants, including debris removal
              Coverage is the Tenant's Exterior                            expense, caused by or resulting from any
              Building Glass Limit of Insurance shown                      of the following causes of loss:
              in the Declarations.                                         (1) Fire;
   6. Coverage Extensions                                                  (2) Lightning;
      In addition to the Limits of Insurance, you                          (3) Explosion;
      may extend the insurance provided by this                            (4) Riot or Civil Commotion; or
      policy as provided below.
                                                                           (5) Aircraft.
      Except as otherwise provided, the following
      Extensions apply to property located in or on                         The most we will pay for loss or damage
      the building described in the Declarations or                         under this Extension is $2,500, but not
      In the open {or in a vehicle) within 100 feet                         more than $500 for any one tree, shrub or
      of the described premises, unless a higher                            plant.
      Limit of Insurance is shown              In the                   d. Personal Effects
      Declarations.
                                                                            You may extend the insurance that applies
       a. Personal        Property      At      Newly                       to Business Personal Property to apply to
            Acquired Premises                                               personal effects owned by you, your
          (1) You may extend the insurance that                             officers, your partners or your employees.
              applies to Business Personal Property                         This extension does not apply to:
              to apply to that property at any                              (1) Tools or equipment used in your
              premises you acquire.                                             business; or
              The most we will pay for loss or                             (2) Loss or damage by theft.
              damage     under     this Extension   is                      The most we wil I pay for loss or damage
              $100,000 at each premises.                                    under this Extension is $2,500 at each
         (2) Insurance under this Extension for each                        described premises.
              newly acquired premises will end when
                                                                        e. "Valuable Papers And Records"
              any of the following first occurs:
                                                                            (1) You may extend the insurance that
               (a) This policy expires;                                         applies to Business Personal Property
               (b) 30 days expire after you acquire or                          to apply to direct physical loss or
                    begin construction at the new                               damage to       "valuable  papers   and
                    premises; or                                                records" that you own, or that are in
               (c) You report values to us.                                     your care, custody or control caused by
                                                                                or resulting from a Covered Cause of
                We will charge you additional premium                           Loss. This Coverage Extension includes
                for values reported from the date you                           the cost to research lost information
                acquire the premises.                                           on "valuable papers and records" for
                                                                                which duplicates do not exist.



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             (2) This Coverage Extension does not apply                                that result from direct physical loss
                 to:                                                                   or damage by any Covered Cause of
                  (a) Property held as samples       or for                            Loss to your records of accounts
                      delivery after sale;                                             receivable.
                 (b) Property in storage away from the                          (2) The most we will pay under this
                     premises shown in the Declarations.                            Coverage Extension for loss or damage
                                                                                    In any one occurrence at the described
             (3) The most we will pay under this                                    premises is $5,000, unless a higher
                 Coverage Extension for loss or damage                              Limit    of   Insurance  for   accounts
                 to "valuable papers and records" in any                            receivable is shown in the Declarations.
                 one    occurrence    at   the  described
                 premises is $5,000, unless a higher                                For accounts receivable not at the
                 Limit of Insurance for "valuable papers                            described premises, the most we will
                 and    records"   is    shown   in    the                          pay is $2,500.
                 Declarations.                                                 (3) Section  8.    Exclusions      of this
                  For "valuable papers and records" not                            Coverage Form does not apply to this
                  at the described premises, the most                              Coverage Extension except for:
                  we will pay is $2,500.                                           (a) Paragraph      8.1.c.,            Governmental
             (4) Section  8.    Exclusions      of this                                Action;
                 Coverage Form does not apply to this                              (b) Paragraph 8.1.d., Nuclear Hazard;
                 Coverage Extension except for:                                    (c) Paragraph B.1.f., War And Military
                 (a) Paragraph      8.1.c.,   Governmental                             Action;
                     Action;                                                       (d) Paragraph 8.2.f., Dishonesty;
                 (b) Paragraph 8.1.d., Nuclear Hazard;                             (e) Paragraph B.2.g., False Pretense;
                 (c) Paragraph 8.1.f., War And Military                             (f) Paragraph B.3.; and
                     Action;
                                                                                   (g) The      Accounts     Receivable     and
                 (d) Paragraph 8.2.f., Dishonesty;                                      "Valuable Papers And          Records"
                 (e) Paragraph 8.2.g., False Pretense;                                  Exclusions.
                  (f) Paragraph 8.3.; and                            8. Exclusions
                 (g) The     Accounts Receivable    and                 1. We wi II not pay for loss or damage caused
                     "Valuable Papers And      Records"                    directly or indirectly by any of the following.
                     Exclusions.                                           Such loss or damage Is excluded regardless
         f. Accounts Receivable                                            of any other cause or event that contributes
                                                                           concurrently or in any sequence to the loss.
             (1) You may extend the insurance that
                 applies to Business Personal Property                     a. Ordinance Or Law
                 to apply to accounts receivable. We                           The enforcement of any ordinance or law:
                 will pay:                                                     (1) Regulating the construction, use or
                 (a) All     amounts due   from   your                              repair of any property; or
                     customers that you are unable to                         (2) Requiring the tearing down of any
                     collect;                                                       property, including the cost of removing
                 (b) Interest charges    on   any  loan                             its debris.
                     required to offset amounts you are                        This exclusion, Ordinance Or Law, applies
                     unable to collect pending our                             whether the loss results from:
                     payment of these amounts;
                                                                               (1) An ordinance or law that is enforced
                 (c) Collection expenses in excess of                               even if the property has not been
                     your normal collection expenses that                           damaged; or
                     are made necessary by loss or
                     damage; and                                              (2) The increased costs incurred to comply
                                                                                    with an ordinance or law in the course
                 (d) Other reasonable expenses that you                             of    construction,   repair,   renovation,
                     incur to re-establish your records                             remodeling or demolition of property or
                     of accounts receivable;                                        removal of its debris, following a
                                                                                    physical loss to that property.




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        b. Earth Movement                                                 e.     Power Failure
           (1) Any earth       movement (other than                            The failure of power or other utility
               sinkhole    collapse),   such    as    an                       service supplied to the described premises,
               earthquake, landslide, mine subsidence                          however caused, if the failure occurs away
               or earth sinking, rising or shifting. But                       from the described premises.
               if earth movement results in fire or                          But if failure of power or other utility
               explosion, we will pay for the loss or                        service results in a Covered Cause of
               damage caused by that fire or                                 Loss, we will pay for the loss or damage
               explosion.                                                    caused by that Covered Cause of Loss.
           (2) Volcanic eruption, explosion or effusion.                  f. War And Miiitary Action
                But if volcanic eruption, explosion or
                effusion results in fire. building glass                        (1) War, including undeclared or civil war;
                breakage or volcanic action, we will                           (2) Warlike action by a military force,
                pay for the loss or damage caused by                                including   action   in    hindering   or
                that fire, building glass breakage or                               defending against an actual or expected
                volcanic action.                                                    attack, by any government, sovereign or
                Volcanic action means direct loss or                                other authority using military personnel
                damage resulting from the eruption of                               or other agents; or
                a volcano when the loss or damage is                           (3) Insurrection,    rebellion,   revolution,
                caused by:                                                         usurped power, or action taken by
               (a) Airborne volcanic blast or airborne                             governmental authority in hindering or
                    shock waves;                                                   defending against any of these.
               (b) Ash, dust, or particulate matter; or                  g. Water
               (c) Lava flow.                                               (1) Flood, surface water, waves, tides,
                                                                                tidal waves, overflow of any body of
                All volcanic eruptions that occur within                        water, or their spray, all whether
                any 168-hour period will constitute a                           driven by wind or not;
                single occurrence.
                                                                               (2) Mudslide or mudflow;
             Volcanic action does not include the
             cost to remove ash, dust or particulate                           (3) Water that backs up or overflows from
             matter that does not cause direct                                       a sewer, drain or sump; or
             physical loss of or damage to Covered                             (4) Water       under  the   ground    surface
             Property.                                                               pressing on, or flowing or seeping
        c. Governmental Action                                                       through:
            Seizure or destruction of property by order                            (a) Foundations, walls, floors or paved
            of governmental authority.                                                   surfaces;
            But we wi II pay for loss or damage                                    (b) Basements, whether paved or not;
            caused by or resulting from acts of                                          or
            destruction   ordered     by    governmental                            (c) Doors, windows or other openings.
            authority and taken at the time of a fire                           But if Water, as described in B.1.g.(1)
            to prevent its spread, if the fire would be                         through 8.1.g.(4), results in fire, explosion
            covered under this policy.                                          or sprinkler leakage, we wlll pay for the
        d. Nuclear Hazard                                                       loss or damage caused by that fire,
           Nuclear reaction or radiation, or radioactive                        explosion or sprinkler leakage.
           contamination, however caused.                             2. We will not pay for loss or damage caused
           But if nuclear reaction or radiation, or                      by or resulting from any of the following:
           radioactive contamination, results in fire,
           we will pay for the loss or damage
           caused by that fire.




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         a. Electrical Apparatus                                                 With respect to accounts receivable and
             Artificially generated electrical current,                          "valuable  papers  and   records",   this
             including electric arcing, that disturbs                            exclusion does not apply to carriers for
             electrical devices, appliances or wires.                            hire.
             But if artificially generated electrical                        g. False Pretense
             current results in fire, we will pay for                            Voluntary parting with any property by you
             the loss or damage caused by fire.                                  or anyone else to whom you have
        b. Consequential Losses                                                  entrusted the property if induced to do so
                                                                                 by any fraudulent scheme, trick, device or
             Delay, loss of use or loss of market.                               false pretense.
        c. Smoke, Vapor, Gas                                                 h. Exposed Property
             Smoke, vapor or gas from agricultural                               Rain, snow, Ice or           sleet        to         personal
             smudging or industrial operations.                                  property in the open.
         d. Steam Apparatus                                                  l. Collapse
             Explosion of steam boilers, steam pipes,                            Collapse, except as provided in the
             steam engines or steam turbines owned or                            Additional Coverage for Collapse. But if
             leased by you, or operated under your                               collapse results in a Covered Cause of
             control. But if explosion of steam boilers,                         Loss, we will pay for the loss or damage
             steam pipes, steam engines or steam                                 caused by that Covered Cause of Loss.
             turbines results in fire or combustion
                                                                             j. Pollutlon
             explosion, we will pay for the loss or
             damage caused by that fire or combustion                            We will not pay for loss or damage
             explosion. We will also pay for loss or                             caused by or resulting from the discharge,
             damage caused by or resulting from the                              dispersal, seepage, migration, release or
             explosion of gases or fuel within the                               escape       of     "pollutants"      unless    the
             furnace of any fired vessel or within the                           discharge, dispersal, seepage, migration,
             flues or passages through which the gases                           release or escape is itself caused by any
             of combustion pass.                                                 of the "specified causes of loss". But If
                                                                                 the       discharge,       dispersal,      seepage,
        e. Frozen Plumbing                                                       migration,       release      or      escape     of
             Water, other liquids, powder or molten                              "pollutants" results in a "specified cause
             material that leaks or flows from                                   of loss", we will pay for the loss or
             plumbing, heating, air conditioning or other                        damage caused by that "specified cause of
             equipment (except fire protective systems)                          Joss".
             caused by or resulting from freezing,
                                                                             k. Other Types Of Loss
             unless:
                                                                                 (1) Wear and tear;
             (1) You do your best to maintain heat in
                 the building or structure; or                                  (2) Rust,        corrosion,      fungus,      decay,
                                                                                      deterioration, hidden or latent defect or
            (2) You drain the equipment and shut off                                  any quality in property that causes it
                the supply if the heat is not
                                                                                      to damage or destroy itself;
                maintained.
                                                                                (3) Smog;
         f. Dishonesty
                                                                                (4) Settling,        cracking,      shrinking     or
             Dishonest or criminal acts by you, anyone
                                                                                      expansion;
             else with an interest in the property, or
             any of your or their partners, employees,                          (5) Nesting or Infestation, or discharge or
             directors,       trustees,        authorized                             release      of     waste      products     or
             representatives or anyone to whom you                                    secretions, by insects, birds, rodents or
             entrust the property for any purpose:                                    other animals;
             (1) Acting alone or in collusion with                              (6) Mechanical breakdown, including rupture
                 others;                                                              or bursting caused by centrifugal force;
                                                                                      or
            (2) Whether or not occurring during the
                 hours of employment.                                           (7) The following causes of loss to
                                                                                      personal property:
             This exclusion does not apply to acts of
             destruction by your employees; but theft                                (a) Dampness or dryness of atmosphere;
              by employees is not covered.



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                (b) Changes       in     or  extremes      of                (2) Suspension, lapse or cancellation of
                      temperature: or                                             any license, lease or contract. But if
                                                                                  the suspension, lapse or cancellation is
                (c) Marring or scratching.                                         directly caused by the suspension of
            But if an excluded cause of loss that is                              "operations", we will cover such loss
            listed in B.2.k.(1) through B.2.k.(7)                                 that affects your Business Income
            results in a "specified cause of loss" or                              during the "period of restoration".
            building glass breakage, we will pay for                      b. Any other consequential loss.
            the loss or damage caused by that
            "specified cause of loss" or building glass                5. Accounts Receivable And "Valuable
                                                                          Papers And Records" Exclusions
            breakage.
    3. We will not pay for loss or damage caused                          The following additional exclusions apply to
        by or resulting from any of the following                         the Accounts Receivable and "Valuable Papers
        B.3.a. through B.3.c. But if an excluded                          And Records" Coverage Extensions:
        cause of loss that Is listed in B.3.a. through                    a. We wi II not pay for loss or damage
        B.3.c. results In a Covered Cause of Loss,                            caused by or resulting from electrical or
        we will pay for the loss or damage caused                             magnetic injury, disturbance or erasure of
        by that Covered Cause of Loss.                                        electronic recordings that is caused by or
                                                                              results from:
        a. Weather Conditions
                                                                              (1) Programming errors or faulty machine
            Weather conditions. But this exclusion only
            applies if weather conditions contribute in                             instructions:
            any way with a cause or event excluded                            (2) Faulty installation or maintenance of
            in Paragraph 1. above to produce the loss                               data      processing        equipment       or
            or damage.                                                              component parts:
        b. Acts Or Decisions                                                  But we will pay for direct loss or damage
                                                                              caused by lightning.
            Acts or decisions, including the failure to
            act or decide, of any person, group,                          b. Applicable to           "Valuable     Papers and
            organization or governmental body.                                Records" only:
        c. Negligent Work                                                     We wi II not pay for loss or damage
                                                                              caused by or resulting from any of the
            Faulty, inadequate or defective:
                                                                              following:
            (1) Planning, zoning, development, surveying,                     (1) Errors or omissions in processing or
                 siting:                                                          copying. But if errors or omissions in
           (2) Design,       specifications,   workmanship,                       processing or copying results in fire or
                 repair,       construction,      renovation,                     explosion, we will pay for the direct
                 remodeling, grading, compaction:                                 loss or damage caused by the fire or
           (3) Materials used in repair, construction,                             explosion.
                 renovation or remodeling; or                                (2) Wear and tear, gradual deterioration or
           (4) Maintenance:                                                       latent defect.
            of part or all of any property on or off                      c. Applicable to Accounts Recelvable only:
            the described premises.                                           We will not pay for:
     4. Business Income And Extra Expense                                     (1) Loss or damage caused by or resulting
        Exclusions                                                                 from          alteration,        falsification,
        We will not pay for:                                                       concealment or destruction of records
                                                                                   of accounts receivable done to conceal
        a. Any Extra Expense, or increase of                                       the     wrongful       giving,    taking     or
            Business Income loss, caused by or                                     withholding of "money", "securities" or
            resulting from:                                                        other property.
            (1) Delay      in    rebuilding,  repairing    or                      This exclusion applies only to the
                 replacing the property or resuming                                extent of the wrongful giving, taking or
                 "operations", due to interference at the                         withholding.
                 location of the rebuilding, repair or
                 replacement by strikers or other                            (2) Loss or damage caused by or resulting
                 persons: or                                                       from bookkeeping, accounting or billing
                                                                                   errors or omissions.


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             (3) Any loss or damage that requires any                         b. This increase will apply only if the Limit
                 audit of records or any inventory                                 of Insurance shown for Business Personal
                 computation to   prove  its    factual                            Property in the Declarations is at least
                 existence.                                                        100% of your average monthly values
C. Limits Of Insurance                                                             during the lesser of:
   1. The most we will pay for loss or damage in                                   (1) The 12 months immediately preceding
        any one occurrence is the applicable Limit of                                   the date the loss or damage occurs;
        Insurance shown in the Declarations.                                            or
    2. The most we will pay for loss of or damage                                  (2) The period of time you have been in
        to    outdoor   signs   attached   to     buildings     is                     business as of the date the loss or
        $1,000 per sign In any one occurrence.                                         damage occurs.
    3. The     limits applicable to the     Coverage                    D. Deductibles
        Extensions and the Fire Department Service                         1. We will not pay for loss or damage in any
        Charge and Pollutant Clean Up and Removal                             one occurrence until the amount of loss or
        Additional Coverages are in addition to the                           damage exceeds the Deductible shown in the
        Limits of Insurance.                                                  Declarations. We will then pay the amount of
    4. Building Limit - Automatic Increase                                    loss or damage In excess of the Deductible
                                                                              up to the applicable Limit of Insurance.
        a. The Limit of Insurance for Buildings will
             automatically Increase by the annual                          2. Regardless of the amount of the Deductible,
             percentage shown in the Declarations.                            the most we will deduct from any loss or
                                                                              damage under all of the following Optional
        b. The amount of increase will be:                                    Coverages and the Additional Coverage -
           (1) The Building limit that applied on the                         Exterior Building Glass in any one occurrence
                 most recent of the policy inception                          is the Optional Coverage/Exterior Building
                 date, the policy anniversary date, or                        Glass Deductible shown in the Declarations:
                 any other policy change amending the                         a. Money and Securities;
                 Building limit, times
                                                                              b. Employee Dishonesty;
             (2) The percentage of annual increase
                 shown in the Declarations, expressed                         c.   Interior Glass; and
                 as a decimal (example: 8% is .08),                           d. Outdoor Signs.
                 times                                                        But this Optional Coverage/Exterior Building
             (3) The number of days           since  the                      Glass Deductible will   not increase the
                 beginning of the current policy year of                      Deductible shown in the Declarations. This
                 the effective date of the most recent                        Deductible will be used to satisfy the
                 pollcy change amending the Building                          requirements  of the   Deductible In the
                 limit, divided by 365.                                       Declarations.
        Example:                                                           3. No    deductible applies     to       the            following
        If: The applicable Building limit is $100,000.                        Additional Coverages:
            The annual percentage increase is 8%. The                         a.   Fire Department Service Charge;
            number of days since the beginning of the                         b. Business Income;
            policy year (or last policy change) is 146.
                                                                              c. Extra Expense; and
             The amount of increase is
             $100,000 x .08 x 146 Divided by 365 =                            d. Civil Authority.
             $3,200.                                                    E. Property Loss Conditions
    5. Business Personal            Property        Limit       •          1. Abandonment
       Seasonal Increase                                                      There can be no abandonment of any property
        a. The       Limit of Insurance for Business                          to us.
             Personal     Property  will automatically
             increase by 25% to provide for seasonal
             variations.




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    2. Appraisal                                                                 Also permit us to take samples of
       If we and you disagree on the amount of                                   damaged and undamaged property for
       loss, either may make written demand for an                               inspection, testing and analysis, and
       appraisal of the loss. In this event, each                                permit us to make copies from your
       party will select a competent and impartial                               books and records.
       appraiser. The two appraisers will select an                          (7) Send us a signed, sworn proof of loss
       umpire. If they cannot agree, either may                                   containing the information we request
       request that selection be made by a judge of                               to investigate the claim. You must do
       a court having jurisdiction. The appraisers will                           this within 60 days after our request.
       state separately the amount of loss. If they                               We will supply you with the necessary
       fail   to agree, they will submit their                                   forms.
       differences to the umpire. A decision agreed                          (8) Cooperate with us in the investigation
       to by any two will be binding. Each party                                 or settlement of the claim.
       will:
                                                                             (9) Resume     all   or    part   of     your
        a. Pay its chosen appraiser; and                                         "operations" as quickly as possible.
        b. Bear the other expenses of the appraisal                       b. We may examine any Insured under oath,
           and umpire equally.                                               while not in the presence of any other
       If there is an appraisal, we will still retain                        insured and at such times as may be
       our right to deny the claim.                                          reasonably required, about any matter
                                                                             relating to this insurance or the claim,
   3. Duties In The Event Of Loss Or
                                                                             including an insuned's books and records.
      Damage                                                                 In the event of an examination, an
        a. You must see that the following are done                          insuned's answers must be signed.
           In the event of loss or damage to Covered
                                                                      4. Legal Action Against Us
           Property:
                                                                          No one may bring       a legal action against us
           (1) Notify the police if a law may have
                                                                          under this insurance    unless:
               been broken.
                                                                          a. There has been       full compliance with all
           (2) Give us prompt notice of the loss or
                                                                             of the terms of     this insurance; and
               damage. Include a description of the
               property involved.                                         b. The action is brought within 2 years after
                                                                             the date on which the direct physical loss
           (3) As soon as possible, give us a
                                                                             or damage occurred.
               description of how, when and where
               the loss or damage occurred.                           5. Limitation • Electronic Media And
           (4) Take all reasonable steps to protect
                                                                          Records
               the Covered Property from further                          We wi II not pay for any loss of Business
               damage, and keep a record of your                          Income caused by direct physical loss of or
               expenses necessary to protect the                          damage to Electronic Media and Records after
               Covered Property, for consideration in                     the longer of:
               the settlement of the claim. This will                     a. 60 consecutive days from the date of
               not increase the Limit of Insurance.                           direct physical loss or damage; or
               However, we will not pay for any
               subsequent loss or damage resulting                        b. The period, beginning with the date of
               from a cause of loss that is not a                             direct physical loss or damage, necessary
               Covered Cause of Loss. Also, if                                to    repair,  rebuild   or   replace   with
               feasible, set the damaged property                             reasonable speed and similar quality, other
               aside and in the best possible order                           property at the described premises due to
               for examination.                                               loss or damage caused by the same
                                                                              occurrence.
           (5) At our request, give us complete
               inventories   of  the   damaged     and                    Electronic Media and Records are:
               undamaged property. Include quantities,                        (1) Electronic data processing, recording or
               costs, values and amount of loss                                   storage media such as films, tapes,
               claimed.                                                           discs, drums or cells;
           (6) As often as may be reasonably                                 (2) Data stored on such media; or
               required, permit us to inspect the                            (3) Programming records used for electronic
               property proving the loss or damage                               data     processing   or  electronically
               and examine your books and records.                               controlled equipment.


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       Example No. 1:                                                            (i) The Limit of Insurance under
       A Covered Cause of Loss damages a computer                                     this policy that applies to the
       on June 1. It takes until September 1 to                                       lost or damaged property;
       replace the computer, and until October 1 to                              (ii) The cost to replace, on the
       restore the data that was lost when the                                        same premises, the lost or
       damage occurred. We will only pay for the                                      damaged property with other
       Business Income loss sustained during the                                      property:
       period June 1 - September 1. Loss during the
       period September 2 - October 1 is not                                           a. Of comparable material and
       covered.                                                                           quality; and
       Example No. 2:                                                                  b. Used for the same purpose;
                                                                                          or
      A Covered Cause of Loss results In the loss
      of data processing programming records on                                 (Iii) The amount ~at you actually
      August 1. The records are replaced on October                                   spend that 1s necessary to
      15. We will only pay for the Business Income                                    repair or replace the lost or
      loss sustained during the period August 1 -                                     damaged property.
      September 29 (60 consecutive days). Loss                                (b) If, at the time of loss, the Limit
      during the period September 30 - October 15                                 of Insurance applicable to the lost
      is not covered.                                                             or damaged property is less than
   6. Loss Payment                                                                80% of the full replacement cost
                                                                                  of the property immediately before
      In the event of loss or damage covered by                                   the loss, we will pay the greater
      this policy:                                                                of the following amounts, but not
      a. At our option, we wlll either:                                           more than the Limit of Insurance
                                                                                  that applies to the property:
          (1) Pay the value of lost or damaged
              property;                                                           (i) The actual cash value of the
                                                                                      lost or damaged property; or
         (2) Pay the cost of repairing or replacing
              the lost or damaged property;                                      (ii) A proportion of the cost to
                                                                                      repair or replace the lost or
         (3) Take all or any part of the property at                                  damaged        property,      after
              an agreed or appraised value; or                                        application of the deductible and
         (4) Repair, rebuild or replace the property                                  without        deduction        for
              with other property of like kind and                                    depreciation. This proportion will
              quality, subject to d.(1)(e) below.                                     equal the ratio of the applicable
       b. We will give notice of our intentions                                       Limit of Insurance to 80% of
          within 30 days after we receive the                                         the     cost    of     repair    or
          sworn proof of loss.                                                        replacement.
       c. We will not pay you more than your                                  (c) You may make a claim for loss or
          financial interest in the Covered Property.                              damage covered by this insurance
                                                                                   on an actual cash value basis
       d. Except as provided in (2) through (8)                                    instead of on a replacement cost
          below, we will determine the value of                                    basis. In the event you elect to
          Covered Property as follows:                                             have loss or damage settled on an
          (1) At replacement cost without deduction                                actual cash value basis, you may
               for      depreciation, subject   to   the                           still      make    a  claim      on  a
               following:                                                          replacement cost basis if you notify
                                                                                   us of your intent to do so within
              (a) If, at the time of loss, the Limit
                                                                                   180 days after the loss or damage.
                    of Insurance on the lost or
                   damaged property is 80% or more                            (d) We will not pay on a replacement
                    of the full replacement cost of the                            cost basis for any loss or damage:
                    property immediately before the                                (I) Until the lost or damaged
                    loss, we will pay the cost to                                       property Is actually repaired or
                    repair or replace, after application                                 replaced; and
                    of the deductible and without
                    deduction for depreciation, but not                           (ii) Unless        the    repairs    or
                    more than the least of the                                           replacement are made as soon
                    following amounts:                                                   as reasonably possible after the
                                                                                         loss or damage.

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               (e) The cost to repair, rebuild or                                        If your lease contains a renewal
                   replace   does   not    include  the                                  option,    the expiration  of the
                   increased    cost attributable to                                     renewal option period will replace
                   enforcement of any ordinance or                                       the expiration of the lease in this
                   law regulating the construction, use                                  procedure.
                   or repair of any property.                                       (c) Nothing if others pay for repairs or
           (2) If the "Actual Cash Value - Buildings"                                    replacement.
               option applies, as shown in the                                  (6) "Valuable papers and records", including
               Declarations, Paragraph (1) above does                               those which exist on electronic or
               not apply to Buildings. Instead, we will                             magnetic media (other than prepackaged
               determine the value of Buildings at                                  software programs), at the cost of:
               actual cash value.
                                                                                    (a) Blank materials for reproducing the
           (3) The following property at actual cash                                    records; and
                value:
                                                                                    (b) Labor to    transcribe          or         copy   the
               (a) Used or second-hand merchandise                                      records.
                    held in storage or for sale;
                                                                                     This condition does not apply to
               (b) Property of others, but this property                             "valuable papers and records" that are
                   is not covered for more than the                                  actually replaced or restored.
                   amount for which you are liable,
                   plus the cost of labor, materials or                         (7) Applicable     only     to         the          Optional
                   services furnished or arranged by                                Coverages:
                   you on personal property of others;                              (a) "Money" at its face value; and
               (c) Household contents, except personal                              (b) "Securities" at their value at the
                   property in apartments or rooms                                       close of business on the day the
                   furnished by you as landlord;                                         loss is discovered.
               (d) Manuscripts;                                                 (8) Applicable only to Accounts Receivable:
               (e) Works of art, antiques or rare                                   (a) If you cannot accurately establish
                   articles, including etchings, pictures,                              the amount of accounts receivable
                   statuary,       marbles,      bronzes,                               outstanding as of the time of loss
                   porcelains and bric-a-brac.                                          or damage:
           (4) Glass at the cost of replacement with                                    (i) We will determine the total of
               safety glazing material if required by                                       the average monthly amounts of
               law.                                                                         accounts receivable for the 12
           (5) Tenants' Improvements and Betterments                                        months immediately preceding
                at:                                                                         the month in which the loss or
                                                                                            damage occurs; and
               (a) Replacement cost         if     you   make
                   repairs promptly.                                                   (ii) We wi II adjust that total for
                                                                                            any normal fluctuations in the
               (b) A proportion of your original cost if                                    amount of accounts receivable
                   you do not make repairs promptly.                                        for the month in which the loss
                   We will determine the proportionate                                      or damage occurred or for any
                   value as follows:                                                        demonstrated variance from the
                      (i) Multiply the original cost by the                                 average for that month.
                         number of days from the loss                               (b) The following will be deducted
                         or damage to the expiration of                                 from the total amount of accounts
                         the lease; and                                                 receivable, however that amount Is
                      (ii) Divide the amount determined in                              established:
                           (i) above by the number of days                              (I) The amount of the accounts for
                           from     the    installation of                                  which there is no loss or
                           improvements to the expiration                                   damage;
                           of the lease.




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                    (ii) The amount of the accounts that             9. Vacancy
                         you are able to re-establish or
                         collect;                                       a. Description Of Terms
                   (Iii) An amount to allow for probable                    (1) As used in this Vacancy Condition, the
                         bad debts that you are normally                         term building and the term vacant have
                         unable to collect; and                                  the meanings set forth in (1)(a) and
                                                                                 (1)(b) below:
                   (iv) All unearned interest and service
                         charges.                                               (a) When this policy is issued to a
                                                                                      tenant, and with respect to that
        e. Our payment for loss of or damage to                                       tenant's      interest      in    Covered
            personal property of others will only be                                  Property, building means the unit or
            for the account of the owners of the                                      suite rented or leased to the tenanl
            property. We may adjust losses with the                                   Such building is vacant when it
            owners of lost or damaged property if                                     does not contain enough business
            other than you. If we pay the owners,                                     personal       property      to   conduct
            such payments will satisfy your claims                                    customary operations.
            against us for the owners' property. We
            wi 11 not pay the owners more than their                           (b) When this policy is issued to the
            financial interest in the Covered Property.                               owner of a building, building means
                                                                                      the entire building. Such building is
        f. We may elect to defend you against suits                                   vacant when 70% or more of its
            arising from claims of owners of property.                                total square footage:
            We will do this at our expense.
                                                                                      (i) Is not rented; or
        g. We will pay for covered loss or damage
            within 30 days after we receive the                                      (Ii) Is     not      used      to   conduct
            sworn proof of loss, provided you have                                         customary operations.
            complied with all of the terms of this                         (2) Buildings         under       construction     or
            policy, and                                                          renovation are not considered vacant.
            (1) We have reached agreement with you                      b. Vacancy Provisions
                 on the amount of loss; or                                  If the building where loss or damage
           (2) An appraisal award has been made.                            occurs has been vacant for more than 60
   7. Recovered Property                                                    consecutive days before that loss or
                                                                            damage occurs:
      If either you or we recover any property after
      loss settlement, that party must give the                             (1) We will not pay for any loss or
      other prompt notice. At your option, you may                               damage caused by any of the following
      retain the property. But then you must return                              even if they are Covered Causes of
      to us the amount we paid to you for the                                     Loss:
      property. We will pay recovery expenses and                                (a) Vandalism;
      the expenses to repair the recovered property,                             (b) Sprinkler leakage, unless you have
      subject to the Limit of Insurance.                                               protected      the     system     against
   8. Resumption Of Operations                                                         freezing;
      We wil I reduce the amount of your:                                       (c) Building glass breakage;
      a. Business Income loss, other than Extra                                 (cf) Water damage;
          Expense, to the extent you can resume                                 (e) Theft; or
          your "operations", in whole or in part, by
          using damaged or undamaged property                                    (f) Attempted theft.
          (induding merchandise or stock) at the                           (2) Wrth respect to Covered Causes of
          described premises or elsewhere.                                        Loss other than those listed in b.(1 Xa)
      b. Extra Expense loss to the extent you can                                 through b.(1)(f) above, we will reduce
          return    "operations"  to     normal  and                              the amount we would otherwise pay
          discontinue such Extra Expense.                                         for the loss or damage by 15%.




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F. Property General Conditions                                               At our option, we may pay to the
   1. Control Of Property                                                    mortgageholder the whole principal on the
       Any act or neglect of any person other than                           mortgage plus any accrued interest. In this
       you beyond your direction or control wlll not                         event, your mortgage and note will be
       affect this Insurance.                                                transferred to us and you will pay your
                                                                             remaining mortgage debt to us.
       The breach of any condition of this Coverage
       Form at any one or more locations will not
                                                                         f. If we cancel this policy, we will give
                                                                             written notice to the mortgageholder at
       affect coverage at any location where, at the
       time of loss or damage, the breach of                                 least:
       condition does not exist.                                             (1) 10 days before the effective date of
                                                                                  cancellation if we cancel for your
   2. Mortgageholders
                                                                                  nonpayment of premium; or
       a. The      term  "mortgageholder"   indudes
                                                                            (2) 30 days before the effective date of
          trustee.
                                                                                  cancellation if we cancel for any other
       b. We will pay for covered loss of or                                      reason.
          damage to buildings or structures to each
          mortgageholder shown in the Declarations
                                                                         g. If we elect not to renew this policy, we
                                                                             wi II    give    written  notice    to   the
          In their order of precedence, as interests
                                                                             mortgageholder at least 10 days before the
          may appear.
                                                                             expiration date of this policy.
       c.   The mortgageholder has the right to
                                                                     3. No Benefit To Bailee
            receive   loss payment       even    if the
            mortgageholder has started foreclosure or                    No person or organization, other than you,
            similar action on the building or structure.                 having custody of Covered Property will
       d. If we deny your claim because of your
                                                                         benefit from this Insurance.
          acts or because you have failed to comply                  4. Polley Period, Coverage Territory
            with the terms of this policy, the                           Under this form:
            mortgageholder will stlll have the right to
            receive     loss    payment       if    the                  a. We cover loss or damage commencing:
            mortgageholder:                                                  (1) During the policy period shown in the
            (1) Pays any premium due under this                                  Declarations; and
                 policy at our request If you have failed                   (2) Within the coverage territory or, with
                 to do so;                                                       respect to property In transit, while it
           (2) Submits a signed, sworn proof of loss                             is between points in the coverage
                 within 60 days after receiving notice                           territory.
                 from us of your failure to do so; and                   b. The coverage territory is:
           (3) Has notified us of any change in                              (1) The United States of America (induding
                 ownership, occupancy or substantial                             Its territories and possessions);
                 change    in    risk  known    to     the                  (2) Puerto Rico; and
                 mortgageholder.
                                                                            (3) Canada.
            All of the terms of this policy will then
             apply directly to the mortgageholder.                G. Optional Coverages
        e. If we pay the mortgageholder for any loss                 If shown as applicable in the Declarations, the
            or damage and deny payment to you                        following Optional Coverages also apply. These
            because of your acts or because you have                 coverages are subject to the terms and conditions
            failed to comply with the terms of this                  applicable to property coverage in this policy,
             policy:                                                 except as provided below.
            (1) The mortgageholder's rights under the                 1. Outdoor Signs
                 mortgage will be transferred to us to                   a. We will pay for direct physical loss of or
                 the extent of the amount we pay; and                        damage to all outdoor signs at the
           (2) The mortgageholder's right to recover                         described premises:
                 the full amount of the mortgageholder's                     (1) Owned by you; or
                 claim wlll not be impaired.                                (2) Owned by others but in your care,
                                                                                 custody or control.


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       b. Paragraph A.3., Covered Causes Of                                      (2) Paragraph B.1.d., Nuclear Hazard; and
          Loss, and Section B., Exclusions, do
          not apply to this Optional Coverage, except                            (3) Paragraph    B.1.f.,   War          And            Military
          for:                                                                         Action.
          (1) Paragraph B.1.c., Governmental Action;                          d. We will not pay for loss or damage
                                                                                 caused by or resulting from:
           (2) Paragraph B.1.d., Nuclear Hazard; and
                                                                                  (1) Wear and tear;
           (3) Paragraph    B.1.f.,    War    And   Military
               Action.                                                           (2) Hidden or latent defect;
       c. We will not pay for loss or damage                                     (3) Corrosion; or
          caused by or resulting from:                                           (4) Rust.
           (1) Wear and tear;                                                 e. This Optional Coverage supersedes all
           (2) Hidden or latent defect;                                          limitations in this policy that apply to
                                                                                 interior glass.
          (3) Rust;
                                                                          3. Money And Securities
          (4) Corrosion; or
                                                                             a. We will pay for loss of "money• and
          (5) Mechanical breakdown.                                             "securities" used in your business while
       d. The most we will pay for loss or damage                               at a bank or savings institution, within
           in any one occurrence is the Limit of                                your living quarters or the living quarters
           Insurance for Outdoor Signs shown in the                             of your partners or any employee having
           Declarations.                                                        use and custody of the property, at the
                                                                                described premises, or in transit between
        e. The provisions of this Optional Coverage                             any of these places, resulting directly
           supersede all other references to outdoor
                                                                                  from:
           signs in this policy.
                                                                                  (1) Theft, meaning any act of stealing;
    2. Interior Glass
                                                                                 (2) Disappearance; or
        a. We will pay for direct physical loss of or
            damage to items of glass that are                                    (3) Destruction.
            permanently affixed to the Interior walls,                        b. In    addition   to the Limitations and
            floors or ceilings of a covered building or                           Exclusions applicable to property coverage,
            structure at the        described    premises,                        we will not pay for loss:
            provided each item is:
                                                                                  (1) Resulting      from      accounting                     or
            (1) Described in the Declarations as                                       arithmetical errors or omissions;
                covered under this Optional Coverage;
                and
                                                                                 (2)   Due to the giving or surrendering of
                                                                                       property in any exchange or purchase;
           (2) Located in the basement or ground                                       or
                floor level of the buildlng or structure,
                                                                                 (3) Of property contained in any "money"-
                unless the Declarations show that this
                Optional Coverage is applicable to                                     operated device unless the amount of
                                                                                       "money" deposited in It is recorded by
                Interior glass at all floors; and
                                                                                       a continuous recording instrument in
           (3) Owned by you, or owned by others but                                    the device.
                in your care, custody or control.
                                                                              c. The most we will pay for loss in any
        b. We will also pay for necessary:                                        one occurrence is:
            (1) Expenses incurred to put up temporary                             (1) The limit shown in the Declarations for
                plates or board up openings;                                           Inside the Premises for "money" and
           (2) Repair or replacement of encasing                                       "securities" while:
                frames; and                                                           {a) In or on the described premises; or
           (3) Expenses Incurred to remove or replace                                 (b) Within a bank or savings institution;
                obstructions.                                                              and
        c. Paragraph A.3., Covered Causes Of                                     (2) The limit shown In the Declarations for
            Loss, and Section B., Exclusions, do                                       Outside the Premises for "money" and
            not apply to this Optional Coverage, except                                "securities" while anywhere else.
            for:
            (1) Paragraph B.1.c., Governmental Action;

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       d. All loss:                                                         e. We will pay only for loss or damage you
             (1) Caused by one or more persons; or                             sustain through acts committed or events
            (2) Involving a single act or series of                            occurring    during the   Policy  Period.
               related acts;                                                   Regardless of the number of years this
                                                                               policy remains in force or the number of
            is considered one occurrence.                                      premiums paid, no limit of Insurance
       e. You must keep records of all "money" and                             cumulates from year to year or period to
            "securities" so we can verify the amount                           period.
            of any loss or damage.                                         f. This Optional Coverage does not apply to
   4. Employee Dishonesty                                                     any employee immediately upon discovery
                                                                              by:
       a.   We will pay for direct loss of or damage
            to Business Personal Property and "money"                          (1) You; or
            and "securities" resulting from dishonest                         (2) Any of your partners, officers or
            acts committed by any of your employees                                directors not in collusion with the
            acting alone or in collusion with other                                employee;
            persons (except you or your partner) with
                                                                               of any dishonest act committed by that
            the manifest intent to:
                                                                               employee before or after being hired by
             (1) Cause you to sustain loss or damage;                          you.
                 and also                                                  g. We will pay only for covered loss or
            (2) Obtain financial benefit (other than                          damage discovered no later than one year
                 salaries, commissions, fees, bonuses,                        from the end of the Policy Period.
                 promotions,  awards,   profit sharing,
                                                                           h. If you (or any predecessor in interest)
                 pensions or other employee benefits                          sustained loss or damage during the period
                 earned in the normal course of
                                                                              of any prior insurance that you could have
                 employment) for:                                             recovered under that insurance except that
               (a) Any employee; or                                           the time within which to discover loss or
               (b) Any other person or organization.                          damage had expired, we will pay for it
                                                                              under this Optional Coverage, provided:
       b. We will not pay for loss or damage:
                                                                               (1) This     Optional   Coverage      became
          (1) Resulting    from   any   dishonest or                               effective at the time of cancellation or
              criminal act that you or any of your                                 termination of the prior Insurance; and
              partners commit whether acting alone
              or in collusion with other persons.                              (2) The loss or damage would have been
                                                                                    covered by this Optional Coverage had
            (2) The only proof of which as to its                                   it been in effect when the acts or
                 existence or amount is:                                            events causing the loss or damage
                (a) An inventory computation; or                                    were committed or occurred.
               (b) A profit and loss computation.                           i. The insurance under Paragraph h. above is
                                                                                part of, not in addition to, the Limit of
       c. The most we will pay for loss or damage
                                                                                Insurance   applying   to   this  Optional
          in any one occurrence is the limit of
                                                                                Coverage and is limited to the lesser of
          Insurance for Employee Dishonesty shown
                                                                                the amount recoverable under:
          in the Declarations.
                                                                               (1) This Optional Coverage as of its
       d. All loss or damage:
                                                                                   effective date; or
          (1) Caused by one or more persons; or                               (2) The prior insurance had it remained in
            (2) Involving a single act or series        of                         effect.
                related acts;                                          5. Mechanical Breakdown
             is considered one occurrence.                                a. We will pay for direct damage to Covered
                                                                               Property caused by an Accident to                    an
                                                                               Object. The Object must be:




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         (1) Owned by you or in your care, custody                                  (iii) Are not part of any other vessel
               or control; and                                                             or apparatus;
          (2) At the described premises.                                         (f) Feed water piping between any
                                                                                      steam boiler and a feed pump or
       b. Accident means a sudden and accidental
           breakdown of the Object or a part of the                                   injector.
           Object. At the time the breakdown occurs,                        (2) Air Conditioning Units              Any air
           it must manifest itself by physical damage                             conditioning unit that has a capacity of
           to the Object that necessitates repair or                              60,000 Btu or more, induding:
           replacement.                                                         (a) Inductors, convectors and coils that
       c. None of the following is an Accident:                                       make use of a refrigerant and form
                                                                                      part of a cooling, humidity control
           (1) Depletion, deterioration, corrosion or
                                                                                      or space heating system;
                erosion;
                                                                                (b) interconnecting piping, valves and
          (2) 'I/ear and tear,                                                        fittings containing only a refrigerant,
          (3) Leakage at any valve, fitting, shaft                                    water, brine or other solution;
                seal, gland packing, joint or connection;                        (c) Vessels heated directly or indirectly
          (4) Breakdown of any vacuum tube, gas                                       that:
                tube or brush;                                                        (I) Form part of an absorption type
          (5) Breakdown of any electronic computer                                         system; and
                or electronic data processing equipment;                             (ii) Function      as    a     generator,
          (6) Breakdown        of    any   structure   or                                  regenerator or concentrator,
                foundation supporting the Object or any                         (d) Compressors,         pumps,   fans    and
                of its parts;                                                         blowers used solely with the
          (7) The functioning of any safety or                                        system together with their driving
                protective device; or                                                 electric motors; and
          (8) The explosion of gases or fuel within                             (e) Control equipment used solely with
                the furnace of any Object or within the                               the system.
                flues or passages through which the                      e. Object does not mean:
                gases of combustion pass.
                                                                             (1) As Boiler and Pressure Vessels:
       d. Object means any of the following
            equipment                                                            (a) Equipment that is not under internal
                                                                                      vacuum or internal pressure other
           (1) Boiler and Pressure Vessels:                                           than weight of contents;
               (a) Steam       heating     boilers    and                        (b) Boiler settings;
                    condensate return tanks used with
                    them;                                                        (c) Insulating or refractory material; or
               (b) Hot water heating boilers and                                 (d) Electrical, reciprocating or rotating
                    expansion tanks used with them;                                   apparatus within or forming a part
                                                                                      of the boiler or vessel.
               (c) Hot water supply boilers;
                                                                            (2) As Air Conditioning Units, any:
               (d) Other fired or unfired vessels used
                    for maintenance or service of the                            (a) Vessel, cooling tower, reservoir or
                    described premises but not used for                               other source of cooling water for a
                    processing or manufacturing;                                      condenser or compressor, or any
                                                                                       water piping leading to or from
               (e) Steam boiler piping, valves, fittings,                             that source; or
                    traps and separators, but only if
                    they:                                                        (b) Wiring or piping leading to or from
                                                                                       the unit.
                    (i) Are    on   your premises or
                        between parts of your premises;                  f. We will not pay for an Accident to any
                                                                              Object while being tested.
                   (ii) Contain steam or condensate of
                        steam; and




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       g. Suspension                                                            (2) Requires any insured or others                    to test
           Whenever an Object is found to be in, or                                 for, monitor, clean up, remove,                   contain,
           exposed to, a dangerous condition, any of                                treat, detoxify or neutralize, or                  in any
           our    representatives   may  immediately                                way respond to or assess the                       effects
           suspend the insurance against loss from                                  of "pollutants".
           an Accident to that Object. This can be                         The expiration date of this policy will not cut
           done by delivering or mailing a written                         short the "period of restoration".
           notice of suspension to:
                                                                        4. "Pollutants" means any solid, liquid, gaseous
           (1) Your last known address; or                                 or thermal irritant or contaminant, including
           (2) The address     where     the      Object     is            smoke, vapor, soot, fumes, acids, alkalis,
               located.                                                    chemicals   and    waste.   Waste    includes
                                                                           materials to be recycled, reconditioned or
           If we suspend your insurance, you will get
           a pro rata refund of premium. But the                           reclaimed.
           suspension will be effective even if we                      5. "Securities"   means negotiable and     non-
           have not yet made or offered a refund.                          negotiable     instruments   or     contracts
                                                                           representing either "money" or other property
H. Property Definitions                                                    and includes:
    1. "Money" means:                                                      a. Tokens, tickets, revenue and other stamps
       a. Currency, coins and bank notes in current                           (whether represented by actual stamps or
           use and having a face value; and                                   unused value in a meter) in current use;
       b. Travelers  checks, register checks and                              and
           money orders held for sale to the public.                       b. Evidences of debt issued in connection
   2. "Operations" means your business activities                             with credit or charge cards, which cards
       occurring at the described premises.                                   are not issued by you;
   3. "Period of restoration" means the period of                          but does not include "money".
       time that:                                                       6. "Specified      Causes     of   Loss"            means            the
       a. Begins:                                                          following:
           (1) 72 hours after the time of direct                           Fire; lightning; explosion, windstorm or hall;
               physical loss or damage for Business                        smoke; aircraft or vehicles; riot or civil
               Income Coverage; or                                         commotion; vandalism; leakage from fire
                                                                           extinguishing equipment; sinkhole collapse;
           (2) Immediately after the time of direct                        volcanic action; falling objects; weight of
               physical loss or damage for Extra                           snow, ice or sleet; water damage.
               Expense Coverage;
                                                                         a.     Sinkhole collapse means       the    sudden
            caused by or resulting from any Covered                             sinking   or   collapse  of     land    into
            Cause of Loss at the described premises;                            underground empty spaces created by the
            and                                                                 action of water on limestone or dolomite.
       b. Ends on the earlier of:                                               This cause of loss does not include:
          (1) The date when the property at the                                 (1) The cost of filling sinkholes; or
                described premises should be repaired,                          (2) Sinking or collapse of land into man-
                rebuilt or replaced with reasonable                                 made underground cavities.
                speed and similar quality; or
                                                                           b. Falling objects does not include loss of or
           (2) The date when business is resumed at                             damage to:
               a new permanent location.
                                                                                (1) Personal property in the open; or
        "Period of restoration" does not include any
        increased     period   required   due   to  the                         (2) The interior of a building or structure,
        enforcement of any ordinance or law that:                                   or property inside a building or
                                                                                    structure, unless the roof or an outside
            (1) Regulates the construction, use or                                  wall of the building or structure is
                repair, or requires the tearing down of                             first damaged by a falling object.
                any property; or




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      c. Water damage means accidental discharge                          including abstracts, books, deeds, drawings,
          or leakage of water or steam as the                             films, maps or mortgages.
          direct result of the breaking apart or                          But "valuable papers and records" does not
          cracking of any part of a system or                             mean:
          appliance (other than a sump system
          including its related equipment and parts)                      d. "Money" or "Securities";
          containing water or steam.                                      e. Converted Data;
   7. "Valuable     papers    and     records" means                      f. Programs or instructions used in your data
      inscribed, printed, or written:                                         processing   operations,   including  the
      a. Documents;                                                           materials on which the data is recorded.
      b. Manuscripts; and
      c. Records;




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              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         UTILITY SERVICES • DIRECT DAMAGE
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

                                                     SCHEDULE*

                     Communication              Communication
                         Supply                      Supply               Power Supply           Power Supply
                        Property                    Property                Property                Property
                     (Not Including                (Including             (Not Including           (Including
    Water               Overhead                   Overhead                 Overhead               Overhead
    Supply            Transmission               Transmission             Transmission           Transmission
   Property              Lines)                      Lines)                   Lines)                 Lines)
        x                                              x                                                    x

                                                                                                 Utility Services
Prem.                            Bldg.                                                                 Limit
No.0001                        No. 001                     Covered Property                       Of Insurance
                                                            Building and/or Contents                      $25,000



*Information required to complete this Schedule, if not shown on this endorsement, will be shown in the
Declarations.

The coverage provided by this endorsement is                        2. Communication      Supply   Services, meaning
subject to the provisions of the Businessowners                        property supplying communication services,
Special Property Coverage Form, including Paragraph                    including telephone, radio, microwave or
D. Deductibles, except as provided below.                              television services to the described premises,
                                                                       such as:
A. Coverage
                                                                       a. Communication transmission lines, including
   The following is added to Paragraph A.                                  optic fiber transmission lines;
   We will pay for loss of or damage to Covered                         b. Coaxial cables; and
   Property described in the Schedule, caused by the
   interruption of service to the described premises.                   c. Microwave radio relays except satellites.
   The interruption must result from direct physical                   It does not include overhead transmission
   loss or damage by a Covered Cause of Loss to                        lines unless indicated by an "X" in the
   the property described in Paragraph B. If such                      Schedule.
   property is indicated by an "X" in the Schedule
                                                                    3. Power Supply Services, meaning the following
   and is located outside of a covered building
                                                                       types of property supplying electricity, steam
   described in the Declarations.
                                                                       or gas to the described premises:
B. Utility Services                                                    a. Utility generating plants:
    1. Water Supply Services, meaning the following
                                                                        b. Switching stations;
       types of property supplying water to the
       described premises:                                              c. Substations;
       a. Pumping stations; and                                         d. Transformers; and
        b. Water mains.                                                 e. Transmission lines.
                                                                        It does not include overhead transmission
                                                                        lines unless indicated by an "X" in the
                                                                        Schedule.
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B. Limits Of Insurance                                                  If no Limit of Insurance is shown for Utility
   Section C. is replaced by the following:                             Services, coverage under this endorsement is
                                                                        subject to the applicable Limit of Insurance on
    If a Utility Services Limit of Insurance is shown                   the Covered       Property as shown in the
    in the Schedule, such limit is part of, not in                      Declarations. But this Utility Services Endorsement
    addition to, the Limit of Insurance stated in the                   does not increase the applicable Limit of
    Declarations as applicable to the Covered                           Insurance.
    Property.


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 THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR POLICY IN RESPONSE TO
      THE DISCLOSURE REQUIREMENTS OF THE TERRORISM RISK INSURANCE ACT. THIS
       ENDORSEMENT DOES NOT GRANT ANY COVERAGE OR CHANGE THE TERMS AND
                  CONDITIONS OF ANY COVERAGE UNDER THE POLICY.

                                  DISCLOSURE PURSUANT TO
                               TERRORISM RISK INSURANCE ACT
                                                           SCHEDULE



                                          The terrorism premium and applicable Coverages displayed on the
                                          declaration pages of this policy represent the charge for Terrorism
                                          Coverage for this policy term.
 Additional Information, If any, concerning the terrorism premium:


 Federal share of terrorism losses                          % Year:20             See Below
 (Refer to Paragraph B. in this endorsement-)-

 Federal share of terrorism losses                          % Year:20            See Below
 (Refer to Paragraph B. in this endorsement.-)-
      Federal          Year
       Share
        85%            2015
        84%            2016
        83%            2017
        82%            2018
        81%            2019
        80%           2020

                        to compete

A. Disclosure Of Premium                                               losses attributable to terrorist acts certified under
   In accordance with the federal Terrorism Risk                       the Terrorism Risk Insurance Act exceed $100
   Insurance Act, we are required to provide you                       billion in a calendar year, the Treasury shall not
   with a notice disclosing the portion of your                        make any payment for any portion of the amount
   premium, if any, attributable to coverage for                       of such losses that exceeds $100 billion.
   terrorist acts certified under the Terrorism Risk                C. Cap On Insurer Participation In Payment
   Insurance Act. The portion of your premium                          Of Terrorism Losses
   attributable to such coverage is shown in the                       If aggregate insured losses attributable to terrorist
   Schedule of this endorsement or in the policy                       acts certified under the Terrorism Risk Insurance
   Declarations.                                                       Act exceed $100 billion in a calendar year and
B. Disclosure Of Federal Participation In                              we have met our insurer deductible under the
   Payment Of Terrorism Losses                                         Terrorism Risk Insurance Act, we shall not be
   The United States Government, Department of the                     liable for the payment of any portion of the
   Treasury, will pay a share of terrorism losses                      amount of such losses that exceeds $100 billion,
   insured under the federal program. The federal                      and in such case insured losses up to that
   share equals a percentage (as shown in Part II of                   amount are subject to pro rata allocation in
   the Schedule of this endorsement or in the policy                   accordance with procedures established by the
   Declarations) of that portion of the amount of                      Secretary of the Treasury.
   such insured losses that exceeds the applicable
   insurer retention. However, If aggregate insured




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              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     BUSINESSOWNERS SPECIAL FORM COMPUTER COVERAGE
This endorsement modifies insurance provided under the following:
    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

The Limit of Insurance for Computer Coverage shown                       h.  Property in storage away from the premises
in the Declarations is the combined coverage limit                           shown In the Declarations, except as
for Electronic Data Processing Equipment and                                 provided in the Coverage Extensions of this
Electronic Media and Records.                                                endorsement;
The coverage provided by this endorsement is                             i. Electronic data processing equipment which
subject to the provisions applicable to the                                  is permanenUy installed or designed to be
Businessowners Special Property Coverage Form                                permanently       Installed    in   any    aircraft,
attached to this policy, indudlng the deductible                             watercraft, motortruck or other vehicle
provisions, except as otherwise provided within this                         subject to motor vehicle registration; or
endorsement.                                                             j. Accounts, bills, evidences of debt and
The following provisions (A. through H. indusive}                            valuable papers and records. However, such
apply only to the coverage provided by this                                  property      is    Covered     Property  in     its
endorsement:                                                                 "converted data" form.
A. Paragraph A.1.b. Business Personal Property is                   C.   Under A.4. Limitations, Paragraphs a.(1) and (2)
     replaced by the following:                                          do not apply.
     b. Business Personal Property, as described                    D.   Under     A.6.     Coverage     Extensions   in     the
          below, while located at premises shown in                      Businessowners Special Property Coverage Form:
          the Declarations, except as provided In the                    1. Under the Personal Property at Newly
          Coverage Extensions of this endorsement.                           Acquired Premises Coverage Extension 6.a.,
          Covered       Property    as   used      in    this                Insurance under this Extension for Covered
          endorsement indudes the following types of                         Property will end when any of the following
          property that you own that are used In your                        first occurs:
          business; and property of others as defined                        a. This policy expires;
          below, that is in your care, custody or                            b. 30 days expire after you acquire new
          control, except as otherwise provided in                                premises or begin construction at the
          Loss      Payment     Property Loss       Condition                     new premises;
          E.6.d.(3)(b).                                                      c. Specific insurance for the Covered
          (1) Electronic Data Processing Equipment                                Property at the newly acquired premises
                 (Hardware)                                                       is obtained; or
          As used in this endorsement, Electronic Data                       d. You report values to us.
          Processing Equipment includes:                                     We will charge you additional premium for
          (a) Programmable electronic equipment that                         values reported from the date you acquire
                 is used to store, retrieve and process                      the premises.
                 data; and                                               2. Coverage Extension 6.b. Personal Property Off
          (b) Associated peripheral equipment that                           Premises applies to Covered Property:
                 provides communication including input                      (a) While such property is in the course of
                 and output functions such as printing, or                        transit or is located at a premises you
                 auxiliary   functions    such    as    data                      do not own, lease or operate for not
                 transmission;                                                    more than 90 days.
          except as described in (2) below.                                  (b) Including duplicate or back-up electronic
          (2) Electronic Media And Records (Including                             media and records that are stored at a
               Software}                                                          separate location which Is at least 100
          As used in this endorsement, Electronic                                 feet from the premises described in the
          Media and Records includes:                                             Declarations.
          (a) Electronic data processing, recording or                       (c) Paragraph F.4.b. in the Property General
               storage media such as films, tapes,                                Conditions is deleted and replaced with
               discs, drums or cells;                                             the following:
          (b) Data stored on such media; and                                      b. The coverage territory is worldwide.
          (c) Programming records used for electronic                    3. The following are added to A.6. Coverage
                 data     processing    or     electronically                Extensions:
                 controlled equipment.                                            g. Mechanical Breakdown of Electronic
B. The following is added to Paragraph A.2.                                             Data Processing Equipment.
     Property Not Covered:
          g.     Property held as samples, held for
                 rental or sale or that you rent to
                 others;
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              We will pay for loss or damage to                            (b) Marring or scratching:
              Covered Property due to mechanical                                But if an excluded cause of loss that Is
              breakdown if such loss or damage                                  listed in 8.2.k.(1), (2), (6) or (7) results
              exceeds in any one occurrence the                                 in a •specified cause of loss• or
              applicable deductible shown in the                                building glass breakage, we will pay for
              Declarations.                                                     the loss or damage caused by that
              We will then pay the amount of loss or                            "specified cause of loss" or building
              damage In excess of the deductible up                      .      glass breakage.
              to the applicable Limit of Insurance for            F.   Additional Exclusions
              the Covered Property.                                    The following exclusions apply in addition to the
              This Coverage Extension is included                      exclusions listed under B. Exclusions in the
              within the Limit of Insurance shown In                   Buslnessowners Special Property Coverage Form.
              the Declarations applying to Computer                    We will not pay for loss or damage caused by
              Coverage at the described premises.                      or resulting from any of the following:
         h. Artificially Generated Electrical Current                  1. Human errors or omissions in processing,
              We will pay for loss or damage to                            recording or storing infonnation on electronic
              Electronic Data Processing Equipment due                     media and records and electronic data
              to artificially generated electrical current                 processing equipment.
              If such loss or damage is caused by or                       But we will pay for direct loss or damage
              results from an Interruption of electric                     caused by resulting fire or explosion if
              power supply, power surge, blackout or                       these causes of loss would be covered by
              brownout.                                                    this endorsement.
              If such loss or damage as specified                      2. Electrical or magnetic injury, disturbance or
              above, exceeds in any one occurrence                         erasure of electronic recordings, except as
              the applicable deductible shown In the                       provided for under the Coverage Extensions
              Declarations, we will then pay the                           of this endorsement.
              amount of loss or damage In excess of                        But we will pay for direct loss or damage
              the deductible up to the applicable Limit                    caused by lightning.
              of Insurance       shown    for Computer                 3. Failure,     breakdown      or   malfunction   of
              Coverage.                                                    electronic media and records and electronic
              This Coverage Extension is included                          data processing equipment, including parts,
              within the Limit of Insurance applying to                    while the media ls being run through the
              Computer Coverage at the premises                            equipment. But, we will pay for direct loss
              described in the Declarations.                               or damage caused by resulting fire or
              The Electrical Apparatus Exclusion B.2.a.                    explosion if these causes of loss are
              in the Businessowners Special Property                       covered by this endorsement.
              Coverage Form does not apply to this                     4. Installation, testing, repair or other similar
              Coverage Extension.                                          service performed upon the electronic data
E. The following is added to Paragraph B.                                  processing media and records or electronic
     Exclusions     In   the    Buslnessowners     Special                 data processing equipment, including parts.
     Property Coverage Form:                                      G.   Property Loss Conditions
     1. The following exclusions do not apply to                       Paragraph d.(6) of the Loss Payment Property
         coverage provided under this endorsement:                     Loss Condition does not apply to electronic
B.1.e.   Power Failure, B.2.c. Smoke, B.2.d. Steam                     media and records that are actually replaced or
         Apparatus, B.2.1. Collapse, B.2.k.(3), (4) and                restored.
         (5) Other Types Of Loss exclusions and B.3.b.            H.   The following is added to H. Property Definitions:
         Acts Or Decisions.                                            8. "Converted data• means Information that is
     2. Exclusion B.2.k.(7) is replaced by the                             stored on electronic media, that is capable
         following:                                                        of being     communicated,    processed     or
         (a) Dampness or dryness of atmosphere, or                         interpreted by electronic data processing
              changes in or extremes of temperature,                       equipment.
              unless such conditions result from
              physical damage caused by a covered
              cause of loss to an air conditioning unit
              or system, including equipment and
              parts, which is part of, or used with
              the electronic data processing equipment.




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              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                ORDINANCE OR LAW COVERAGE

This endorsement modifies insurance provided under the following:

    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM


The provisions of the policy            apply     except    as          b. Coverage B - Demolition Cost Coverage
modified by this endorsement.                                               If a Covered Cause of Loss occurs to
                                                                            covered Building property, we will pay the
This endorsement replaces Additional Coverages,                             cost to demolish and remove debris of
Increased Cost of Construction (paragraph 5.1.) in the                      undamaged parts of the property caused by
Buslnessowners Special Property Coverage Form.                              enforcement of building, zoning or land use
Information regarding the applicable coverage(s) of                         ordinance or law.
this endorsement and premises insured is shown in                           Paragraph E.6.d. of the Property Loss
the Declarations.                                                           Conditions does not apply to Demolition Cost
1. The following coverages are identified in this                           Coverage.
     endorsement:                                                       c. Coverage C - Increased Cost of Construction
     A. Ord/Law: Undamaged Portion                                          Coverage
     B. Ord/Law: Demolition Cost                                            If a Covered Cause of Loss occurs to the
     C. Ord/Law: Increased Cost of Construction                             covered Building property, we will pay for
     D. Ord/Law: Demo & Inc. Cost of Construction                           the increased cost to:
     Coverage applies only If that coverage(s) Is                           1) Repair or reconstruct damaged portions
     seleded and identified by entry in the                                      of that Building property; and/or
     Declarations and then only with respect to the                         2) Reconstruct       or    remodel   undamaged
     specific Premises and Building identified for the                           portions of that Building property,
     selected       coverage(s)   appearing    in   the                          whether or not demolition is required;
     Declarations.                                                          when the increased cost Is a consequence
2. We will not pay under this endorsement for the                           of enforcement of building, zoning or land
     costs associated with the enforcement of any                           use ordinance or law.
     ordinance or law which requires any insured or                         However:
     others to test for, monitor, clean up, remove,                         1) This coverage applies only if the
     contain, treat, detoxify or neutralize, or in any                           restored or remodeled property is
     way respond to, or assess the effects of                                    intended for similar occupancy as the
     "pollutants.•                                                               current property, unless such occupancy
3. Coverage                                                                      Is not permitted by zoning or land use
     a. Coverage A - Coverage for Loss to the                                    ordinance or law.
          Undamaged Portion of the Building                                 2) We will not pay for the increased cost
          If a Covered Cause of Loss occurs to                                   of construction if the building is not
          covered Building property, we will pay under                           repaired, reconstructed or remodeled.
          Coverage A for the loss in value of the                           Paragraph E.6.d. of the Property Loss
          undamaged portion of the building as a                            Conditions does not apply to the Increased
          consequence of enforcement of any ordinance                       Cost of Construction Coverage.
          or law that:                                               4. Loss Payment
          1) Requires the demolition of parts of the                    a. When Coverage A applies, loss to the
              same property not damaged by a                                building, including loss in value of the
               Covered Cause of Loss;                                       undamaged portion of the building due to
          2) Regulates the construction or repair of                        enforcement of an ordinance or law, will be
               buildings, or establishes zoning or land                     determined as follows:
               use requirements at the described                            1) If the property ls repaired or replaced
               premises; and                                                     on the same or another premises, we
          3) Is in force at the time of loss.                                    will not pay more than the lesser of:
          Coverage A Is included within the Limit of                             a) The amount you actually spend to
          Insurance shown In the Declarations as                                      repair, rebuild or reconstruct the
          applicable to the covered Building property.                                building, but not for more than the
          Coverage A does not increase the Limit of                                   amount It would cost to restore the
          Insurance.


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                   building on the same premises and                             b) The applicable Limit of Insurance
                  to the same height, floor area, style                               shown for Coverage C in the
                  and comparable quality of the                                       Declarations.
                  original property insured; or                        d. If a Combined Limit of Insurance is shown
             b) The Limit of Insurance shown in the                         for Coverages B and C in the Declarations,
                  Declarations as applicable to the                         paragraphs      4.b.    and    4.c.   of    this
                  covered Building property.                                endorsement do not apply with respect to
        2) If the property is not repaired or                               the Building property that Is subject to the
             replaced, we will not pay more than the                        Combined Limit, and the following loss
             lesser of:                                                     payment provisions apply Instead:
             a) The actual cash value of the                                The most we will pay, for the total of all
                  building at the time of loss; or                         covered losses for Demolition Cost and
             b) The Limit of Insurance shown In the                         Increased Cost of Construction, Is the
                  Declarations as applicable to the                        Combined Limit of Insurance shown for
                  covered Building property.                               Coverages B and C In the Declarations.
     b. Unless paragraph 4.d. applies, loss payment                        Subjed to this Combined Limit of Insurance,
        under Coverage B               Demolition Cost                     the following loss payment provisions apply:
        Coverage will be determined as follows:                            1) For Demolition Cost, we will not pay
        We will not pay more than the lesser of                                  more than the amount you actually spend
        the following:                                                           to demolish and clear the site of the
        1) The amount you actually spend to                                      described premises.
             demolish and clear the site of the                            2) Wrth respect to the Increased Cost of
             described premises; or                                              Construction:
        2) The applicable Limit of Insurance shown                               a) We will not pay for the increased
             for Coverage B in the Declarations.                                     cost of construction:
     c. Unless paragraph 4.d. applies, loss payment                                  (1) Until the property Is actually
        under Coverage C - Increased Cost of                                              repaired or replaced, at the
        Construction Coverage will be determined as                                       same or another premises; and
        follows:                                                                     (2) Unless the repairs or replace-
        1) We will not pay under Coverage C:                                              ment are made as soon as
             a) Until the property is actually                                            reasonably possible after the
                  repaired or replaced, at the same or                                    loss or damage, not to exceed
                  another premises; and                                                   two years. We may extend this
             b) Unless the repairs or replacement                                         period In writing during the two
                  are made as soon as reasonably                                          years.
                  possible after the loss or damage,                             b) If the building is repaired or
                  not to exceed two years. We may                                    replaced at the same premises, or
                  extend this period In writing during                               If you elect to rebuild at another
                  the two years.                                                     premises, the most we will pay for
        2) If the building Is repaired or replaced at                                the increased cost of construction Is
             the same premises, or if you elect to                                   the increased cost of construction at
             rebuild at another premises, the most                                   the same premises.
             we will pay under Coverage C is the                                 c) If the ordinance or law requires
             lesser of:                                                              relocation to another premises, the
             a) The increased cost of construction                                   most we will pay for the increased
                  at the same pemises; or                                            cost of construction is the Increased
             b) The applicable Limit of Insurance                                    cost of construction at the new
                  shown for Coverage C in the                                        premises.
                  Declarations.                                    5. The terms of this endorsement apply separately
        3) If the ordinance or law requires                           to each building to which this endorsement
             relocation to another premises, the most                 applies.
             we will pay under Coverage C is the                   6. Under this endorsement, we will not pay for
             lesser of:                                               loss due to any ordinance or law that:
             a) The increased cost of construction                    a. You were required to comply with before the
                  at the new premises; or                                  loss, even If the building was undamaged;
                                                                           and
                                                                      b. You failed to comply with.



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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           INVENTORY AND APPRAISALS
    This endorsement modifies insurance provided under the following:

    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

    The provisions of the policy apply except as modified by this endorsement.

    The following is added to Paragraph A.5, Additional Coverages:

             Inventory and Appraisals

             In the event of a covered loss or damage to insured property, we will pay up to the
             limit indicated in the Declarations for Inventory and Appraisals as an additional amount
             of insurance for all reasonable expenses you incur in:

             1.   The investigation of a claim or suit; or

             2.   The determination of the amount of loss, such as taking inventory or obtaining
                  appraisals.

             We will not pay for:

             1.   Expenses incurred In using the services of a public adjuster;

             2.   Expenses to prove that loss or damage is covered; or

             3.   Expenses incurred for examinations under oath, even if required by us.




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           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

           NEWLY ACQUIRED OR CONSTRUCTED BUILDINGS
This endorsement modifies insurance provided under the following:

BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

The provisions of the policy apply except as modified by this endorsement.

The following Is added to Paragraph A.5, Additional Coverages:

Newly Acquired or Constructed Buildings

A.   You may extend the insurance that applies to Buildings to apply to:

     1.    Your new buildings while being built on the described premises; and

     2.    Buildings you acquire at locations, other than the described premises, intended for:

           a.   Similar use as the building described In the Declarations; or

           b.   Use as a warehouse.

     The most we will pay for loss or damage to each building under this extension Is shown in the
     Declarations.

A.   Insurance under this extension for each newly acquired or constructed building will end when any of
     the following first occurs:

     1.    This policy expires.

     2.    120 days expire after you begin construction or you acquire the building.

     3.    You report values to us.

     We will charge you additional premium for values reported from the date construction begins or you
     acquire the building.



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             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     BUSINESS PERSONAL PROPERTY - AUTOMATIC INCREASE

This endorsement modifies insurance provided under the following:

BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

The provisions of the policy apply except as modified by this endorsement.

The Limit of insurance for Business Personal Property will automatically increase by the annual percentage shown
in the Declarations. The amount of increase will be:

1.   The Business Personal Property limit that applied on the most recent of the policy inception date, the policy
     anniversary date, or any other policy change amending the Business Personal Property limit, times
2.   The percentage of annual increase shown in the Declarations, expressed as a decimal (example 2% is .02),
     times
3.   The number of days since the beginning of the current policy year or the effective date of the most recent
     policy change amending the Business Personal Property limit, divided by 365.

EXAMPLE:
If the applicable Business Personal Property limit is $100,000 and the annual percentage increase is 2% with the
number of days since the beginning of the policy year (or last policy change) being 146:

THE AMOUNT OF INCREASE IS:
$100,000 X .02 X 146 Divided by 365        = $800.



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l!IFLJ     Insurance Companies                                                                BOP 2896359                        00

             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                  LIMITED COVERAGE FOR "FUNGI", WET ROT, DRY ROT AND BACTERIA

This endorsement modifies insurance provided under the following:

BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

The following provisions apply:
RULE A. Fungi Or Bacteria Exclusions
    1. Paragraph A.5.1.(5) of the Increased Cost of Construction Additional Coverage is replaced by the
         following:
         (5) Under this Additional Coverage, we will not pay for:
                  (1) The enforcement of any ordinance or law which requires demolition, repair, replacement,
                       reconstruction, remodeling or remediation of property due to contamination by "pollutants" or
                       due to the presence, growth, proliferation, spread or any activity of "fungi", wet or dry rot
                       or bacteria; or
                  (2) Any costs associated with the enforcement of an ordinance or law which requires any
                       insured or others to test for, monitor, clean up, remove, contain, treat, detoxify or neutralize,
                       or in any way respond to or assess the effects of "pollutants", "fungi", wet or dry rot or
                       bacteria.
    2. The following exclusion is added to Paragraph B.1.Exclusions:
         h. "Fungi", Wet Rot, Dry Rot And Bacteria
              Presence, growth, proliferation, spread or any activity of "fungi", wet or dry rot or bacteria.
              But if "fungi", wet or dry rot or bacteria results in a "specified cause of loss", we will pay for the
              loss or damage caused by that "specified cause of loss".
              This exclusion does not apply:
              (1) When "fungi", wet or dry rot or bacteria results from fire or lightning; or
              (2) To the extent that coverage is provided in the Additional Coverage - Limited Coverage For
                  "Fungi", Wet Or Dry Rot And Bacteria (contained in the Limited Fungi or Bacteria Coverage) if
                  any, with respect to loss or damage by a cause of loss other than fire or lightning.
    3. Paragraph B.2.k.(2) of the Exclusions is replaced by the following:
              (2) Rust or other corrosion, decay, deterioration, hidden or latent defect or any quality in property
                  that causes it to damage or destroy Itself;
B. Limited Fungi Or Bacteria Coverage
    1. The following Additional Coverage is added to Paragraph A.5.
         n. Limited Coverage For "Fungi", Wet Rot, Dry Rot And Bacteria
              (1) The coverage described in paragraphs B.1.n.(2) and B.1.n.(6) only applies when the "fungi", wet
                  or dry rot or bacteria are the result of a "specified cause of loss" other than fire or lightning,
                  that occurs during the policy period and only if all reasonable means were used to save and
                  preserve the property from further damage at the time of and after that occurrence.
              (2) We will pay for loss or damage by "fungi", wet or dry rot or bacteria. As used in this Limited
                  Coverage, the term loss or damage means:
                       (a) Direct physical loss or damage to Covered Property caused by "fungi", wet or dry rot or
                            bacteria, Including the cost of removal of the "fungi", wet or dry rot or bacteria;
                       (b) The cost to tear out and replace any part of the building or other property as needed to
                            gain access to the "fungi", wet or dry rot or bacteria; and
                       (c) The cost of testing performed after removal, repair, replacement or restoration of the
                            damaged property is ex>mpleted, provided there is a reason to believe that "fungi", wet
                            or dry rot or bacteria are present.
              (3) The coverage described under this Limited Coverage is limited to $15,000. Regardless of the
                  number of claims, this limit is the most we will pay for the total of all loss or damage arising
                  out of all occurrences of "specified causes of loss" (other than fire or lightning) which take
                  place in a 12-month period (starting with the beginning of the present annual policy period). With
                  respect to a particular occurrence of loss which results in "fungi", wet or dry rot or bacteria,
                  we will not pay more than the total of $15,000 even if the "fungi", wet or dry rot or bacteria
                  continues to be present or active, or recurs, in a later policy period.
              (4) The coverage provided under this Limited Coverage does not increase the applicable Limit of
                  Insurance on any Covered Property. If a particular occurrence results In loss or damage by
                  "fungi", wet or dry rot or bacteria, and other loss or damage, we will not pay more, for the
                  total of all loss or damage, than the applicable Limit of Insurance on the affected Covered
                  Property.

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                   If there is covered loss or damage to Covered Property, not caused by "fungi", wet or dry rot or
                   bacteria, loss payment will not be limited by the terms of this Limited Coverage, except to the
                   extent that "fungi", wet or dry rot or bacteria causes an Increase in the loss. Any such Increase
                   in the loss will be subject to the terms of this Limited Coverage.
               (5) The terms of this Limited Coverage do not increase or reduce the coverage provided under
                   A.5.d. Collapse, or A.5.e. Water Damage, Other Liquids, Powder Or Molten Material Damage
                   Additional Coverages.
               (6) The following applies only if Business Income and/or Extra Expense Coverage applies to the
                   described premises and only If the suspension of "operations" satisfies all terms and conditions
                   of the applicable Business Income and/or Extra Expense Additional Coverage.
                        (a) If the loss which resulted in "fungi", wet or dry rot or bacteria does not in Itself
                            necessitate a suspension of "operations", but such suspension is necessary due to loss
                            or damage to property caused by "fungi", wet or dry rot or bacteria, then our payment
                            under the Business Income and/or Extra Expense is limited to the amount of loss and/or
                            expense sustained in a period of not more than 30 days. The days need not be
                            consecutive.
                        (b) If a covered suspension of "operations" was caused by loss or damage other than
                            "fungi", wet or dry rot or bacteria, but remediation of "fungi", wet or dry rot or bacteria
                            prolongs the "period of restoration", we will pay for loss and/or expense sustained
                            during the delay (regardless of when such a delay occurs during the "period of
                            restoration"), but such coverage is limited to 30 days. The days need riot be consecutive.
C. Fungi Definition
   1.     The following definition is added to Paragraph H. Property Definitions:
          "Fungi" means any type or form of fungus, including mold or mildew, and any mycotoxins, spores, scents
          or by-products produced or released by fungi.


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              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                               CAP ON LOSSES FROM CERTIFIED
                                   ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:

     BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

A. The following provisions are added                  to   the           If aggregate insured losses attributable to terrorist
   Buslnessowners Property Coverages:                                     acts certified under the Terrorism Risk Insurance
     CAP ON CERTIFIED TERRORISM LOSSES                                    Act exceed $100 billion in a calendar year and
     •Certified act of terrorism" means an act that is                    we have met our insurer deductible under the
     certified by the Secretary of the Treasury, in                       Terrorism Risk Insurance Act, we shall not be
     accordance with the provisions of the federal                        Hable for the payment of any portion of the
     Terrorism Risk Insurance Act, to be an act of                        amount of such losses that exceeds $100 billion,
     terrorism pursuant to such Ad. The criteria                          and In such case insured losses up to that
     contained in the Terrorism Risk Insurance Act for                    amount are subject to pro rata allocation in
     a "certified act of terrorism• Include the                           accordance with procedures established by the
     followlng:                                                           Secretary of the Treasury.
     1. The act resulted in insured losses In excess                 B.   The     following    provision    is    added      to
          of $5 million in the aggregate, attributable to                 Buslnessowners Special Property Coverage Form
          all types of insurance subject to the                           BP 00 02:
          Terrorism Risk Insurance Act; and                               APPLICATION OF OTHER EXCLUSIONS
     2. The act Is a violent act or an act that is                        The terms and limitations of any terrorism
          dangerous to      human    life,  property or                   exclusion, or the Inapplicability or omission of a
          infrastructure and is committed by an                           terrorism exclusion, do not serve to create
          individual or Individuals as part of an effort                  coverage for loss or injury or damage that is
          to coerce the civilian population of the United                 otherwise excluded under this Policy.
          States or to Influence the policy or affect the
          conduct of the United States Government by
          coercion.




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lllli.../       Insurance Companies                                                                   BOP 2896359                           00
                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                            COMPUTER FRAUD COVERAGE FORM

This endorsement modifies insurance provided under the following:


BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM


The provisions of the policy apply except as modified                E.   Paragraph        B.   Exclusions   is     replaced           by   the
by this endorsemenl                                                       following:

The following provisions (A. through H.) apply only to                    1.        We will not pay for loss or damage caused
the coverage provided by this endorsement.                                          directly or indirectly by any of the following.
                                                                                    Such loss or damage is excluded regardless of
A. Paragraph   A.1.b Business         Personal     Property   is                    any other cause or event that contributes
    replaced by the following:                                                      concurrently or in any sequence to the loss.

        b. Business Personal Property                                          a.     Human errors or omissions in processing,
                                                                                      recording or storing infonnation on electronic
             Covered Property, as used in this endorsement,                           media and records and electronic data
             indudes "Money," "Securities" and "Property                              processing equipment.
             Other Than Money and Securities" that you
             own and are used in your business.                                b.    Loss resulting from any dishonest or criminal
                                                                                     acts committed by you, anyone else with an
B. Paragraph A.2. Property Not Covered is replaced by                                interest in the property, or any of your or
   the following:                                                                    their partners, employees, directors, trustees,
                                                                                     authorized representatives or anyone to whom
    2. Property Not covered                                                          you entrust the property for any purpose:

        Covered Property does not include:                                           (1) Acting alone or in collusion with others;
                                                                                     (2) Whether or not occurring during the
        a.    Aircraft, automobiles, motortrucks and other                               hours of employmenl
              vehicles subject to motor vehicle registration;
        b.    Property held as samples, held for rental or                     c.    Loss, or that part of any loss, where the
              sale or that you rent to others;                                       proof of which as to its existence or
        c.    Property in storage away from the premises                             amount is dependent upon:
              shown in the Declaratlons;
        d.    Contraband, or property in the course of                                      (1) An inventory computation: or
              illegal transportation or trade;                                              (2) A profit and loss computation.
        e.    Watercraft (induding motors, equipment and
              accessories) while afloat.                                       d.    Loss resulting from nuclear reaction, nuclear
                                                                                     radiation or radioactive contamination, or any
C. Paragraph A.3. Covered Causes of Loss is replaced                                 related act or incident.
   by the following:
                                                                               e.    War and Military Action
    3. Covered Causes of Loss
                                                                                     (1) War, including undeclared or civil war;
      "Computer Fraud."

D. Paragraphs A.4. through A.6. are deleted.




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          (2) Warlike action by a military force,                              1. "Banking Premises" means the interior of that
              including action in hindering or defending                          portion of any building occupied by a banking
              against an actual or expected attack, by                            Institution or similar safe depository.
              any government,        sovereign or other
              authority using military personnel or other                      2. "Computer Fraud" means "theft" of property
              agents; or                                                          following and directly related to the use of
          (3) Insurrection, rebellion, revolution, usurped                        any computer to fraudulently cause a transfer
              power, or action taken by governmental                              of that property from inside the "premises" or
              authority in hindering or defending against                         "banking premises" to a person (other than a
              any of these.                                                       "messenger") outside those "premises· or to
                                                                                  a place outside those "premises."
F.    Paragraph C. Limits of Insurance is replaced by
      the following:                                                           3. "Messenger" means you, any of your partners
                                                                                  or any "employee" while having care and
     C. Limits of Insurance                                                       custody   of  the   property  outside   the
        The most we will pay for loss in any one                                  "premises."
        "occurrence" is the applicable Limit of
        Insurance shown in the Declarations for                                4. "Occurrence" means an:
        Computer Fraud.
                                                                                  (a) Act or series of related acts involving one
G. Paragraph        D.   Deductibles   is   replaced    by    the                     or more persons; or
   following:
                                                                                  (b) Act or event, or a series of related acts
     0. Deductibles                                                                   or events not Involving any person.
     We will not pay for loss or damage in any one
     "occurrence" until the amount of loss or damage                          5. "Premises" means the interior of that portion
     exceeds the Deductible shown in the Declarations.                           of any building you occupy in conducting your
     We will then pay the amount of loss or damage                               business.
     in excess of the Deductible up to the applicable
     Limit of Insurance. In the event more than one                           6. "Property Other Than Money and Securities"
     Deductible could apply to the loss, only the                                means any tangible property other than
     highest deductible amount will be applied.                                  "money" and "securities" that has intrinsic
                                                                                 value but does not include any property
H. The following are added to Paragraph H. Property                              identified as Property Not Covered.
     Definitions:
                                                                              7. "Theft" means any act of stealing.



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           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                    CREDIT CARD INVOICES
  This endorsement modifies insurance provided under the following:

  BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

  The provisions of the policy apply except as modified by this endorsement.

  The following is added to Paragraph A.5, Additional Coverages:

          Credit Card Invoices

          We will pay for amounts you are unable to collect due to loss of or damage to credit card
          invoices, while located at the described premises, as the result of a Covered Cause of Loss.

          It is your responsibility to establish the amount of the loss under this Addltlonal Coverage.               If it
          is not possible, the amount of the loss will be determined as follows:

          (1) If you have been In business for more than twelve months at the location of the loss, one-
              thirtieth (1/30) of the average monthly amount of credit card invoices will be considered as
              average daily credit card invoices for that location. The twelve months Immediately preceding
              the discovery of the loss will be used to determine the average monthly amount

          (2) If you have been In business for less than twelve months at the location of the loss, the
              average dally credit card invoices shall be one-thirtieth (1/30) of the average monthly amount
              of credit card invoices for the number of months you have been in business at that location.

          (3) The average daily credit card invoices will be multiplied by the number of days for which
              invoices are lost to determine the amount of the loss subject to the maximum limit Indicated
              below.

          The most we will pay as a result of loss or damage to credit card invoices under this Additional
          Coverage is indicated in your Declarations as Credit Card Invoices.




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               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

                     WATER BACK-UP OF SEWERS AND DRAINS
This endorsement modifies insurance provided under the following:

BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM


The provisions of this policy apply except as modified by this endorsement.

The following is added to Paragraph A.6. Coverage Extensions:

     Water Back-Up of Sewers and Drains

     A. Direct Damage
        We will pay for direct physical loss or damage to Covered Property caused by water that:
        1. Backs up through sewers or drains; or
        2. Enters into and overflows from within a:
            (a) sump pump;
            (b) sump pump well; or
            (c) other system;
            designed to remove subsurface water from the foundation area.

     B. Loss of Business Income and Extra Expense
        We will pay the actual Loss of Business Income you sustain due to the necessary suspension of your
        "operations". The suspension must be caused by direct physical loss or damage to Covered Property at
        the described premises caused by or resulting from water that backs up through sewers or drains, or
        water that enters into and overflows from within a sump pump, sump pump well, or other system
        designed to remove subsurface water from the foundation area.

          Coverage for Loss of Business Income begins at the time of direct loss or damage caused by or
          resulting from water back-up of sewers and drains covered under this endorsement. We will only pay for
          Loss of Business Income that occurs within fourteen calendar days after the date of direct loss or
          damage caused by or resulting from water back-up of sewers and drains covered under this endorsement.

          As used in this endorsement, the term Loss of Business Income has the same definition as that set
          forth in Additional Coverage 5.f. of the Businessowners Special Property Coverage Form modified by
          this endorsement

          We will also pay necessary Extra Expense you incur that you would not have incurred if there had been
          no direct physical loss or damage to Covered Property at the described premises caused by water back-
          up of sewers and drains

          Coverage for Extra Expense begins at the time of direct loss or damage caused by or resulting from
          water back-up of sewers and drains covered under this endorsement. We will only pay for Extra Expense
          Incurred within fourteen calendar days after the date of direct loss or damage caused by or resulting
          from water back-up of sewers and drains covered under this endorsement

          As used in this endorsement, the term Extra Expense has the same definition as that set forth in
          Additional Coverage 5.g.(2) of the Businessowners Special Property Coverage Form modified by this
          endorsement.

     C. With respect to the insurance            provided   by   this   endorsement,   paragraph   1.g.(3) of Paragraph         B.
        Exclusions is deleted.

     D. Limit of Insurance
        The most we will pay in any one occurrence at any one premise shown in the Declarations for all loss
        or damage as set forth In paragraphs A. and B. of this endorsement is the limit of insurance shown in
        the Declarations for Water Backup of Sewer and Drains.


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                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                        EQUIPMENT BREAKDOWN ENDORSEMENT

This endorsement modifies insurance provided under the following:


BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

Paragraph   G.5.  Optional     Coverages,   Mechanical                a. Expediting Expenses: Wrth respect to your
Breakdown is deleted.     The following is added to                      damaged Covered Property, we will pay the
Paragraph   A.5.   Additional    Coverages   of    the                   reasonable extra costs, up to $50,000, to:
Businessowners Special Property Coverage Form:                                 (1) make temporary repairs; and
                                                                               (2) expedite     permanent    repairs or
Equipment Breakdown Coverage                                                       permanent replacement.
1. We will pay for loss caused by or resulting from
    an "accident" to "covered equipment". "Covered                    b. Hazardous Substances: We will pay for the
    equipment• means Covered Property built to operate                   additional cost to repair or replace Covered
    under vacuum or pressure, other than weight of                       Property   because    of contamination       by   a
    contents, or used for the generation, transmission or                "hazardous    substance".   This    includes    the
    utilization of energy. As used in this endorsement,                  additional expenses to clean up or dispose of
    an "accident" means direct physical loss as                          such property. "Hazardous substance" means any
    follows:                                                             substance other than ammonia that has been
                                                                         declared to be hazardous to health by a
    a. mechanical    breakdown,     including   rupture or               governmental agency.      Additional costs mean
       bursting caused by centrifugal force; artificially                those beyond what would have been required had
       generated electric current, including electric                    no "hazardous substance" been involved. The
       arcing, that disturbs electrical devices, appliances              most we will pay for loss or damage under
       or wires;                                                         this coverage extension, including actual loss of
                                                                         Business Income you sustain, necessary Extra
    b. explosion of steam boilers, steam pipes, steam                    Expense you incur and loss under Spoilage
       engines or steam turbines owned or leased by                      coverage is $50,000.
       you, or operated under your control;
                                                                      c. Spoilage:  We will pay for loss or damage to
    c. loss or damage to steam boilers, steam pipes,                     "perishable goods" due to spoilage. This includes
        steam engines or steam turbines caused by or                     loss or damage as a result of contamination by
        resulting from any condition or event inside such                the release of refrigerant, including but not
        equipment; or                                                    limited to ammonia.

   d. loss or damage to hot water boilers or other                       We will also pay any necessary expenses you
       water heating equipment caused by or resulting                    incur to reduce the amount of loss to
       from any condition or event inside such boilers                   "perishable goods" under this extension. We will
       or equipment.                                                     pay for such expenses to the extent that they
                                                                         do not exceed the amount of loss that otherwise
   If an initial "accident" causes other "accidents", all                would have been payable under this coverage
   will be considered one "accident". All "accidents"                    extension.
   that are the result of the same event will be
   considered one "accident".                                            If you are unable to replace the "perishable
                                                                         goods" before its anticipated sale, the amount of
2. Coverage Extensions                                                   our payment will be determined on the basis of
   The following coverage extensions also apply to                       the sales price of the "perishable goods" at the
   loss caused by or resulting from an "accident" to                     time of the "accident", less discounts and
   "covered equipmenr. These coverage extensions do                      expenses you     otherwise would       have had.
   not provide additional amounts of insurance.                          Otherwise our payment will be determined in
                                                                         accordance with the Loss Payment condition.




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      Additional Definition: For the purpose of this                        Additional costs mean those beyond what
      endorsement, "perishable goods" means Your                            would have been required had no CFC
      Business Personal Property maintained under                           refrigerant been involved. The most we will
      controlled conditions for its preservation, and                       pay for loss or damage under this coverage
      susceptible to loss or damage if the controlled                       extension, including actual loss of Business
      conditions change.                                                    Income you sustain, necessary Extra Expense
                                                                            you incur and loss under Spoilage coverage,
      The most we will pay for loss or damage to                            is $50,000.
      "perishable goods" is $50,000.
                                                                    g. Service Interruption: The insurance provided for
   d. Computer Equipment: We will pay for loss or                      Business Income, Extra Expense and Spoilage is
      damage caused by or resulting from an                            extended to apply to loss caused by or resulting
      "accident" to "computer equipment". "Computer                    from an "accident" to equipment that is owned
      equipment" means Covered Property that is                        by a utility, landlord, or other supplier with
      electronic computer or other data processing                     whom you have a contract to provide you with
      equipment,   including   peripherals, used in                    any of the following services: electrical power,
      conjunction with such equipment and Electronic                   communications, waste disposal, air conditioning,
      Media and Records as defined in Property Loss                    refrigeration, heating, gas, air, water or steam.
      Conditions, Limitatlon--Electronic Media and
      Records. The most we will pay for loss or                  3. Exclusions
      damage under this coverage extension, including
      actual loss of Business Income you sustain and               All exclusions and limitations apply except
      necessary Extra Expense you incur, is $50,000.
      Computers used primarily to control or operate               a. Exclusions B.2.a., B.2.d. and B.2.k.(6); and
      "covered equipment" are not subject to this
      limit.                                                       b. Limitations A.4.a.(1) and A.4.a.(2).

   e. Data Restoration: We wi 11 pay for your cost to              The following exclusions are modified as shown:
      research, replace and restore data, including
      programs and operating systems, that are lost                a. The following is added to Exclusion B.1.g., water:
      or corrupted due to an "accident". The most                     However, if electrical "covered equipment"
      we will pay for loss or damage under this                       requires drying out because of the above, we
      extension is $50,000.                                           wll I pay for the direct expenses of such drying
                                                                      out subject to the applicable Limit of Insurance
   f. CFC Refrigerants: We will pay for the                           for Building or Business Personal Property,
      additional cost to repair or replace Covered                    whichever applies.
      Property because of the use or presence of a
      refrigerant containing CFC {chlorofluorocarbon)              b. For the purpose of this endorsement, the last
      substances. This means the additional expense                    paragraph of Exclusion B.2.k. is deleted and
      to do the least expensive of the following:                      replaced with the following: But if an excluded
                                                                       cause of loss that is listed in B.2.k.(1) through
      (1) Repair the damaged property and replace                      B.2.k.(7) results in an "accident," we will pay
          any lost CFC refrigerant;                                    for the loss or damage caused by that
                                                                       "accident".
      (2) Repair the damaged property, retrofit the
          system to accept a non-CFC refrigerant and               c. None of the following is "covered equipment":
          charge the system with a non-CFC
          refrigerant; or                                              (1) structure, foundation, cabinet. compartment or
                                                                           air supported structure or building;
      (3) Replace the system with one using a non-
          CFC refrigerant.                                             (2) insulating or refractory material




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     (3) sewer piping, underground vessels or piping,              4. Conditions:
         or piping forming a part of a sprinkler
         system;                                                       a. Suspension: When any "covered equipment" is
                                                                          found to be in, or exposed to a dangerous
     (4) water piping other than boiler feedwater                         condition, any of our representatives may
         piping, boiler condensate return piping or                       immediately suspend the insurance against loss
         water piping forming a part of a                                 from     an   "accident"    to   that   "covered
         refrigerating or air conditioning system;                        equipment". We can do this by mailing or
                                                                          delivering a written notice of suspension to
     (5) excavation    equipment       or       construction              your address as shown in the Declarations, or
         equipment; or                                                    at the address where the equipment is located.
                                                                          Once suspended In this way, your insurance can
     (6) vehicle, aircraft, floating vessel or any                        be reinstated only by an endorsement for that
         equipment mounted on such vehicle, aircraft                      "covered equipment". If we suspend your
         or floating vessel. However, any property                        insurance, you will receive a pro rata refund of
         that is stationary, permanently installed at a                   premium. But the suspension will be effective
         covered location and that receives electrical                    even if we have not yet made or offered a
         power from an external power supplier will                       refund.
         not be considered a vehicle, aircraft or
         floating vessel.                                              b. Jurisdictional Inspections: If any property that
                                                                          Is "covered equipment" under this endorsement
   d. We will not pay under this endorsement for                          requires inspection to comply with state or
      loss or damage caused by or resulting from                          municipal boiler and pressure vessel regulations,
      any defect, virus, loss of data or other                            we agree to perform such Inspection on your
      situation within Electronic Media and Records.                      behalf.
      But if loss or damage from an "accident"
      results, we will pay for that resulting loss or                  c. Environmental,      Safety      and    Efficiency
      damage.                                                             Improvements: If "covered equipment" requires
                                                                          replacement due to an "accident", we will pay
   e. Wrth respect to Service Interruption coverage                       your additional cost to replace with equipment
      and Spoilage coverage, we will also not pay                         that is better for the environment, safer or
      for loss or damage caused by or resulting                           more efficient than the equipment being
      from: fire; lightning; windstorm or hail;                           replaced. However, we will not pay more than
      explosion (except for steam or centrifugal                          125% of what the cost would have been to
      explosion); smoke; aircraft or vehicles; riot or                    repair or replace with like kind and quality.
      civil commotion; vandalism; sprinkler leakage;                      This condition does not increase any of the
      falling objects; weight of snow, ice or sleet;                      applicable limits. This condition does not apply
      freezing or collapse.                                               to any property to which Actual Cash Value
                                                                          applies.
   f. Wrth respect to Service Interruption coverage
      and Business Income and Extra Expense                        5. Limits:
      coverages, we will also not pay for delay in
      resuming operations due to the need to                           The most we will pay for loss or damage under
      reconstruct or reinput data or programs on                       this endorsement is the Limit of Insurance for
      Electronic Media and Records.                                    Building and/or Business Personal Property, as
                                                                       shown in the Declarations. Coverage provided
                                                                       under this endorsement does not provide an
                                                                       additional amount of insurance.



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                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                       GARAGEKEEPERS COVERAGE
    This endorsement modifies insurance provided under the following:

    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
    BUSINESSOWNERS COMMON POLICY CONDITIONS


    The provisions of the policy apply except as modified                         temperature and marring or scratching)
    by this endorsement                                                     (6) Exclusion 2.e (frozen plumbing)
                                                                            (7) Exclusion 2.g (false pretense)
    Insurance is provided only when a specific premium                      (8) Exclusion 2.h. (exposed property)
    charge is shown in the Declarations for Garagekeepers               b. The following Exclusions are added:
    Coverage.                                                               This insurance does not apply to any of the
                                                                            following:
    1.   GARAGEKEEPERS COVERAGE                                             (1) Contractual Obligations. Liability resulting
         We will pay, on a direct primary actual cash                             from any agreement by which the
         value basis, the cost of repairs or replacement,                         "insured" accepts responsibility for "loss."
         whichever is less, minus deductible{s), up to the                  (2) Theft. "Loss" due to theft or conversion
         Limit of Insurance stated in the Declarations for                        caused in any way by you, your
         "loss" or damage by the Covered Causes of Loss                           employees or by your shareholders.
         to a "customer's auto(s)" that is in your care,                   (3) Defective Parts or materials.
         custody and control.                                              (4) Faulty work you performed or that
         (1) COMPREHENSIVE COVERAGE                                               someone performed on your behalf.
             When Comprehensive coverage is indicated on                   (5) The providing or failure to provide
             the declarations, we will pay for "loss"                             warnings or instructions.
             minus the deductible from any covered cause                c. The following limitations are added:
             of loss except:                                               (1) We will not pay for "loss" or damage to
             (a) Collision with another object; or                                any "customer's auto" while being used
             (b) Overturn.                                                        in any professional or organized racing or
         (2) COLLISION COVERAGE                                                   demolition contest or stunting activity, or
             When collision coverage is indicated on the                          while practicing for preparing any "hired
             dedarations, we will pay for "loss" minus                            auto" for such contest or activity.
             the deductible caused by                                      (2) We will not pay for "loss" or damage
             (a) Collision with another object; or                                to any "customer's auto" while being
             (b) Overturn.                                                        manufactured, modified or serviced, if
                                                                                  caused by or resulting from the work
         Paragraph A.1.b., Business Personal Property, does                       itself or from         parts,    materials or
         not apply to this insurance.                                             equipment used In connection with the
                                                                                 work.
         Paragraph A.2.a. Property Not Covered is changed                  (3) We will not pay for "loss" of or damage
         to read:                                                                to tape decks or other sound reproducing
                                                                                 equipment in any "customer's auto" unless
         Covered Property does not include: Aircraft,                            permanently installed.
         automobiles, motor trucks and other vehicles                      (4) We will not pay for "loss"                   of or
         subject to motor vehicle registration except as                         damage to tapes, records compact discs
         provided in this endorsement with respect to                            or     other    sound     reproducing     devices
         Garagekeepers coverage as provided by this                              designed for use with sound reproducing
         endorsement.                                                            equipment in any "customer's auto."
                                                                           (5) We will not pay for "loss" or damage to
2.       Exclusion and Limitation Revisions                                      sound      receiving    equipment       in    any
         a. The following Exclusions do not apply to                             "customer's auto" designed for use as a
             "loss" to a "customer's auto":                                      citizens band radio, two-way mobile radio
             (1) Exclusion 1.b (earth movement)                                  or telephone or scanning monitor receiver,
             (2) Exclusion 1.e (power Failure)                                   induding      its     antennas      and     other
             (3) Exclusion 1.g (water)                                           accessories, unless permanently installed
             (4) Exclusion 2.c (smoke, vapor, gas)                               in the dash or console opening normally
             (5) Exclusion 2.k.(7) (dampness or dryness of                       used by the auto manufacturer for the
                  atmosphere, changes in or extremes of                          installation of a radio.


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         (6) We will not pay for "loss" or damage                  5.   Coverage Extension
             to equipment in any "customer's auto"                      In addition to the Limits of Insurance shown in
             designed or used for the detection or                      the Declarations for Garagekeepers Coverage, you
             location of radar.                                         may extend the insurance provided by this
                                                                        endorsement as shown below.
3.   Paragraph D. Deductibles Is replaced by the
     following:                                                         Transportation Expenses
     We will not pay for "loss" or damage in any                        We will pay up to $50 per day to a maximum
     one occurrence untll the amount of "loss" or                       of $500 for temporary transportation expenses
     damage exceeds the deductible for comprehensive                    incurred by your customer because of the total
     or collision shown in the Declarations. We will                    theft of a "customer's auto" to which this
     then pay the amount of "loss" or damage in                         endorsement applies.
     excess of the deductible up to the applicable
     Limit of Insurance.                                           6.   Changes to Businessowners Common Policy
                                                                        Conditions
4. The following definitions are added to Paragraph                     Damage to "Customer's Autos" covered under
   H. Property Definitions                                              this endorsement is not subject to provision H.
   "Customer's Auto" means an automobile{s) in                          Other     Insurance       Property    of    the
   your care, custody, or control while you are                         Businessowners Common Polley Conditions
   attending, servicing, repairing, parking or storing
   the automobile in connection with your business,
   but does not include automobiles owned by or
   rented or loaned to you, your employees, officers
   or directors.
   "Loss" means direct and accidental loss or
   damage and includes any resulting loss of use.


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             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

             PERSONAL PROPERTY OF OTHERS - BAILEE FORM
This endorsement modifies insurance provided under the following:

BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

The coverage provided by this endorsement is subject to the provisions applicable to the Businessowners Special
Property Coverage Form attached to this policy, including the deductible provisions, except as otherwise provided
within this endorsement

A.   Coverage
     Paragraph c. is added to A.1. Covered Property as follows:
     c. Personal property of others, excluding animals, that is in your care, custody or control while:
          1. in or on the buildings at the described premises or
          2. in the open (or in a vehicle) within 100 feet of the described premises,
          except as otherwise provided in Loss Payment Property Loss Condition E.6.d.(3Xb).
C.   Limits of Insurance
     With respects to above paragraph A.1.c., Paragraph C.1., Limits Of Insurance, is replaced by the following:
     1. The most we will pay for loss or damage to any item in any one occurrence is the applicable Limit of
          Insurance shown in the Declarations.
E.   Property Loss Conditions
     With respect to above paragraph A.1.c., Item 6.d.(3Xb), Loss Payment, is deleted and replaced with the
     following:
     (b) Property of others, plus the cost of labor, materials or services furnished or arranged by you on personal
          property of others.


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              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                              AUTO SERVICE OPERATIONS -
                              EMPLOYEE TOOLS COVERAGE

This endorsement modifies insurance provided under the following:

     BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

The following is added to Paragraph A.6. Coverage Extensions:

Employee Tools

A. Covered Property
   You may extend the insurance that applies to Business Personal Property to your employees' tools If the loss
   or damage is caused by a Covered Cause of Loss. The tools must be owned by your employees and be used
   In your business at premises described in the Declarations.

B. Exclusions
   The following are added to paragraph B. Exclusions:
   1. Missing Property - We do not pay for missing property where the only proof of loss Is unexplained
       or mysterious disappearance of covered property, or shortage of property discovered on taking inventory, or
       any other instance where there is no physical evidence to show what happened to the covered property;
       or
   2. Marring or Scratching - We do not pay for loss caused by marring or scratching.

C. Deductible
   The following replaces the Deductible In paragraph D. Deductibles:
   We will not pay for loss or damage in any one occurrence until the amount of loss or damage exceeds
   $250. We will then pay the amount of loss or damage in excess of the Deductible up to the applicable Limit
   of Insurance.

D. Loss Payment
   We will determine the value of your employees' tools at actual cash value as of the time of loss or
   damage.

E. Limit of Insurance
   The most we will pay under this Coverage Extension is the Limit of Insurance shown in the Declarations for
   each employee. If loss to more than one employee's tools Is Involved, we will not pay more than the limit
   shown In the Declarations for all employees. We will not pay more than $1,000 for each tool.




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                                    APPURTENANT STRUCTURES
   This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

   The provisions of the policy apply except as modified by this endorsement.

   1.      The following is added to Buildings, Paragraph A.1.a (6):

               Appurtenant structures or outbuildings located on the same premises as the building(s) described
               in the Declarations.

   2.      The most we will pay for loss to appurtenant structures Is the lesser of the following amounts:

               a.   Ten percent of the building limit shown in the Declarations for the building    on the premises
                    where the appurtenant structure is located; or

               b.   $10,000.


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                                    ARSON AND THEFT REWARD
   This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

   The provisions of the policy apply except as modified by this endorsement

   The following is added to Paragraph A.5, Additional Coverages:

   Arson and Theft Information

   We will pay the expenses to provide rewards given to any person or persons other than you; your
   officers; your partners; your employees; or public police or fire officials for Information leading to a
   conviction in connection with:

   1.     A fire loss to the described premises caused by arson;

   2.     An actual or attempted theft of money or other covered Business Personal Property; or

   3.     A vandalism loss to the described premises.

   Costs incurred in advertising the reward are included. The most we will pay under this prov1s1on is the
   limit indicated in the Declarations. This limit applies per occurrence regardless of the number of persons
   providing information.



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~          Insurance Companies                                                                BOP 2896359                        00

             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                BUSINESS INCOME CHANGES •
                                 BEGINNING OF THE PERIOD OF RESTORATION
                                     (ADJUSTMENT OF WAITING PERIOD)
This endorsement modifies Insurance provided under the following:

BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
BUSINESS INCOME FROM DEPENDENT PROPERTIES FORM

The provisions of the policy apply except as modified by this endorsement

In the Businessowners Special Property Coverage Form and the Business Income From Dependent Properties Form
(If attached to your policy) the "period of restoration" pertaining to Additional Coverage's Business Income, Civil
Authority and Optional Business Income From Dependent Properties, begins 72 hours after the time of direct
physical loss or damage.

The 72 hour waiting period applies to these coverages unless replaced by the number of hours shown in your
Property Declarations, Policy-Wide Coverage, as Business lnc.-Wait period.

If Utility Services - Time Element coverage applies, the 72 hour waiting period remains unchanged, regardless
of the number of hours shown in the Property Declarations.

All other provisions remain unchanged.




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llllliJ       Insurance Companies                                                                 BOP 2896359                        00

               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                            EXHIBITIONS, FAIRS, SALES SAMPLES
  This endorsement modifies insurance provided under the following:

  BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

  The provisions of the policy apply except as modified by this endorsement.

  The following is added to Paragraph A.6, Coverage Extensions:

              Exhibitions, Fairs, Sales Samples

              You may extend the insurance that applies to Business Personal Property to apply to covered
              Business Personal Property, other than "money" and "securities," "valuable papers and records" or
              accounts receivable, while away from the insured premises:

              1.   In the course of transit; or

              2.   Temporarily on exhibit or display; or

              3.   In the custody of your sales representatives; or

              4.   In your custody while acting as a sales representative.

              The most we will pay for loss or damage under this Extension is shown in the Declarations as
              Exhibitions/Fairs/Sales Samples.



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                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          FIRE EXTINGUISHER RECHARGE EXPENSE
    This endorsement modifies insurance provided under the following:

    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

    The provisions of the policy apply except as modified by this endorsement.

    The following Is added to Paragraph A.5, Additional Coverages:

    Fire Extinguisher Recharge

    1.     We wil I pay for your expense to recharge portable fire extinguishers used to fight a fire at the
           premises described in the Declarations or at immediately adjacent premises that expose your property
           to loss.

    2.     The most we will pay under this provision is shown in the Declarations as Fire Extinguisher
           Recharge.


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~      Insurance Companies                                                               BOP 2896359                          00

         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           LOCK AND KEY REPLACEMENT
This endorsement modifies insurance provided under the following:

BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

The provisions of the policy apply except as modified by this endorsement.

The following is added to Paragraph A.6, Coverage Extensions:

          Lock and Key Replacement

         You may extend the insurance that applies to Covered Property to pay for expenses incurred to
         replace the door locks, cylinders or keys of your described premises following a covered burglary
         or vandalism loss or due to theft of your door keys.

         The most we will pay under this extension is the amount indicated as Lock and                                  Key
         Replacement in the Declarations.

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         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                    PREMISES BOUNDARY
This endorsement modifies insurance provided under the following:

BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

The provisions of the policy apply except as modified by this endorsement.

          Provisions relating to "within 100 feet of the described premises" contained in                               the
          Businessowners Special Property Coverage Form are deleted and replaced by the following:

          within 1,000 feet of the described premises



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""1..1       Insurance Companies                                                               BOP 2896359                      00

               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         EXCLUSION • "FUNGln, WET ROT, DRY ROT AND BACTERIA

This endorsement modifies insurance provided under the following:

ORDINANCE OR LAW COVERAGE

A.    Paragraph 2. is amended to read as follows:
      2. We will not pay under Coverage A, Coverage B, or Coverage C of this endorsement for:
          a. Enforcement of any ordinance or law which requires the demolition, repair, replacement, reconstruction,
               remodeling or remediation of property due to contamination by "pollutants" or due to the presence,
               growth, proliferation, spread or any activity of "fungi", wet or dry rot or bacteria; or
          b. The costs associated with the enforcement of any ordinance or law which requires any insured or
               others to test for, monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way
               respond to, or assess the effects of "pollutants", "fungi", wet or dry rot or bacteria.
B.    Section 7. is added as follows:
      7. Definitions
          "Fungi" means any type or form of fungus, induding mold or mildew, and any mycotoxins, spores, scents
          or by-products produced or released by fungi.


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               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                          BRANDS AND LABELS
 This endorsement modifies insurance provided under the following:

 BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

 The provisions of the policy apply except as modified by this endorsement.

 If branded or labeled merchandise that is Covered Property is damaged by a Covered Cause of Loss, we may
 take all or any part of the property at an agreed or appraised value. If so, you may, at your own expense:

 A.   Stamp salvage on the merchandise or its containers, if the stamp will                   not physically damage the
      merchandise; or

 B.   Remove the brands or labels, if doing so will not physically damage the merchandise.               You must re-label
      the merchandise or its containers to comply with the law.


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lllh.J     Insurance Companies                                                                  BOP     2896359                         00

            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                     CONSEQUENTIAL DAMAGE
  This endorsement modifies insurance provided under the following:

  BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

  The provisions of the policy apply except as modified by this endorsement

  The following is added to Paragraph A.5, Additional Coverages:

            Consequential Loss or Damage

            If a Covered Cause of Loss occurs to covered Business Personal Property, we will pay any
            reduction in value of the remaining undamaged product part or parts.

           Consequential damage means loss arising out of the part or parts of your covered business
           personal property that are not lost or damaged, but are unmarketable as a complete product due to
           a covered cause of loss resulting in physical loss or damage to your business personal property.

           The most we will pay under this extension is the amount indicated as Consequential Damage in
           the Declarations.



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             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                 EXTENDED OUTDOOR PROPERTY
   This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

   The provisions of the policy apply except as modified by this endorsement.

    Paragraph A.6.c., Outdoor Property, is deleted and replaced by the following:

             c.   Extended Outdoor Property, Other than Signs

                  You may extend the insurance provided by this policy to apply to your outdoor fences,
                  awnings, radio and television antennas (induding satellite dishes), lawns, trees, shrubs and
                  plants, including debris removal expense, caused by or resulting from any of the "Specified
                  Causes of loss."

                  The most we will pay for loss or damage under this extension Is the amount indicated for
                  Extended Outdoor Property on the Declarations. However, we wi II not pay more than $1,000
                  for dalT)age to lawns or any one tree, shrub or plant.




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.lhJ        Insurance Companies                                                              BOP 2896359                00

              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

           AUTOMOBILE DAMAGE TO LEASED REAL PROPERTY
                          COVERAGE
This endorsement modifies insurance provided under the following:

BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
The following is added to Section A. Coverage, subsection 6. Coverage Extensions:

g. Damage to Leased Real Property
   You may extend the insurance provided by this policy to apply to loss or damage to real property you occupy
   (but do not own) or are contractually responsible for, caused by the physical contact of an auto (meaning a
   land motor vehicle, trailer or semitrailer) during the conduct of your business.

    The most we will pay for loss or damage under this Extension is shown In the Declarations as Auto Damage
    to Leased Real Property.

    We will not pay for loss or damage in any one occurrence until the amount of loss or damage exceeds
    $250. We will then pay the amount of loss or damage in excess of $250 up to the limit of insurance.



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              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                    LEASE GAP ENDORSEMENT
    This endorsement modifies insurance provided under the following:

     BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
    The provisions of the policy apply except as modified by this endorsement

    The following is added to Paragraph E.6., Loss Payment

         (9) Applicable to covered Business Personal Property you lease or rent from others:

              In the event of a covered loss to leased or rented equipment, our limit of liability will be the
              greater of:

               1.   The amount due under the terms of the lease or rental agreement to which your covered
                    Business Personal Property Is subject; or

              2.    The cost to repair or replace, with property of like kind and quality.



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~          Insurance Companies                                                            BOP 2896359                00

             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                     EXCLUSION - ASBESTOS
This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE FORM
BUSINESSOWNERS LIABILITY COVERAGE FORM

This insurance does not apply to:
A. "Bodily Injury," "property damage" or "personal and advertising injury" as defined in the policy arising out of:
    1. Inhaling, ingesting or prolonged physical exposure to asbestos or goods or products containing asbestos;
    2. The use of asbestos in constructing or manufacturing any goods, product, or structure;
    3. The removal of asbestos from any goods, product or structure;
    4. The manufacture, transportation, storage or disposal of asbestos or goods or products containing asbestos;
B. Any damages or any loss, cost or expense arising out of any claim or suit by or on behalf of any
    governmental authority requirement that any insured or any other person or entity should be, or should be
    responsible for:
    1. Assessing the presence, absence or amount or effects of asbestos;
    2. Identifying, sampling or testing for, detecting, monitoring, cleaning up, removing, containing, treating,
        detoxifying, neutralizing, abating, disposing of or mitigating asbestos; or
C. Responding to asbestos in any way other than as described in subparagraphs A. and B. above.
D. Any actual or alleged negligence in hiring, training, supervision, instructions, recommendations, warnings or
    advice given or which should have been given to employees, consumers, or others in connection with A. and
    B. above; or
E. Any obligation to share damages with or repay someone else who must pay damages in connection with any
    of the subsections above.



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tlliJ Insurance Companies                                                                  BOP 2896359                   00

              THIS ENDORSEMENT CHANGES THE POLICY.                       PLEASE READ IT CAREFULLY.

                                  EXCLUSION • LEAD LIABILITY

The following exclusions are added to all coverages contained within.

COMMERCIAL GENERAL LIABILITY COVERAGE FORM
BUSINESSOWNERS LIABILITY COVERAGE FORM

This insurance does not apply to:
1. Actual or alleged •bodily injury," arising out of the ingestion, inhalation or absorption of lead or lead
    compounds in any form.
2. Actual or alleged "property damage" or "personal and advertising injury• arising out of any form of lead or
    lead compounds.
3. Any loss, cost or expense arising out of any:
    a. Request, demand or order that any insured or others test for, monitor, clean up, remove, contain, treat,
        detoxify or neutralize, or in any way respond to, or assess the effects of lead or lead compounds;
    b. Claim or •suit" by or on behalf of any governmental authority for damages resulting from testing for,
        monitoring, cleaning up, removing, containing, treating, detoxifying or neutralizing or in any way responding
        to or assessing the effects of lead or lead compounds in any form;
    c. Any actual or alleged negligence In hiring, training, supervision, instructions, recommendations, warnings or
        advice given or which should have been given to employees, consumers, or others in connection with
        lead or lead compounds; or
    d. Any obligation to share damages with or repay someone else who must pay damages In connection with
        lead or lead compounds.




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llllhJ     Insurance Companies                                                               BOP 2896359                            00

             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                         ARKANSAS CHANGES
This endorsement modifies insurance provided under the following:

    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
    COMMERCIAL GENERAL LIABILITY COVERAGE FORM
    LIQUOR LIABILITY COVERAGE FORM
    BUSINESSOWNERS COMMON POLICY CONDITIONS
A. Buslnessowners                 Special       Property                      (2) At      least 60     days    before the
   Coverage Form BP 00 02 is amended by the                                         expiration date of this policy if we
   following:                                                                       nonrenew for any other reason.
   1. Paragraph E.2. Appraisal Property Loss                      B. Businessowners               Common            Policy
        Condition is replaced by the following:                      Conditions BP 00 09C is amended as
        2. Appraisal                                                 follows:
             a. If we and you disagree on the value                  1. Paragraph A.5. Cancellation is replaced by
                  of the property or the amount of                        the following:
                  loss, either party may make a written                   5. Premium Refund
                  request for an appraisal of the loss.                       a. If this policy is cancelled, we will
                  However, an appraisal will be made                               send the first Named Insured any
                  only if both we and you agree,                                    premium refund due.
                  voluntarily, to have the loss appraised.                    b. We will refund the pro rata unearned
                  If so agreed, each party will select a                           premium if the policy is:
                  competent and impartial appraiser. The                           (1) Cancelled by us or at our request;
                  two appraisers wil I select an umpire.                           (2) Cancelled but rewritten with us
                  If they cannot agree, either may                                      or in our company group;
                  request that selection be made by a                              (3) Cancelled because you no longer
                  judge of a court having jurisdiction.                                 have an insurable Interest in the
                  The appraisers will state separately                                  property or business operation that
                  the value of the property and amount                                  is the subject of this insurance;
                  of loss. If they fail to agree, they                                  or
                  will submit their differences to the                             (4) Cancelled after the first year of
                  umpire.                                                               a prepaid policy that was written
                  b. An appraisal decision will not be                                  for a term of more than one
                       binding on either party.                                         year.
                  c. If there is an appraisal, we will                        c. If the policy is cancelled at the
                      still retain our right to deny the                           request of the first Named Insured,
                      claim.                                                       other than a cancellation described in
                  d. Each party will:                                              b.(2), (3) or (4) above, we will
                      (1) Pay its chosen appraiser; and                            refund 90% of the pro rata unearned
                      (2) Bear the other expenses of                               premium. However, the refund will be
                            the appraisal and umpire                               less than 90% of the pro rata
                            equally.                                               unearned premium if the refund of
   2. Paragraph E.4.b. Legal Action Against                                        such     amount would      reduce    the
        Us Property Loss Condition is replaced by the                              premium retained by us to an amount
        following:                                                                 less than the minimum premium for
        b. The action is brought within five years                                 this policy.
             after the date on which the direct                               d. The cancellation will be effective
             physical loss or damage occurred.                                     even if we have not made or offered
  3. Paragraph F.2.g. of the Mortgageholders                                       a refund.
        Property General Conditions is replaced by the                        e. If the first Named Insured cancels the
        following:                                                                 policy, we will retain no less than
        g. If we elect not to renew this pollcy, we                                $100 of the premium.
             will    give      written  notice   to    the
             mortgageholder:                                          2.   The following is added to Paragraph A.
             (1) As· soon as practicable if nonrenewal                     Cancellation:
                  is due to the Named lnsured's failure                    7. Cancellation of Policies In Effect
                  to pay any premium required for a                           More Than 60 Days
                  renewal; or


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               a. If this policy has been in effect                                     (2) Any other reason, we will mall
                  more than 60 days or is a renewal                                          or deliver notice of cancellation
                  policy, we may cancel only for one                                         to the first Named Insured and
                  or more of the following reasons:                                          any lienholder or loss payee
                  (1) Nonpayment of premium;                                                 named in the policy at least 20
                  (2) Fraud      or     material     misrep-                                 days before the effective date
                       resentation made by you or with                                       of cancellation.
                       your knowledge in obtaining the                     3. The following is added to Paragraph J.
                       policy, continuing the policy or                       Transfer of Rights of Recovery
                       in presenting a claim under the                        against Others to Us - Property:
                       policy;                                                We will be entitled to recovery only after
                  (3) The occurrence of a material                            the insured has been fully compensated for
                       change in the risk which                               the loss or damage sustained.
                       substantially      Increases      any               4. The following paragraph is added and
                       hazard insured against after                           supersedes any other provision to the
                       policy issuance;                                       contrary:
                  (4) Violation of any local fire,                            N. Nonrenewal
                       health,    safety,     building     or                     1. If we decide not to renew this
                       construction       regulation       or                           policy, we will mail to the Named
                       ordinance with respect to any                                    Insured shown in the Declarations,
                       Insured property or Its occupancy                                and to any lienholder or loss payee
                       which substantially increases any                                named In the policy, written notice
                       hazard insured against under the                                 of nonrenewal at least 60 days
                       policy;                                                          before:
                  (5) Nonpayment of membership dues                                     a. Its expiration date; or
                       in those cases where our                                         b. Its anniversary date, if it is a
                       bylaws, agreements or other                                           policy written for a term of
                       legal       instruments        require                                more than one year and with no
                       payment as a condition of the                                         fixed expiration date.
                       issuance and maintenance of the                                  However, we are not required to
                       policy; or                                                       send this notice If nonrenewal Is
                  (6) A material violation of a                                         due to the Named lnsured's failure
                       material provision of the policy.                                to pay any premium required for
               b. If we cancel for:                                                     renewal.
                  (1) Nonpayment of premium, we                                         The provisions of this Paragraph 1.
                       will mail or deliver written                                     do not apply to any mortgageholder.
                       notice of cancellation, stating                            2. We will mail our notice to the
                       the reason for cancellation, to                                  Named lnsured's mailing address last
                       the first Named Insured and any                                  known to us. If notice is mailed,
                       lienholder or loss payee named                                   proof of mailing will be sufficient
                       in the policy at least 10 days                                   proof of notice.
                       before the effective date of                        5. The following paragraph is added:
                       cancellation.                                          0. Multi-Year Policies
                                                                                  We may issue this policy for a term in
                                                                                  excess of 12 months with the premium
                                                                                  adjusted      on   an     annual  basis   in
                                                                                  accordance with our rates and rules.

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lllhJ       Insurance Companies                                                              BOP 2896359                      00

              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                               DEDUCTIBLE LIABILITY INSURANCE

This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART
    PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                       SCHEDULE

Coverage                                                                Amount and Basis of Deductible
                                                                      PER CLAIM or      PER OCCURRENCE

Bodily Injury Liability                                               $                          $
         OR
Property Damage Liability                                             $                          $
         OR
Bodily Injury Liability and/or                                        $                          $
Property Damage Liability Combined


(If no entry appears above, Information required to complete this endorsement will be shown in the Declarations
as applicable to this endorsement.)
APPLICATION OF ENDORSEMENT (Enter below any limitations on the application of this endorsement. If no
limitation is entered, the deductibles apply to damages for all "bodily injury" and "property damage", however
caused):




A. Our obligation under the Bodily Injury Liability                        c.   Under Bodily Injury Liability and/or
   and Property Damage Liability Coverages to pay                               Property    Damage      Liability Coverage
   damages on your behalf applies only to the                                   Combined, to all damages sustained by
   amount of damages in excess of any deductible                                any one person because of:
   amounts stated in the Schedule above as                                      (1) "Bodily Injury";
   applicable to such coverages.                                                (2) "Property damage"; or
B. You may select a deductible amount on either a                               (3) "Bodily     injury"    and    "property
   per claim or a per "occurrence" basis. Your                                      damage" combined
   selected deductible applies to the coverage                             as the result of any one "occurrence".
   option and to the basis of the deductible                               If damages are claimed for care, loss of
   indicated by the placement of the deductible                            services or death resulting at any time from
   amount in the Schedule above. The deductible                            "bodily injury", a separate deductible amount
   amount stated In the Schedule above applies as                          wll I be applied to each person making a
   follows:                                                                claim for such damages.
   1. PER CLAIM BASIS. If the deductible                                   With respect to "property damage", person
        amount indicated In the Schedule above is                          includes an organization.
        on a per claim basis, that deductible applies                 2.   PER OCCURRENCE BASIS. If the
        as follows:                                                        deductible amount indicated In the Schedule
        a. Under Bodily Injury Liability Coverage, to                      above is on a "per occurrence" basis, that
            all damages sustained by any one person                        deductible amount applies as follows:
            because of "bodily injury";                                    a. Under Bodily Injury Liability Coverage, to
        b. Under      Property    Damage     Liability                          all damages because of "bodily injury";
            Coverage, to all damages sustained by                          b. Under       Property      Damage     Liability
            any one person because of "property                                 Coverage, to all damages because of
            damage"; or                                                         "property damage"; or

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          c.Under Bodily Injury Liability and/or                          1.Our right and duty to defend the insured
            Property    Damage     Liability Coverage                       against any "suits" seeking those damages;
            Combined, to all damages because of:                            and
            (1) "Bodily injury";                                        2. Your duties in the event of an "occurrence",
            (2) "Property damage"; or                                       claim, or "suit"
            (3) "Bodily    injury"    and    "property                  apply irrespective of the application of the
                damage" combined                                        deductible amount.
       as the result of any one "occurrence",                        D. We may pay any part or all of the deductible
       regardless of the number of persons or                           amount to effect settlement of any claim or
       organizations who sustain damages because                        "suit" and, upon notification of the action taken,
       of that "occurrence".                                            you shall promptly reimburse us for such part of
C. The terms of this insurance, including those with                    the deductible amount as has been paid by us.
   respect to:



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                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                       DATA COMPROMISE PLUS
                                                  RESPONSE EXPENSES
                                                 DEFENSE AND LIABILITY
                                                   IDENTITY RECOVERY


This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE FORM


Coverage under this endorsement is subject to the following:

                                                        SCHEDULE

SECTION 1 • RESPONSE EXPENSES
Data Compromise Response Expenses Limit:                         $50,000   Annual Aggregate
Subllmit:
    Named Malware (Sec. 1)                                      $50,000    Any   one   "Personal   Data   Compromise"
    Forensic IT Review:                                          $5,000    Any   one   "Personal   Data   Compromise"
    Legal Review:                                                $5,000    Any   one   "Personal   Data   Compromise"
    PR Services:                                                 $5,000    Any   one   "Personal   Data   Compromise"
          Response Expenses Deductible:                           $1,000   Any   one   "Personal   Data   Compromise"

SECTION 2 • DEFENSE AND LIABILITY
Data Compromise Defense Limit:                                   $50,000 Annual Aggregate
Data Compromise Liability Limit:                                 $50,000 Annual Aggregate
Subllmit:
    Named Malware (Sec. 2)                                      $50,000 Any one "Personal Data Compromise"
          Defense and Liability Deductible:                      $1,000 Each "Data Compromise Suit"
SECTION 3 • IDENTITY RECOVERY
                                                                Service for any one "identity theft" for up to
Case Management Service:
                                                                12 months
Expense Reimbursement Limit:                                    $15,000 Annual Aggregate
          Expense Reimbursement Deductible:
                                                                $250 Any one "identity recovery insured"

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. The following is added to SECTION I • COVERAGES as an Additional Coverage.
   SECTION 1 • RESPONSE EXPENSES
   DAT A COMPROMISE COVERED CAUSE OF LOSS
   Coverage under this Data Compromise Plus Coverage endorsement applies only if all of the following
   conditions are met:
   1. There has been a "personal data compromise"; and
   2. Such "personal data compromise" is first discovered by you during the policy period for which this Data
       Compromise Plus Coverage endorsement Is applicable; and
   3. Such "personal data compromise" is reported to us within 60 days after the date it is first discovered
       by you.

     COVERAGE - SECTION 1
     If the three conditions listed above in DATA COMPROMISE - COVERED CAUSE OF LOSS have been met, then
     we will provide coverage for the following expenses when they arise directly from the covered cause of loss
     and are necessary and reasonable. Coverages 4 and 5 apply only if there has been a notification of the
     "personal data compromise" to "affected individuals" as covered under coverage 3.

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     Please note that service providers must be approved by us as described in Additional Condition 6. •
     Service Providers.
     1. Forensic Information Technology Review
         Professional Information technologies review if needed to determine, within the constraints of what is
         possible and reasonable, the nature and extent of the "personal data compromise" and the number and
         Identities of the "affected Individuals".
         This does not include costs to analyze, research or determine any of the following:
         a. Vulnerabilities in systems, procedures or physical security;
         b. Compliance with PCI or other industry security standards; or
         c. The nature or extent of loss or damage to data that Is not "personally identifying Information" or
              "personally sensitive information".
         If there Is reasonable cause to suspect that a covered "personal data compromise" may have occurred,
         we will pay for costs covered under Forensic Information Technology Review, even if It Is eventually
         determined that there was no covered "personal data compromise". However, once It is determined
         that there was no covered "personal data compromise", we will not pay for any further costs.
     2. Legal Review
         Professional legal counsel review of the "personal data compromise" and how you should best respond to
         It.
         If there is reasonable cause to suspect that a covered "personal data compromise" may have occurred,
         we will pay for costs covered under Legal Review, even if It is eventually determined that there was
         no covered "personal data compromise". However, once it Is determined that there was no covered
         "personal data compromise", we will not pay for any further costs.
     3. Notification to "Affected Individuals•
         We will pay your necessary and reasonable costs to provide notification of the "personal data
         compromise" to "affected individuals".
     4. Services to "Affected Individuals"
         We will pay your necessary and reasonable costs to provide the following services to "affected
         Individuals".
         a. The following services apply to any "personal data compromise".
              (1) Informational Materials
                   A packet of loss prevention and customer support information.
              (2) Help Line
                   A toll-free telephone line for "affected individuals" with questions about the "personal data
                   compromise" Where applicable, the line can also be used to request additional services as listed
                   in b.1) and 2)
         b. The following additional services apply to •personal data compromise" events involving •personally
              identifying information".
              (1) Credit Report and Monitoring
                   A credit report and an electronic service automatically monitoring for activities affecting an
                   individual's credit records. This service is subject to the "affected individual" enrolling for this
                   service with the designated service provider.
              (2) Identity Restoration Case Management
                   As respects any "affected individual" who is or appears to be a victim of an "Identity theft"
                   that may reasonably have arisen from the "personal data compromise", the services of an
                   Identity restoration professional who will assist that "affected individual" through the process of
                  correcting credit and other records and, within the constraints of what is possible and reasonable,
                   restoring control over his or her personal Identity.
     5. PR Services
         Professional public relations firm review of and response to the potential impact of the "personal
         data compromise" on your business relationships.
         This Includes costs to Implement public relations recommendations of such firm. This may Include
         advertising and speclal promotions designed to retain your relationship with "affected Individuals".
         However, we will not pay for promotions:
         a. Provided to any of your directors or employees; or
         b. Costing more than $25 per "affected individual".

    For the purpose of the Section 1 coverage under this endorsement only, the following replaces SECTION Ill
    • LIMITS OF INSURANCE
    LIMITS • SECTION 1
    1. The most we will pay under Response Expenses coverage is the Data Compromise Response Expenses
        Limit Indicated for this endorsement.
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     2.   The Data Compromise Response Expenses Limit is an annual aggregate limit. This amount is the most. we
          will pay for the total of all loss covered under Section 1 arising out of all "personal data compromise"
          events which are first discovered by you during the present annual policy period. This limit applies
          regardless of the number of "personal data compromise" events discovered by you during that period.
     3.   A "personal data compromise" may be first discovered by you in one policy period but cause covered
          costs in one or more subsequent policy periods. If so, all covered costs arising from such "personal data
          compromise" will be subject to the Data Compromise Response Expenses Limit applicable to the policy
          period when the •personal data compromise" was first discovered by you.
     4.   The most we will pay under Response Expenses coverage for loss arising from any "malware-related
          compromise" is the Named Malware (Sec. 1) sublimit indicated for this endorsement For the purpose of
          the Named Malware (Sec. 1) sublimit, all "malware-related compromises" that are caused, enabled or
          abetted by the same virus or other malicious code are considered to be a singe "personal data
          compromise".
     5.   The most we will pay under Forensic IT Review, Legal Review and PR Services coverages for loss
          arising from any one "personal data compromise" Is the applicable sublimlt for each of those coverages
          indicated for this endorsement These sublimits are part of, and not in addition to, the Data Compromise
          Response Expenses Limit. PR Services coverage is also subjed to a limit per "affected individual" as
          described in 5. PR Services.
     6.   Coverage for Services to "affected individuals" Is limited to costs to provide such services for a period
          of up to one year from the date of the notification to the "affected individuals". Notwithstanding,
          coverage for Identity Restoration Case Management services initiated within such one year period may
          continue for a period of up to one year from the date such Identity Restoration Case Management
          services are initiated.

     DEDUCTIBLE - SECTION 1
     Response Expenses coverage is subject to the Response Expenses Deductible indicated for this endorsement.
     You will be responsible for such deductible amount as respects each "personal data compromise" covered
     under this endorsement.

B. The following is added to SECTION I - COVERAGES as an Additional Coverage.
   SECTION 2 - DEFENSE AND LIABILITY
   DEFENSE AND LIABILITY COVERED CAUSE OF LOSS
   Coverage under Section 1 and Section 2 of this Data Compromise Plus Coverage endorsement applies only
   if all three of the conditions in DATA COMPROMISE - COVERED CAUSE OF LOSS are met
   Only with regard to Section 2 - Defense and Llablllty coverage, the following conditions must also be
   met:                                                   ·
   1. You have provided notifications and services to "affected Individuals" in consultation with us pursuant to
         Response Expenses coverage;
   2. You receive notice of a "data compromise suit" brought by one or more "affected individuals" or by a
        governmental entity on behalf of one or more "affected individuals";
   3. Notice of such "data compromise suit" is received by you within two years of the date that the
        "affected individuals" are notified of the "personal data compromise"; and
   4. Such "data compromise suit" is reported to us within 60 days after the date it is first received by you.
   COVERAGE - SECTION 2
   If all four of the conditions listed above in DEFENSE AND LIABILITY - COVERED CAUSE OF LOSS have been
   met, then we will provide coverage for "data compromise defense" and "data compromise liability• directly
   arising from the covered cause of loss.
   For the purpose of the Section 2 coverage under this endorsement only, the following replaces SECTION
   Ill - LIMITS OF INSURANCE
   LIMITS - SECTION 2
   1. The most we will pay for "data compromise defense costs" under Section 2 - Defense And
        Llablllty is the Data Compromise Defense Limit (other than post-judgment interest) indicated for this
        endorsement                                                     ·
   2. The most we will pay for "data compromise liability" under Section 2 - Defense And Liability is
        the Data Compromise Liability Limit (other than post-judgment interest) indicated for this endorsement.
   3. The Data Compromise Defense Limit and the Data Compromise Liability Limit are annual aggregate limits.
        These amounts are the most we will pay for all loss covered under Section 2 (other than post-
        judgment interest) arising out of all "personal data compromise" events which are first discovered by you
        during the present annual policy period. These limits apply regardless of the number of "personal data
        compromise" events occurring during that period.

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     4. A "personal data compromise" may be first discovered by you in one policy period but cause covered
         costs in one or more subsequent policy periods. If so, all covered costs arising from such "personal data
         compromise" (other than post-judgment interest) will be subject to the Data Compromise Defense Limit
         and the Data Compromise Liability Limit applicable to the policy period when the "personal data
         compromise" was first discovered by you.
     5. The most we will pay under Section 2 • Defense And Liability for loss arising from any
         "malware-related canpromise" is the Named Malware (Sec. 2) subllmit indicated for this endorsement.
         For the purpose of the Named Malware (Sec. 2) subllmlt, all "malware-related compromises" that are
         caused, enabled or abetted by the same virus or other malicious code are considered to be a single
         "personal data compromise". This sublimit Is part of, and not in addition to, the Defense Limit and
         Liability Limit.
     DEDUCTIBLE • SECTION 2
     Defense and Liability coverage Is subject to the Defense and Liability Deductible indicated for this
     endorsement. You will be responsible for such deductible amount as respects each "data compromise suit"
     covered under this endorsement.

     For the purpose of the Section 1 and Section 2 coverage under this endorsement only, the following
     additional exdusions apply to Paragraph 2. Exclusions under SECTION I - COVERAGES
     EXCLUSIONS • SECTION 1 AND SECTION 2
     We will not pay for cost arising from the following:
     1. Your intentional or willful complicity in a "personal data compromise";
     2. Any criminal, fraudulent or dishonest act, intentional error or omission, or any Intentional or knowing
         violation of the law by you;
     3. Any "personal data compromise" occurring prior to the first inception of this Data Compromise Plus
         Coverage endorsement, or any coverage substantially similar to that described In this endorsement, was
         first added to this policy.
     4. Cost to research or correct any deficiency. This indudes, but Is not limited to, any deficiency In your
         systems, procedure or physical security that may have contributed to a "personal data compromise";
     5. Any fines or penalties. This Includes, but is not limited to, fees or surcharges from affected financial
         institutions;
     6. Any criminal investigations or proceedings:
     7. Any extortion or blackmail. This Includes, but Is not limited to, ransom payments and private security
         assistance;
     8. Any "personal data compromise" involving data that is being transmitted electronically, unless such data
         ls encrypted to protect the security of the transmission.
     9. Your reckless disregard for the security of "personally identifying information" or "personally sensitive
         information" in your care, custody, or control;
     10. That part of any "data compromise suit" seeking any non-monetary relief; or
     11. "Bodily injury", "property damage" or "personal and advertising Injury•.
     For the purpose of the Section 1 and Section 2 coverage under this endorsement only,
     SUPPLEMENTARY PAYMENTS under SECTION I • COVERAGES do not apply.
     For the purpose of the Section 1 and Section 2 coverage under this endorsement only, subparagraphs 2.b.
     and 3. of SECTION II • WHO IS AN INSURED do not apply.
     For the purpose of the Section 1 and Section 2 coverage under this endorsement only, the following is
     added to SECTION IV • COMMERCIAL GENERAL LIABILITY CONDITIONS:
     ADDITIONAL CONDITIONS • SECTION 1 AND SECTION 2
     1. "Data Compromise Liability" Defense
         a. We will have the right and the duty to assume the defense of any applicable "data compromise
              suit" against you, even If the allegations upon which the "data compromise suit" is based are
              groundless, false or fraudulent You will give us such information and cooperation as we may
              reasonably require.
         b. You will not admit liability for or settle any "data compromise suit" or incur any defense costs
              without our prior written consent.
         c. If you refuse to consent to any settlement recommended by us and acceptable to the claimant, we
              may then withdraw from your defense (if we have assumed your defense) by tendering control of the
              defense to you. From that point forward, you will, at your own expense, negotiate or defend such
              "data compromise suit" independently of us. Our liability will not exceed the amount for which the
              claim or suit could have been settled if such recommendation had been consented to, plus defense
              costs incurred by us, and defense costs incurred by you with our written consent, prior to the date
              of such refusal.

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          d.   We will not be obligated to pay any defense costs or to defend or continue to defend any •data
               compromise suir after the Data Compromise Defense Limit has been exhausted. We will not be
               obligated to pay any damages after the Data Compromise Liability Limit has been exhausted.
          e. We shall pay all Interest on that amount of any judgment within the Data Compromise Liability Limit
               which accrues:
               1) after entry of judgment; and
               2) before we pay, offer to pay or deposit in court that part of the judgment within the Data
                     Compromise Liability Limit or, in any case, before we pay or offer to pay the entire Data
                     Compromise Liability Limit
               These interest payments shall be in addition to and not part of the Data Compromise Liability Limit.
     2.   Duties in the Event of a "Data Compromise Sult"
          a. If a •data compromise suit" is brought against you, you must:
               (1) Immediately record the specifics of the •data compromise suit" and the date received;
               (2) Provide us with written notice, as soon as practicable, but in no event more than 60 days after
                     the date the "data compromise suit• Is first received by you;
               (3) Immediately send us copies of any demands, notices, summonses or legal papers received in
                     connection with the "data compromise suit";
               (4) Authorize us to obtain records and other information;
               (5) Cooperate with us In the investigation, settlement or defense of the "data compromise suit";
               (6) Assist us, upon our request, in the enforcement of any right against any person or organization
                     which may be liable to you because of loss to which this insurance may also apply; and
               (7) Take no action, or fail to take any required action, that prejudices your rights or our rights with
                     respect to such "data compromise suit".
          b. You may not, except at your own cost, voluntarily make a payment, assume any obligation, or incur
               any expense without our prior written consent.
          c. If you become aware of a claim or complaint that may become a "data compromise suit", you will
               promptly inform us of such claim or complaint.
     3.   Due Diligence
          You agree to use due diligence to prevent and mitigate costs covered under this endorsement This
          includes, but is not limited to, complying with, and requiring your vendors to comply with, reasonable and
          industry-accepted protocols for:
          a. Providing and maintaining appropriate physical security for your premises, computer systems and hard
               copy files:
          b. Providing and maintaining appropriate computer and Internet security;
          c. Maintaining and updating at appropriate Intervals backups of computer data;
          d. Protecting transactions, such as processing credit card, debit card and check payments; and
          e. Appropriate disposal of files containing "personally Identifying information" or "personally sensitive
               information" induding shredding hard copy files and destroying physical media used to store electronic
               data.
     4.   Legal Advice
          We are not your legal advisor. Our determination of what is or is not covered under this Data
          Compromise Plus Coverage endorsement does not represent advice or counsel from us about what you
          should or should not do.
     5.   Pre-Notification Consultation
          You agree to consult with us prior to the issuance of notification to "affected individuals". We assume
          no responsibility under this Data Compromise Coverage for any services promised to "affected individuals"
          without our prior agreement. If possible, this pre-notification consultation will also lndude the designated
          service provider(s) as agreed to under Additional Condition 6. Service Providers. You must provide the
          following at our pre-notification consultation with you:
          a. The exact list of "affected individuals• to be notified, lnduding contact information;
          b. Information about the "personal data compromise" that may appropriately be communicated with
               "affected individuals•; and
          c. The scope of services that you desire for the "affected individuals". For example, coverage may be
               structured to provide fewer services in order to make those services available to more •affected
               individuals" without exceeding the available Response Expenses Limit.
     6.   Service Providers
          a. We will only pay under this Data Compromise Coverage for services that are provided by service
               providers approved by us. You must obtain our prior approval for any service provider whose expenses
               you want covered under this Data Compromise Coverage. We will not unreasonably withhold such
               approval.

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        b. Prior to the Pre-Notification Consultation described In Additional Condition 5. above, you must come
             to agreement with us regarding the service provlder(s) to be used for the Notification to
             "Affected Individuals" and Services to "Affected Individuals". We will suggest a service
             provider; however, if you prefer to use an alternate service provider, our coverage Is subject to the
             following limitations:
             (1) Such alternate service provider must be approved by us;
             (2) Such alternate service provider must provide services that are reasonably equivalent or superior in
                  both kind and quality to the services that would have been provided by the service provider we
                  had suggested; and
             (3) Our payment for services provided by any alternate service provider wi 11 not exceed the amount
                  that we would have paid using the service provider we had suggested.
    7. Services
        The following conditions apply as respects any services provided to you or any "affected individual" by
        us, our designees or any service firm paid for in whole or in part under this Data Compromise coverage:
        a. The effectiveness of such services depends on your cooperation and assistance;
        b. All services may not be available or applicable to all individuals. For example, "affected individuals"
             who are minors or foreign nationals may not have credit records that can be provided or monitored.
             Service In Canada wi 11 be different from service in the United States and Puerto Rico in accordance
             with local conditions;
        c. We do not warrant or guarantee that the services will end or eliminate all problems associated with
             the covered events; and
        d. You will have a direct relationship with the professional service firms paid for in whole or in part
             under this coverage. Those firms work for you.
    For the purpose of the Section 1 and Section 2 coverage under this endorsement only, the following is
    added to SECTION V • DEFINITIONS
    DEFINITIONS - SECTION 1 AND SECTION 2
    1. "Affected individual" means any person who is your current, former or prospective customer, client,
        member, owner, director or employee and whose. "personally identifying information" "personally sensitive
        information" is lost , stolen, accidentally released or accidentally published by a "personal data
        compromise" covered under this endorsement. This definition is subject to the following provisions:
        a. "Affected individual" does not Include any business or organization. Only an individual person may be
             an "affected Individual";
        b. An "affected Individual" must have a direct relationship with your interests as insured under this
             policy. The following are examples of individuals who would not meet this requirement:
             1) If you aggregate or sell information about individuals as part of your business, the Individuals
                  about whom you keep such Information do not qualify as "affected individuals". However, specific
                  Individuals may qualify as "affected individuals" for another reason, such as being an employee
                  of yours;
             2) If you store, process, transmit or transport records, the Individuals whose "personally Identifying
                  Information• or "personally sensitive information• you are storing, processing, transmitting or
                  transporting for another entity do not qualify as "affected individuals". However, specific
                  individuals may qualify as "affected individuals" for another reason, such as being an employee
                  of yours; or
             3) You may have operations, interests or properties that are not insured under this policy. Individuals
                  who have a relationship with you through such other operations, interests or properties do not
                  qualify as "affected individuals". However, specific individuals may qualify as "affected
                  individuals" for another reason, such as being an employee of the operation insured under this
                  policy; and
        c. An "affected individual" may reside anywhere in the world.
    2. "Data Compromise Defense Costs" means expenses resulting solely from the investigation, defense and
        appeal of any "data compromise suit" against you. Such expenses must be reasonable and necessary.
        They will be Incurred by us. They do not include your salaries or your loss of earnings. They do include
        premiums for any appeal bond, attachment bond or similar bond, but we have no obligation to apply for
        or furnish any such bond.
    3. "Data Compromise Liability"
        a. "Data compromise liability" means the following, when they arise from a "data compromise suit":
             1) Damages, judgments or settlements to "affected individuals";
             2) Defense costs added to that part of any judgment paid by us, when such defense costs are
                  awarded by law or by court order; and

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                3) Pre-judgment Interest and post-judgment interest on that part of any judgment paid by us.
           b. "Data compromise liability" does not mean:
                1) Damages, judgments or settlements to anyone who is not an "affected individual";
               2) Civil or criminal fines or penalties imposed by law;
               3) Punitive or exemplary damages;
               4) The multiplied portion of multiplied damages;
               5) Taxes; or
               6) Matters which may be deemed uninsurable under the applicable law.
     4.   "Data Compromise Suit"
          a. "Data Compromise Sult" means a civil proceeding in which damages to one or more "affected
               individuals" arising from a "personal data compromise" or the violation of a governmental statute or
               regulation are alleged. Such proceeding must be brought in the United States of America, Puerto Rico
               or Canada. "Data compromise suit" includes:
               1) An arbitration proceeding in which such damages are daimed, and to which you must submit or
                     do submit with our consent;
               2) Any other alternative dispute resolution proceeding in which such damages are claimed, and to
                    which you submit with our consent; or
               3) A written demand for money, when such demand could reasonably result in a civil proceeding as
                     described In this definition.
          b. "Data compromise suit" does not mean any demand or action brought by or on behalf of someone
               who Is:
               1) Your director or officer;
               2) Your owner or part-owner; or
               3) A holder of your securities;
               in their capacity as such, whether directly, derivatively, or by dass action. "Data compromise suit"
               will include proceedings brought by such individuals In their capacity as "affected individuals", but
               only to the extent that the damages claimed are the same as would apply to any other "affected
               individual".
          c. "Data compromise suit9 does not mean any demand or action brought by an organization, business,
               institution, or any other party that is not an "affected Individual'' or governmental entity. "Data
               compromise suit" does not mean any demand or action brought on behalf of an organization,
               business, institution, governmental entity or any other party that is not an "affected Individual".
     5.   "Identity Theft" means the fraudulent use of "personally identifying Information". This includes fraudulently
          using such information to establish credit accounts, secure loans, enter into contracts or commit crimes.
          "Identity theft" does not Include the fraudulent use of a business name, d/b/a or any other method of
          Identifying a business activity.
     6.   "Malware-Related Compromise" means a "personal data compromise" that is caused, enabled or abetted
          by a virus or other malicious code that, at the time of the "personal data compromise", is named and
          recognized by the CERT8 Coordination Center, McAfeee , Secunia, Symantec or other comparable third
          party monitors of malicious code activity.
     7.   "Personal Data Compromise" means the loss, theft, accidental release or accidental publication of
          "personally identifying information" or "personally sensitive Information" as respects one or more
          "affected individuals". If the loss, theft, accidental release or accidental publication involves "personally
          identifying information", such loss theft, accidental release or accidental publication must result In, or
          have the reasonable possibility of resulting in, the fraudulent use of such information. This definition Is
          subject to the following provisions:
          a. At the time of the loss, theft, accidental release or accidental publication, the "personally identifying
               information" or "personally sensitive information" need not be at the insured premises but must be
               in your direct care, custody or control of:
               1) You; or
               2) A professional entity with which you have a direct relationship and to which you (or an
               "affected individual" at your direction) have turned over (directly or via a professional transmission
               or transportation provider) such Information for storage, processing, transmission or transportation of
               such information.
          b. "Personal data compromise" indudes disposal or abandonment of "personally identifying Information"
               or •personally sensitive information" without appropriate safeguards such as shredding or destrudlon,
               subject to the following provisions:
               1) The failure to use appropriate safeguards must be accidental and not reckless or deliberate; and

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            2) Such disposal or abandonment must take place during the time period for which this Data
                 Compromise Plus Coverage endorsement is effective;
       c. "Personal data compromise" includes situations where there is a reasonable cause to suspect that
            such "personally identifying information" has been lost, stolen, accidentally released or accidentally
            published, even if there is no firm proof; and
       d. All incidents of "personal data compromise" that are discovered at the same time or arise from the
            same cause will be considered one "personal data compromise".
    8. "Personally identifying information" means information, including health information that could be used to
       commit fraud or other illegal activity involving the credit, access to health care, or identity of an
       "affected Individual". This includes but is not limited to Social Security numbers or account numbers.
       "Personally identifying information" does not mean or include information that is otherwise available to
       the public, such as names and addresses.
    9. "Personally Sensitive Information" means private information specific to an individual the release of
       which requires notification of "affected individuals" under any applicable law.
       "Personally sensitive information" does not mean or include "personally identifying information".

C. The following is added to SECTION I • COVERAGES as an Additional Coverage.
   SECTION 3 • IDENTITY RECOVERY COVERAGE
   COVERAGE • SECTION 3
   We will provide the Case Management Service and Expense Reimbursement Coverage indicated below if all of
   the following requirements are met:
   1. There has been an "identity theft" involving the personal identity of an "identity recovery insured" under
       this policy;
   2. Such "identity theft" is first discovered by the "identity recovery insured" during the policy period for
       which this Identity Recovery Coverage is applicable; and
   3. Such "identity theft" is reported to us within 60 days after the date it is first discovered by the
       "identity recovery insured".
   If all three of the requirements listed above have been met, then we will provide the following to the
   "identity recovery insured":
   1. Case Management Service
       Services of an "identity recovery case manager" as needed to respond to the "identity theft"; and
   2. Expense Reimbursement
       Reimbursement of necessary and reasonable "identity recovery expenses" incurred as a direct result of the
       "identity theft".

    For the purpose of the Section 3 coverage under this endorsement only, the following is added to Paragraph
    2. Exclusions under SECTION I • COVERAGES
    EXCLUSIONS • SECTION 3
    We do not cover loss or expense arising from any of the following:
    1. The theft of a professional or business identity;
    2. Any fraudulent, dishonest or criminal act by an "identity recovery insured" or any person aiding or
        abetting an "identity recovery insured", or by any authorized representative of an "identity recovery
        insured", whether acting alone or in collusion with others. However, this exclusion will not apply to the
        interests of an "identity recovery insured" who has no knowledge of or involvement in such fraud,
        dishonesty or criminal act; or
    3. An "identity theft" that is not reported in writing to the police.

    For the purpose of the Section 3 coverage under this endorsement only, SUPPLEMENTARY PAYMENTS
    under SECTION I • COVERAGES do not apply:
    For the purpose of the Section 3 coverage under this endorsement only, the following replaces SECTION
    Ill • LIMITS OF INSURANCE
    LIMITS • SECTION 3
    1. Case Management Service is available as needed for any one "identity theft" for up to 12 consecutive
         months from the inception of the service. Expenses we incur to provide Case Management Service do not
         reduce the amount of limit available for Expense Reimbursement Coverage.
    2. Expense Reimbursement Coverage is subject to the Expense Reimbursement Limit indicated for this
         endorsement. The Expense Reimbursement Limit Is an annual aggregate limit per "identity recovery
         insured". Regardless of the number of claims, this limit is the most we will pay for the total of all
         loss or expense arising out of all "identity thefts" to any one "identity recovery insured" which are first


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          discovered by the "Identity recovery insured" during a 12 month period starting with the beginning of the
          present annual policy period. If an "Identity theft" is first discovered in one policy period and continues
          into other policy periods, all loss and expense arising from such "identity theft" will be subject to the
          aggregate limit applicable to the policy period when the "Identity theft" was first discovered.
     3.   Legal costs as provided under item d. of the definition of "identity recovery expenses" are part of, and
          not In addition to, the Expense Reimbursement Coverage limit.
     4.   Item e. (Lost Wages) and item f. (Child Elder Care Expenses) of the definition of "identity recovery
          expenses" are jointly subject to a sublimlt of $5,000. This sublimlt Is part of, and not in addition to, the
          Expense Reimbursement Coverage limit. Coverage is limited to wages lost and expenses incurred within
          12 months after the first discovery of the "identity theft" by the "identity recovery insured".
     5.   Item g. (Mental Health Counseling) of the definition of "identity recovery expenses" is subject to a
          sublimit of $1,000. This sublimit is part of, and not in addition to, the Expense Reimbursement Coverage
          limit. Coverage is limited to counseling that takes place within 12 months after the first discovery of the
          "Identity theft" by the "identity recovery insured".
     6.   Item h. (Miscellaneous Unnamed Costs) of the definition of "Identity recovery expenses" is subject to a
          sublimit of $1,000. This sublimit Is part of, and not in addition to, the Expense Reimbursement Coverage
          limit. Coverage is limited to costs Incurred within 12 months after the first discovery of the "identity
          theft" by the "identity recovery insured".

     DEDUCTIBLE • SECTION 3
     1. Case Management Service is not subject to a deductible.
     2. Expense Reimbursement Coverage is subject to the Expense Reimbursement Deductible indicated for this
        endorsement. Any one "identity recovery insured" will be responsible for only on deductible under this
          Identity Recovery Coverage during any one policy period.

     For the purpose of the coverage under Section 3 under this endorsement only, SECTION II • WHO IS AN
     INSURED does not apply.
     For the purpose of the Section 3 coverage under this endorsement only, the following Is added to
     SECTION IV • COMMERCIAL GENERAL LIABILITY CONDITIONS
     ADDITIONAL CONDITIONS • SECTION 3
     1. Help Line
         a. For assistance, the "identity recovery Insured' should call the Identity Recovery Help Line at
             1 ·800-414-9783.
         b. The Identity Recovery Help Line can provide the "identity recovery Insured" with:
             1) Information and advice for how to respond to a possible "identity theft; and
             2) Instructions for how to submit a service request for Case Management Service and/or a claim
                 form for Expense Reimbursement Coverage.
             In some cases, we may provide Case Management Services at our expense to an "Identity recovery
             Insured" prior to a determination that a covered "Identity theft" has occurred. Our provision of such
             services Is not an admission of liability under this policy. We reserve the right to deny further
             coverage or service if, after investigation, we determine that a covered "identity theft" has not
               occurred.
          c.   As respects Expense Reimbursement Coverage the "identity recovery insured" must send to us, within
               60 days after our request, receipts, bills or other records that support his or her claims for "Identity
               recovery expenses".
     2. Services
         The following conditions apply as respects any services provided by us or our deslgnee to any "identity
         recovery Insured" under this endorsement:
         a. Our ability to provide helpful services in the event of an "Identity theft" depends on the cooperation,
             permission and assistance of the "identity recovery insured";
         b. All services may not be available or applicable to all individuals. For example, "Identity recovery
             insureds" who are minors of foreign nationals may not have credit records that can be provided or
             monitored. Service In Canada wi 11 be different from service in the United States and Puerto Rico in
             accordance with local conditions; and
         c. We do not warrant or guarantee that our services will end or eliminate all problems associated with
             an "identity theft" or prevent future "identity thefts".
     For the purpose of the Section 3 coverage under this endorsement only, the following is added to
     SECTION V • DEFINITIONS
     DEFINITIONS - SECTION 3
     1. "Identity Recovery Case Manager" means one or more Individuals assigned by us to assist an "identity

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            recovery insured" with communications we deem necessary for re-establishing the integrity of the
            personal Identity of the "identity recovery Insured". This includes, with the permission and cooperation of
            the "identity recovery insured", written and telephone communications with law enforcement authorities,
           governmental agencies, credit agencies and Individual creditors and businesses.
     2.     "Identity Recovery Expenses" means the following when they are reasonable and necessary expenses that
           are Incurred as a direct result of an "identity theft":
           a. Costs for re-filing applications for loans, grants or other credit instruments that are rejected solely
                 as a result of an "identity theft";
            b. Costs for notarizing affidavits or other similar documents, long distance telephone calls and postage
                 solely as a result of your efforts to report an "identity theft" or amend or rectify records as to your
                true name or identity as a result of an "identity theft";
           c. Costs for credit reports from established credit bureaus;
           d. Fees and expenses for an attorney approved by us for the following:
                1) The defense of any civil suit brought against an "identity recovery insured";
                2) The removal of any civil judgment wrongfully entered against an "identity recovery insured";
                3) Legal assistance for an "identity recovery insured" at an audit or hearing by a governmental
                     agency;
                4) Legal assistance in challenging the accuracy of the "identity recovery lnsured's" consumer credit
                     report; and
                5) The defense of any criminal charges brought against an "identity recovery Insured" arising from
                     the actions of a third party using the personal Identity of the "identity recovery insured";
           e. Actual lost wages of the "identity recovery insured" for time reasonably and necessarily taken away
                from work and away from the work premises. Time away from work includes partial or whole work
                days. Actual lost wages may Include payment for vacation days, discretionary days, floating holidays
                and paid personal days. Actual lost wages does not include sick days or any loss arising from time
                taken away from self-employment. Necessary time off does not Include time off to do tasks that
                could reasonably have been done during non-working hours;
           f. Actual costs for supervision of children or elderly or infirm relatives or dependents of the "identity
                recovery insured" during time reasonably and necessarily taken away from such supervision. Such care
                must be provided by a professional care provider who Is not a relative of the "identity recovery
                insured";
           g. Actual costs for counseling from a licensed mental health professional. Such care must be provided
                by a professional care provider who is not a relative of the "identity recovery insured"; and
           h. Any other reasonable costs necessarily incurred by an "Identity recovery Insured" as a direct result
                of the "identity theft".
                1) Such costs Include:
                     (a) Costs by the "identity recovery insured" to recover control over his or her personal identity;
                          and
                     (b) Deductibles or service fees from financial institutions.
                2) Such costs do not Include:
                     (a) Costs to avoid, prevent or detect "identity theft" or other loss;
                     (b) Money lost or stolen; and
                     (c) Costs that are restricted or excluded elsewhere in this endorsement or poHcy.
     3.    "Identity Recovery Insured" means the following:
           a. When the entity insured under this policy is a sole proprietorship, the "Identity recovery insured" is
                the individual person who is the sole proprietor of the insured entity;
           b. When the entity insured under this policy is a partnership, the "identity recovery Insureds" are the
                current partners; or
           c. When the entity insured under this policy is a corporation or other organization, the "identity recovery
                insureds" are all the indMduals having ownership position of 20% or more of the insured entity.
                However, if and only If there is no one who has such an ownership position, then the "Identity
                recovery insured" will be:
                1) The chief executive of the insured entity; or
                2) As respects a religious Institution, the senior ministerial employee.
           An "identity recovery insured" must always be an individual person. The entity insured under this policy
           Is not an "identity recovery insured".
     4.    "Identity Theft" means the fraudulent use of the social security number or other method of identifying an
           "identity recovery insured". This includes fraudulently using the personal Identity of an "identity recovery
           insured" to establish credit accounts, secure loans, enter into contracts, or commit crimes.
           "Identity theft• does not include the fraudulent use of a business name, d/b/a or any other method of
           Identifying a business activity.
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                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        NUCLEAR ENERGY LIABILITY EXCLUSION ENDORSEMENT
                                                        (Broad Form)


This endorsement modifies insurance provided under the following:

      COMMERCIAL AUTOMOBILE COVERAGE PART
      COMMERCIAL GENERAL LIABILITY COVERAGE PART
      FARM COVERAGE PART
      LIQUOR LIABILITY COVERAGE PART
      MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
      OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
      POLLUTION LIABILITY COVERAGE PART
      PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
      RAILROAD PROTECTIVE LIABILITY COVERAGE PART
      UNDERGROUND STORAGE TANK POLICY

1.    The Insurance does not apply:                                          (2) The "nuclear material" is contained in
      A. Under any Liability Coverage, to "bodily Injury"                         "spent fuel" or "waste" at any time
         or "property damage":                                                    possessed,     handled,   used,    processed,
         (1) With respect to which an '1nsured" under                             stored, transported or disposed of, by or
              the policy is also an insured under a                               on behalf of an "insured"; or
              nuclear energy liability policy issued by                      (3) The "bodily injury" or "property damage•
              Nuclear       Energy     Liability    Insurance                     arises out of the furnishing by an
              Association,      Mutual     Atomic      Energy                     "insured" of services, materials, parts or
              Liability Underwriters, Nuclear Insurance                           equipment     In    connection    with    the
              Association of Canada or any of their                               planning,     construction,     maintenance,
              successors, or would be an insured under                            operation or use of any "nuclear facility",
              any such policy but for Its termination                             but If such facility is located within the
              upon exhaustion of its limit of liability;                          United States of America, Its territories
              or                                                                  or possessions or Canada, this exclusion
         (2) Resulting from the "hazardous properties"                            (3) applies only to "property damage" to
              of "nuclear material" and with respect to                           such "nuclear facility" and any property
              which (a) any person or organization is                             thereat.
              required to maintain financial protection             2.   As used in this endorsement:
              pursuant to the Atomic Energy Act of                       "Hazardous properties" includes radioactive, toxic
              1954, or any law amendatory thereof, or                    or explosive properties.
              (b) the "insured" Is, or had this policy                   "Nuclear material" means "source material",
              not been issued would be, entitled to                      "special     nuclear    material"    or   "by-product
              indemnity from the United States of                        material".
              America, or any agency thereof, under any                  "Source material", "special nuclear material", and
              agreement entered into by the United                       "by-product material" have the meanings given
              States of America, or any agency thereof,                  them In the Atomic Energy Act of 1954 or in
              with any person or organization.                           any law amendatory thereof.
      B. Under any Medical Payments coverage, to                         "Spent fuel" means any fuel element or fuel
         expenses incurred with respect to "bodily                       component, solid or liquid, which has been used
         injury"     resulting    from    the     "hazardous             or exposed to radiation in a "nuclear reactor".
         properties" of "nuclear material" and arising                   "Waste means any waste material (a} containing
                                                                                  0


         out of the operation of a "nuclear facility" by                 "by-product material" other than the tailings or
         any person or organization.                                     wastes      produced     by    the    extraction    or
      C. Under any Liability Coverage, to "bodily injury"                concentration of uranium or thorium from any ore
         or "property damage" resulting from "hazard-                    processed primarily for its "source material"
         ous properties" of "nuclear material", if:                      content, and (b) resulting from the operation by
         (1) The "nuclear material" (a} is at any                        any person or organization of any "nuclear
              "nuclear facility" owned by, or operated                   facility" included under the first two paragraphs
              by or on behalf of, an "insured" or (b}                    of the definition of "nuclear facility".
              has     been     discharged      or  dispersed             "Nuclear facility" means:
              therefrom;                                                     (a} Any "nuclear reactor";


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           (b) Any equipment or device designed or                            (d) Any      structure,   basin,   excavation,
               used for (1) separating the isotopes of                             premises or place prepared or used for
               uranium or plutonium, (2) processing or                             the storage or disposal of "waste";
               utilizing "spent fuel", or (3) handling,                   and includes the site on which any of the
               processing or packaging "waste";                           foregoing is located, all operations conducted on
           (c) Any equipment or device used for the                       such site and all premises used for such
               processing, fabricatiig or alloying of                     operations.
               "special nuclear material" if at any                       "Nuclear reactor" means any apparatus designed
               time the total amount of such material                     or used to sustain nuclear fission in a self-
               in the custody of the "insured" at the                     supporting chain reaction or to contain a critical
               premises where such equipment or                           mass of fissionable material.
               device is located consists of or                           "Property damage" includes all forms of
               contains more than 25 grams of                             radioactive contamination of property.
               plutonium or uranium 233 or any
               combination thereof, or more than 250
               grams of uranium 235;



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              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                              FUNGI OR BACTERIA EXCLUSION

This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.           B. The following exclusion is added to Paragraph 2.
   Exclusions of Section I • Coverage A •                         Exclusions of Section I • Coverage B •
   Bodily Injury And Property Damage                             Personal And Advertising Injury Liability:
   Liability:                                                    2. Exclusions
   2. Exclusions                                                     This insurance does not apply to:
       This Insurance does not apply to:                             Fungi Or Bacteria
       Fungi Or Bacteria                                             a. "Personal and advertising Injury'' which
       a. "Bodily Injury" or "property damage"                             would not have taken place, in whole or
           which would not have occurred, In whole                         in part, but for the actual, alleged or
            or in part, but for the actual, alleged or                     threatened inhalation of, Ingestion of,
            threatened inhalation of, ingestion of,                        contact with, exposure to, existence of, or
            contact with, exposure to, existence of, or                    presence of any "fungi" or baderia on or
           presence of, any "fungi" or baderia on or                       within a building or structure, lnduding its
           within a building or structure, including its                   contents, regardless of whether any other
            contents, regardless of whether any other                      cause,     event,   material    or    produd
            cause,     event,   material   or     product                  contributed    concurrently   or   in    any
            contributed    concurrently  or    in    any                   sequence to such Injury.
            sequence to such Injury or damage.                       b. Any loss, cost or expense arising out of
      b. Any loss, cost or expenses arising out of                         the abating, testing for, monitoring,
           the abating, testing for, monitoring,                           cleaning up, removing, containing, treating,
            cleaning up, removing, containing, treating,                   detoxifying, neutralizing, remediatlng or
            detoxifying, neutralizing, remediating or                      disposing of, or in any way responding to,
           disposing of, or in any way responding to,                      or assessing the effects of, "fungi" or
           or assessing the effects of, "fungi" or                         baderia, by any insured or by any other
           bacteria, by any insured or by any other                        person or entity.
           person or entity.                                  C. The following definition is added to the
      This exclusion does not apply to any "fungi"               Definitions Section:
      or baderia that are, are on, or are contained              "Fungi" means any type or form of fungus,
      in, a good or produd intended for bodily                   induding mold or mlldew and any mycotoxins,
      consumption.                                               spores, scents or byproducts produced or released
                                                                 by fungi.


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              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

            OPERATION OF CUSTOMERS AUTOS ON PARTICULAR
                              PREMISES

This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE PART


A. Exclusion g. of Paragraph 2., Exclusions of                    B. The following definition is added to the
   Coverage A              Bodily Injury And                         Definitions Section:
   Property Damage Liability (Section I -                            "Customer's auto" means an "auto" on those
   Coverages) does not apply to any "customer's                      premises for the purpose of receiving the
   auto" while on or next to those premises you                      services normally provided in connection with
   own, rent or control that are used for any of                     those businesses but does not include an "auto"
   the following businesses:                                         owned by or rented or loaned to any insured.
   1. Auto Repair or Service Shops;
   2. Car Washes;
   3. Gasoline Stations;
   4. Tire Dealers;
   5. Automobile Quick Lubrication Services.




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               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          LIABILITY EXTENSION ENDORSEMENT

This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE FORM

The provisions of the policy apply except as modified by this endorsement.

1.   Paragraph 2. - Exclusions, subparagraph j. (1) through (6) remain unchanged.
     The sub-paragraph following (6) is replaced with the following:
         Paragraphs (1), (3) and (4) of this exclusion do not apply to "property damage" (other than damage by
         fire, explosion or water) to premises, induding the contents of such premises, rented to you for a period
         of 7 or fewer consecutive days. A separate limit of insurance applies to Damage To Premises Rented To
         You as described in Section Ill - Limits Of Insurance.

2. The final sub-paragraph of Paragraph 2. - Exclusions is deleted and replaced by the following:
       Exclusions c., d., e., f., g., h., i., k., I., m., n., and o. do not apply to damage by fire, explosion, or
       water to premises while rented to you or temporarily occupied by you with permission of the owner. A
          separate Damage To Premises Rented To You Limit of Insurance applies to this coverage as described in
          Section Ill - Limits Of Insurance

3. Paragraph 6. of Section Ill - Limits of Insurance is replaced by the following
       6. Subject to 5. above, the Damage To premises Rented To you Limit is the most we will pay under
            Coverage A for damages because of "property damage" to any one premises, while rented to you, or
               in the case of damage by fire, explosion, or water while rented to you or temporarily occupied by
               you with the permission is the Damage To Premises Rented To You Limit shown in the Declarations.




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            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


   EXCLUSION • ACCESS OR DISCLOSURE OF CONFIDENTIAL
  OR PERSONAL INFORMATION AND DATA-RELATED LIABILITY
    - LIMITED BODILY INJURY EXCEPTION NOT INCLUDED

This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. Exclusion 2.p. of Section I • Coverage A -                                   As used in this exclusion, electronic data
   Bodily Injury And Property Damage                                            means information, facts or programs
   Liability is replaced by the following:                                      stored as or on, created or used on, or
   2. Exclusions                                                                transmitted to or from computer software,
       This insurance does not apply to:                                        including     systems      and    applications
       p. Access            Or      Disclosure       Of                         software, hard or floppy disks, CD-ROMs,
            Confidential           Or          Personal                         tapes, drives, cells, data processing
            Information         And       Data-related                          devices or any other media which are
            Liability                                                           used      with     electronically   controlled
            Damages arising out of:                                             equipment.
            (1) Any access to or disclosure of any
                 person's or organization's confidential           B. The following is added to Paragraph 2.
                 or personal information, including                   Exclusions of Section I • Coverage B -
                 patents, trade secrets, processing                   Personal And Advertising Injury Llablllty:
                 methods, customer lists, financial                   2. Exclusions
                 information, credit card information,                   This insurance does not apply to:
                 health information or any other type                    Access Or Disclosure Of Confidential
                 of nonpublic information; or                            Or Personal Information
            (2) The loss of, loss of use of, damage                      "Personal and advertising Injury" arising out
                 to, corruption of, Inability to access,                 of any access to or disclosure of any
                 or Inability to manipulate electronic                   person's or organization's confidential or
                 data.                                                   personal information, including patents, trade
            This exclusion applies even if damages                       secrets, processing methods, customer lists,
            are claimed for notification costs, credit                   financial information, credit card information,
            monitoring expenses, forensic expenses,                      health information or any other type of
            public relations expenses or any other                       nonpublic information.
            loss, cost or expense incurred by you or                     This exclusion applies even if damages are
            others arising out of that which Is                          claimed     for    notification costs,   credit
            described in Paragraph (1) or (2) above.                     monitoring expenses, forensic expenses, public
                                                                         relations expenses or any other loss, cost or
                                                                         expense incurred by you or others arising out
                                                                         of any access to or disclosure of any
                                                                         person's or organization's confidential or
                                                                         personal information.


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           COMMERCIAL GENERAL LIABILITY COVERAGE FORM

Various provisions In this policy restrict coverage.                         damage• had occurred, in whole or In
Read the entire policy carefully to determine rights,                        part. If such a listed insured or
duties and what Is and is not covered.                                       authorized "employee" knew, prior to the
Throughout this policy the words "you" and "your"                            policy period, that the "bodily injury" or
refer to the Named Insured shown In the Declarations,                        "property damage• occurred, then any
and any other person or organization qualifying as a                         continuation, change or resumption of such
Named Insured under this policy. The words "we•,                             "bodily Injury" or "property damage"
"us" and "our" refer to the company providing this                          during or after the policy period will be
insurance.                                                                  deemed to have been known prior to the
The word "Insured" means any person or organization                         policy period.
qualifying as such under Section II - Who Is An                     c. "Bodily Injury" or "property damage• which
Insured.                                                               occurs during the policy period and was not,
Other words and phrases that appear In quotation                       prior to the policy period, known to have
marks have special meaning. Refer to Section V -                       occurred by any insured listed under Paragraph
Definitions.                                                           1. of Section II - Who Is An Insured or any
                                                                       "employee" authorized by you to give or
SECTION I • COVERAGES                                                  receive notice of an "occurrence" or claim,
COVERAGE     A    BODILY INJURY                     AND                lndudes       any     continuation,  change   or
PROPERTY DAMAGE LIABILITY                                              resumption of that "bodily injury" or "property
1. Insuring Agreement                                                  damage" after the end of the policy period.
     a. We will pay those sums that the insured                     d. "Bodily injury" or "property damage" will be
        becomes legally obligated to pay as damages                    deemed to have been known to have occurred
        because of "bodily injury" or "property                        at the eartiest time when any insured listed
        damage" to which this Insurance applies. We                    under Paragraph 1. of Section II - Who Is An
        will have the right and duty to defend the                     Insured or any "employee" authorized by you
        insured against any •suit" seeking those                       to give or receive notice of an "occurrence"
        damages. However, we wll I have no duty to                     or claim:
        defend the insured against any "suit" seeking                  (1) Reports all, or any part, of the "bodily
        damages for "bodily Injury• or "property                            Injury" or "property damage" to us or any
        damage" to which this insurance does not                            other insurer;
        apply. We may, at our discretion, Investigate                  (2) Receives a written or verbal demand or
        any "occurrence• and settle any claim or                            claim for damages because of the "bodily
        "suit" that may result. But                                         injury" or "property damage"; or
        (1) The amount we will pay for damages Is                      (3) Becomes aware by any other means that
             limited as described In Section Ill -                          "bodily Injury" or "property damage" has
             Limits Of Insurance; and                                       occurred or has begun to occur.
        (2) Our right and duty to defend ends when                  e. Damages because of "bodily Injury• include
             we have used up the applicable limit of                   damages       claimed     by     any  person  or
             insurance in the payment of judgments or                  organization for care, loss of services or
             settlements under Coverages A or B or                     death resulting at any time from the "bodily
             medical expenses under Coverage C.                        injury".
        No other obligation or liability to pay sums or        2.   Excluslons
        perform acts or services is covered unless                  This insurance does not apply to:
        explicitly provided for under Supplementary                 a. Expected Or Intended Injury
        Payments - Coverages A and B.                                   "Bodily injury" or "property damage" expected
     b. This insurance applies to "bodily injury" and                   or intended from the standpoint of the insured.
        "property damage" only if:                                      This exclusion does not apply to "bodily
        (1) The "bodily injury" or •property damage"                    injury" resulting from the use of reasonable
             is caused by an "occurrence• that takes                    force to protect persons or property.
             place In the "coverage territory";                     b. Contractual Liability
        (2) The "bodily injury• or •property damage"                    "Bodily injury" or "property damage" for
             occurs during the policy period; and                       which the insured is obligated to pay damages
        (3) Prior to the policy period, no insured                      by reason of the assumption of liability in a
             listed under Paragraph 1. of Section 11 -                  contract or agreement This exclusion does not
             Who Is An Insured and no "employee"                        apply to liability for damages:
             authorized by you to give or receive                       (1) That the insured would have In the
             notice of an "occurrence" or claim, knew                        absence of the contract or agreement; or
             that the "bodily injury" or "property


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        (2) Assumed in a contract or agreement                            This exclusion does not apply to liability
              that is an "insured contract", provided                     assumed by the insured under an "insured
              the "bodily injury" or "property damage"                    contracf'.
              occurs subsequent to the execution of                    f. Pollutlon
              the contract or agreement. Solely for the                   (1) "Bodily injury" or "property damage"
              purposes of liability assumed in an                              arising out of the actual, alleged or
              "insured contract", reasonable attorney                         threatened discharge, dispersal, seepage,
              fees and necessary litigation expenses                          migration,        release     or      escape     of
              incurred by or for a party other than an                         "pollutants":
              insured are deemed to be damages                                (a) At or from any premises, site or
              because of "bodlly injury" or "property                                location which is or was at any
              damage", provided:                                                     time owned or occupied by, or
              (a) Liability to such party for, or for                                rented or loaned to, any insured.
                    the cost of, that party's defense                                However, this subparagraph does not
                    has also been assumed in the same                                apply to:
                    "insured contract": and                                          (i) "Bodily      injury"    if    sustained
              (b) Such attorney fees and litigation                                      within a building and caused by
                    expenses are for defense of that                                     smoke, fumes, vapor or soot
                    party against a civil or alternative                                 produced by or originating from
                    dispute resolution proceeding in                                     equipment that is used to heat,
                    which damages to which this                                          cool or dehumidify the building,
                    insurance applies are alleged.                                       or equipment that is used to
     c. Liquor Liability                                                                 heat water for personal use, by
        "Bodily injury" or "property damage" for                                         the building's occupants or their
        which any insured may be held liable by                                          guests:
        reason of:                                                                 (Ii) "Bodily injury" or "property
        (1) Causing        or    contributing   to      the                              damage" for which you may be
              intoxication of any person:                                                held liable, if you are a
        (2) The furnishing of alcoholic beverages to                                     contractor and the owner or
              a person under the legal drinking age or                                   lessee of such premises, site or
              under the influence of alcohol; or                                         location has been added to your
        (3) Any statute, ordinance or regulation                                         policy as an additional insured
              relating to the sale, gift, distribution or                                with respect to your ongoing
              use of alcoholic beverages.                                                operations performed for that
        This exclusion applies only if you are in the                                    additional      insured      at    that
        business       of    manufacturing,   distributing,                              premises, site or location and
        selling,     serving   or furnishing     alcoholic                               such premises, site or location
        beverages.                                                                       is not and never was owned or
     d. Workers' Compensation And Similar                                                occupied by, or rented or loaned
        Laws                                                                             to, any insured, other than that
        Any obligation of the Insured under a                                            additional insured: or
        wori<ers' compensation, disability benefits or                             (iii) "Bodily Injury" or "property
        unemployment compensation law or any                                             damage" arising out of heat,
        simllar law.                                                                     smoke or fumes from a "hostile
     e. Employer's Liability                                                             fire":
        "Bodily injury" to:                                                   (b) At or from any premises, site or
        (1) An "employee" of the insured arising                                   location which is or was at any
              out of and in the course of:                                         time used by or for any Insured or
              (a) Employment by the insured; or                                    others for the handling, storage,
              (b) Performing duties related to the                                 disposal, processing or treatment of
                    conduct of the insured's business:                             waste;
                    or                                                        (c) Which are or were at any time
        (2) The spouse, child, parent, brother or                                  transported, handled, stored, treated,
              sister of that        "employee" as         a                        disposed of, or processed as waste
              consequence of Paragraph (1) above.                                  by or for:
        This exclusion applies:                                                    (i) Any Insured; or
        (1) Whether the insured may be liable as                                   (ii) Any person or organization for
              an employer or in any other capacity;                                      whom you may be legally
              and                                                                        responsible: or
        (2) To any obligation to share damages                                (d) At or from any premises, site or
              with or repay someone else who must                                  location on which any insured or any
              pay damages because of the injury.                                   contractors or subcontractors working

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                   directly or indirectly on any insured's                              or regulatory requirement that any
                   behalf are performing operations if                                  insured or others test for, monitor,
                   the "pollutants" are brought on or to                                clean up, remove, contain, treat,
                   the premises, site or location in                                    detoxify or neutralize, or in any way
                   connection with such operations by                                   respond to, or assess the effects of,
                   such insured, contractor or sub-                                     "pollutants"; or
                   contractor. However, this subparagraph                           (b} Claim or "suit" by or on behalf of a
                   does not apply to:                                                   governmental authority for damages
                   (I) "Bodily injury" or "property                                     because of testing for, monitoring,
                         damage" arising out of the                                     cleaning up, removing, containing,
                         escape of fuels, lubricants or                                 treating, detoxifying or neutralizing,
                         other operating fluids which are                               or in any way responding to, or
                         needed to perform the normal                                   assessing       the     effects     of,
                         electrical,          hydraulic       or                        "pollutants".
                         mechanical functions necessary                             However, this paragraph does not apply
                         for the operation of "mobile                               to liability for damages because of
                         equipment" or its parts, If such                           "property damage" that the insured
                         fuels,      lubricants     or     other                    would have in the absence of such
                         operating fluids escape from a                             request, demand, order or statutory or
                         vehicle part designed to hold,                             regulatory requirement, or such claim or
                         store or receive them. This                                "suit"     by   or    on   behalf   of   a
                         exception does not apply If the                            governmental authority.
                         "bodily injury• or "property                       g. Aircraft, Auto Or Watercraft
                         damage" arises out of the                              "Bodily injury" or "property damage" arising
                         intentional discharge, dispersal                       out of the ownership, maintenance, use or
                         or     release      of    the    fuels,                entrustment to others of any aircraft, "auto"
                         lubricants or other operating                          or watercraft owned or operated by or rented
                         fluids,     or     if    such    fuels,                or loaned to any insured. Use includes
                         lubricants or other operating                          operation and "loading or unloading".
                         fluids are brought on or to the                        This exclusion applies even if the claims
                         premises, site or location with                        against any insured allege negligence or
                         the     intent      that    they     be                other wrongdoing in the supervision, hiring,
                         discharged, dispersed or released                      employment, training or monitoring of others
                         as part of the operations being                        by that insured, if the "occurrence" which
                         performed       by     such    insured,                caused the "bodily injury" or "property
                         contractor or subcontractor:                           damage"        involved      the     ownership,
                   (ii) "Bodily injury" or "property                            maintenance, use or entrustment to others of
                         damage" sustained within a                             any aircraft, •auto" or watercraft that Is
                         building and caused by the                             owned or operated by or rented or loaned to
                         release of gases, fumes or                             any Insured.
                         vapors from materials brought                          This exclusion does not apply to:
                         into that building in connection                       (1) A watercraft while ashore on premises
                         with operations being performed                             you own or rent:
                         by you or on your behalf by a                          (2) A watercraft you do not own that is:
                         contractor or subcontractor; or                             (a) Less than 26 feet long; and
                   (iii) "Bodily injury" or "property                                (b} Not being used to carry persons or
                         damage" arising out of heat,                                      property for a charge;
                         smoke or fumes from a "hostile                         (3) Parking an "auto" on, or on the ways
                         fire".                                                      next to, premises you own or rent,
               (e) At or from any premises, site or                                  provided the "auto" is not owned by or
                   location on which any insured or any                              rented or loaned to you or the insured;
                   contractors or subcontractors working                        (4) Liability assumed under any "insured
                   directly or indirectly on any insured's                           contract" for the ownership, maintenance
                    behalf are performing operations if                              or use of aircraft or watercraft; or
                   the operations are to test for,                              (5) "Bodily injury" or "property damage"
                    monitor, clean up, remove, contain,                              arising out of:
                   treat, detoxify or neutralize, or in                              (a) The operation of machinery or
                    any way respond to, or assess the                                    equipment that is attached to, or
                    effects of, "pollutants".                                            part of, a land vehicle that would
           (2) Any loss, oost or expense arising out of                                  qualify under the definition of
               any:                                                                      "mobile equipment" if it were not
               (a) Request, demand, order or statutory                                   subject to a compulsory or financial

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                      responsibility law or other motor                     the contents of such premises, rented to you
                      vehicle insurance law in the state                    for a period of 7 or fewer consecutive days.
                      where it is licensed or principally                   A separate limit of insurance applies to
                      garaged; or                                           Damage To Premises Rented To You as
                  (b) The operation of any of the                           described In Section Ill          Limits Of
                      machinery or equipment listed in                      Insurance.
                      Paragraph f.(2) or f.(3) of the                       Paragraph (2) of this exclusion does not
                      definition of "mobile equipment".                     apply if the premises are "your work" and
     h. Mobile Equipment                                                    were never occupied, rented or held for
     "Bodily injury" or "property damage" arising out                       rental by you.
     of:                                                                    Paragraphs (3), (4), (5) and (6) of this
         (1) The transportation of "mobile equipment"                       exclusion do not apply to llablllty assumed
             by an "auto" owned or operated by or                           under a sidetrack agreement.
             rented or loaned to any insured; or                            Paragraph (6) of this exclusion does not
         (2) The use of •mobile equipment" in, or                           apply to "property damage" included in the
             while in practice for, or while being                          "products-completed operations hazard".
             prepared for, any prearranged racing,                      k. Damage To Your Product
             speed, demolition, or stunting activity.                       "Property damage" to "your product" arising
     I. War                                                                 out of it or any part of It.
            "Bodlly Injury" or         "property damage",               I. Damage To Your Work
            however      caused,    arising,   directly   or                "Property damage" to "your work" arising
            indirectly, out of:                                             out of it or any part of it and Included in
            (1) War, including undeclared or civil war;                     the "products-completed operations hazard".
            (2) Warlike action by a military force,                         This exclusion does not apply if the
                 including action in hindering or defending                 damaged work or the wa1< out of which the
                 against an actual or expected attack, by                   damage arises was performed on your behalf
                 any government, sovereign or other                         by a subcontractor.
                 authority using military personnel or                  m. Damage To Impaired Property                        Or
                 other agents; or                                          Property Not Physically Injured
            (3) Insurrection, rebellion, revolution, usurped                "Property damage• to "impaired property" or
                 power, or action taken by governmental                     property that has not been physically injured,
                 authority in hindering or defending                        arising out of:
                 against any of these.                                      (1) A defect, deficiency, inadequacy or
     J.     Damage To Property                                                    dangerous condition in ''your product" or
            "Property damage" to:                                                 "your work"; or
            (1) Property you own, rent, or occupy,                          (2) A delay or failure by you or anyone
                 including any costs or expenses incurred                         acting on your behalf to perform a
                 by you, or any other person, organization                        contract or agreement in accordance
                 or entity,     for repair,    replacement,                       with its terms.
                 enhancement, restoration or maintenance                    This exclusion does not apply to the loss of
                 of such property for any reason,                           use of other property arising out of sudden
                 including prevention of Injury to a                        and accidental physical injury to "your
                 person or damage to another's property;                    product" or "your work" after it has been
            (2) Premises you sell, give away or                             put to its Intended use.
                 abandon, if the "property damage" arises               n. Recall   Of   Products,                 Work       Or
                 out of any part of those premises;                        Impaired Property
            (3) Property loaned to you;                                     Damages claimed for any loss, cost or
            (4) Personal property in the care, custody or                   expense incurred by you or others for the
                 control of the insured;                                    loss of use, withdrawal, recall, inspection,
            (5) That particular part of real property on                    repair, replacement, adjustment, removal or
                 which you or any contractors or                            disposal of:
                 subcontractors    working    directly  or                  (1) "Your product";
                 Indirectly on your behalf are performing                   (2) "Your work"; or
                 operations, if the "property damage"                       (3) "Impaired property";
                 arises out of those operations; or                         If such product, work, or property Is
            (6) That particular part of any property that                   withdrawn or recalled from the market or
                 must be restored, repaired or replaced                     from use by any person or organization
                 because "your work" was Incorrectly                        because of a known or suspected defect,
                 performed on it.                                           deficiency, inadequacy or dangerous condition
            Paragraphs (1), (3) and (4) of this exclusion                   in it.
            do not apply to "property damage" (other
            than damage by fire) to premises, Including

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     o. Personal And Advertising Injury                                      "Personal and advertising injury" caused by
         •eodily injury" arising out of "personal and                        or at the direction of the insured with the
         advertising Injury".                                                knowledge that the act would violate the
     p. Electronic Data                                                      rights of another and would Inflict "personal
         Damages arising out of the loss of, loss of                         and advertising injury".
         use of, damage to, corruption of, inability to                b.    Material Published With Knowledge
         access, or Inability to manipulate electronic                       Of Falsity
         data.                                                               "Personal and advertising injury" arising out
         As used in this exclusion, electronic data                          of oral or written publication of material, if
         means lnfonnatlon, facts or programs stored                         done by or at the direction of the Insured
         as or on, created or used on, or transmitted                        with knowledge of its falsity.
         to or from computer software, induding                        c.    Material Published Prior To Policy
         systems and applications software, hard or                          Period
         floppy disks, CD-ROMS, tapes, drives, cells,                        "Personal and advertising Injury" arising out
         data processing devices or any other media                          of oral or written publication of material
         which are used with electronically controlled                      whose first publication took place before the
         equipment.                                                          beginning of the policy period.
     Exclusions c. through n. do not apply to                          d.    Criminal Acts
     damage by fire to premises while rented to you                         "Personal and advertising injury" arising out
     or temporarily occupied by you with permission                         of a criminal act committed by or at the
     of the owner. A separate limit of insurance                            direction of the insured.
     applies to this coverage as described In Section                  e.   Contractual Liability
     Ill - Limits Of Insurance.                                             "Personal and advertising Injury" for which
                                                                            the insured has assumed liability in a
COVERAGE B PERSONAL AND                                                     contract or agreement. This exclusion does
ADVERTISING INJURY LIABILITY                                                not apply to liability for damages that the
1. Insuring Agreement                                                       insured would have in the absence of the
   a. We will pay those sums that the insured                               contract or agreement.
      becomes legally obligated to pay as damages                      f.   Breach Of Contract
      because of "personal and advertising injury"                          "Personal and advertising injury" arising out
      to which this Insurance applies. We will                              of a breach of contract, except an Implied
      have the right and duty to defend the                                 contract to use another's advertising idea in
      insured against any "suit" seeking those                              your "advertisement".
      damages. However, we will have no duty to                        g.   Quality Or Performance Of Goods -
      defend the insured against any "suit" seeking                         Failure To Conform To Statements
      damages for "personal and advertising injury"                         "Personal and advertising Injury• arising out
      to which this insurance does not apply. We                            of the failure of goods, products or services
      may, at our discretion, investigate any                               to conform with any statement of quality or
      offense and settle any claim or "suit" that                           performance made In your "advertisement".
      may result. But:                                                 h.   Wrong Description Of Prices
      (1) The amount we will pay for damages is                             "Personal and advertising injury" arising out
           limited as described in Section Ill -                            of the wrong description of the price of
           Limits Of Insurance; and                                         goods, products or services stated in your
      (2) Our right and duty to defend end when                             "advertisement".
           we have used up the applicable limit of                     i.   Infringement Of Copyright, Patent,
           insurance in the payment of judgments                            Trademark Or Trade Secret
           or settlements under Coverages A or B                            "Personal and advertising Injury" arising out
           or medical expenses under Coverage C.                            of the infringement of copyright, patent,
      No other obligation or liability to pay sums                          trademark, trade secret or other intellectual
      or perform acts or services Is covered                                property rights.
      unless     explicitly  provided    for  under                         However, this exclusion does not apply to
      Supplementary Payments - Coverages A and                              infringement, in your "advertisement", of
         B.                                                                 copyright, trade dress or slogan.
     b. This insurance applies to "personal and                       j.    Insureds In Media And Internet Type
         advertising Injury" caused by an offense                           Businesses
         arising out of your business but only if the                       "Personal and advertising injury" committed
        offense was committed in the "coverage                              by an insured whose business is:
         territory" during the policy period.                               (1) Advertising, broadcasting, publishing or
2.   Exclusions                                                                   telecasting;
     This insurance does not apply to:                                      (2) Designing or determining content of web
     a. Knowing Violation Of Rights Of                                            sites for others; or
         Another                                                            (3) An Internet search, access, content or
                                                                                  service provider.
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      However, this exclusion does not apply to                          below for "bodily Injury" caused by an
      Paragraphs 14.a., b. and c. of "personal and                       accident:
      advertising injury" under the Definitions                          (1) On premises you own or rent;
      Section.                                                           (2) On ways next to premises you own or
      For the purposes of this exclusion, the                                  rent; or
      placing of frames, borders or links, or                            (3) Because of your operations;
      advertising, for you or others anywhere on                         provided that:
      the Internet, is not by Itself, considered the                     (1) The accident takes place in the
      business       of     advertising,   broadcasting,                       "coverage territory" and during the
      publishing or telecasting.                                               policy period;
   k. Electronic Chatrooms Or Bulletin                                   (2) The expenses are incurred and reported
      Boards                                                                   to us within one year of the date of
      "Personal and advertising injury" arising out                            the accident; and
      of an electronic chatroom or bulletin board                        (3) The        injured    person     submits    to
      the insured hosts, owns, or over which the                               examination,     at     our   expense,    by
      insured exercises control.                                               physicians of our choice as often as we
   I. Unauthorized Use Of Another's Name                                       reasonably require.
      Or Product                                                     b. We will make these payments regardless of
      "Personal and advertising injury" arising out                      fault. These payments will not exceed the
      of the unauthorized use of another's name or                      applicable limit of insurance. We will pay
      product in your e-mail address, domain name                       reasonable expenses for:
      or metatag, or any other similar tactics to                        (1) First aid administered at the time of an
      mislead another's potential customers.                                   accident;
   m. Pollution                                                         (2) Necessary medical, surgical, x-ray and
      "Personal and advertising injury" arising out                            dental services,       induding prosthetic
      of the        actual,   alleged or threatened                            devices; and
      discharge,     dispersal, seepage,      migration,                (3) Necessary            ambulance,        hospital,
      release or escape of "pollutants" at any                                 professional nursing and funeral services.
      time.                                                     2.   Exclusions
   n. Pollution-Related                                              We will not pay expenses for "bodily injury":
      Any loss, cost or expense arising out of                       a. Any Insured
      any:                                                              To any Insured, except "volunteer workers".
      (1) Request, demand, order or statutory or                     b. Hired Person
            regulatory requirement that any insured                     To a person hired to do work for or on
           or others test for, monitor, clean up,                       behalf of any insured or a tenant of any
            remove, contain, treat, detoxify or                         Insured.
            neutralize, or in any way respond to, or                 c. Injury        On        Normally        Occupied
           assess the effects of, "pollutants"; or                      Premises
      (2) Claim or suit by or on behalf of a                            To a person injured on that part of premises
           governmental authority for damages                           you own or rent that the person normally
            because of testing for, monitoring,                         occupies.
           cleaning      up,     removing,   containing,             d. Workers Compensation And Similar
           treating, detoxifying or neutralizing, or in                 Laws
           any way responding to, or assessing the                      To a person, whether or not an "employee"
           effects of, "pollutants".                                    of any Insured, if benefits for the "bodily
   o. War                                                               injury" are payable or must be provided
      "Personal and advertising injury", however                        under a workers' compensation or disability
      caused, arising, directly or indirectly, out of:                  benefits law or a similar law.
      (1) War, induding undeclared or civil war,                     e. Athletics Activities
      (2) Warlike action by a military force,                           To a person injured while practicing,
           induding action in hindering or defending                    instructing or participating in any physical
           against an actual or expected attack, by                     exercises or games, sports, or athletic
           any government, sovereign or other                           contests.
           authority using military personnel or                     f. Products-Completed Operations
           other agents; or                                             Hazard
      (3) Insurrection, rebellion, revolution, usurped                  Included within the nproducts-completed
           power, or action taken by governmental                       operations hazard".
           authority in hindering or defending                       g. Coverage A Exclusions
           against any of these.                                        Excluded under Coverage A.
COVERAGE C MEDICAL PAYMENTS
1. Insuring Agreement
   a. We will pay medical expenses as described

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SUPPLEMENTARY PAYMENTS -                                                  that we can assign the same counsel to
COVERAGES A AND B                                                         defend the insured and the lndemnitee; and
1. We will pay, with respect to any claim we                         f. The indemnitee:
    investigate or settle, or any "suit" against an                       (1) Agrees in writing to:
    Insured we defend:                                                          (a) Cooperate        with      us  in    the
    a. All expenses we incur.                                                        investigation, settlement or defense
    b. Up to $250 for cost of bail bonds required                                   of the "suit";
         because of accidents or traffic law violations                        (b) Immediately send us copies of any
         arising out of the use of any vehicle to                                   demands, notices, summonses or
         which the Bodily Injury Liability Coverage                                 legal papers received in connection
         applies. We do not have to furnish these                                   with the "suit";
         bonds.                                                                (c) Notify any other insurer whose
   c. The cost of bonds to release attachments,                                     coverage      is    available   to   the
         but only for bond amounts within the                                       indemnitee; and
        applicable limit of insurance. We do not                               (d) Cooperate with us with respect to
        have to furnish these bonds.                                                coordinating         other    applicable
   d. All reasonable expenses incurred by the                                       insurance        available    to     the
        Insured at our request to assist us in the                                  indemnitee; and
         investigation or defense of the claim or                        (2) Provides us with written authorization
        "suit", including actual loss of earnings up                           to:
        to $250 a day because of time off from                                 (a) Obtain records and other information
        work.                                                                       related to the "suit"; and
   e. All costs taxed against the insured in the                               (b) Conduct and control the defense of
        "suit".                                                                     the indemnitee in such "suit".
   f. Prejudgment Interest awarded against the                      So long as the above conditions are met,
        insured on that part of the judgment we pay.                attorneys' fees incurred by us In the defense of
         If we make an offer to pay the applicable                  that indemnitee, necessary litigation expenses
        limit of insurance, we will not pay any                     incurred by us and necessary litigation expenses
        prejudgment interest based on that period of                incurred by the lndemnitee at our request will
        time after the offer.                                       be       paid      as      Supplementary      Payments.
   g. All interest on the full amount of any                        Notwithstanding the provisions of Paragraph
        judgment that accrues after entry of the                    2.b.(2) of Section I - Coverage A - Bodily
        judgment and before we have paid, offered                   Injury And Property Damage Liability, such
        to pay, or deposited in court the part of the               payments will not be deemed to be damages
        judgment that is within the applicable limit                for "bodily injury" and "property damage" and
        of Insurance.                                               will not reduce the limits of insurance.
   These payments will not reduce the limits of                     Our obligation to defend an insured's indemnitee
   Insurance.                                                       and to pay for attorneys' fees and necessary
2. If we defend an insured against a "suit" and an                  litigation expenses as Supplementary Payments
   indemnitee of the insured is also named as a                     ends when:
   party to the "suit", we will defend that                         a. We have used up the applicable limit of
   indemnitee if all of the following conditions are                     insurance in the payment of judgments or
   met:                                                                  settlements; or
   a. The "suit" against the indemnitee seeks                       b. The conditions set forth above, or the terms
        damages for which the insured has assumed                        of the agreement described in Paragraph f.
        the liability of the indemnitee in a contract                    above, are no longer met.
        or agreement that is an "insured contract";
   b. This insurance applies to such liability                 SECTION II • WHO IS AN INSURED
       assumed by the insured;                                 1. If you are designated in the Declarations as:
   c. The obligation to defend, or the cost of the                a. An individual, you and your spouse are
       defense of, that indemnitee, has also been                     insureds, but only with respect to the
        assumed by the insured in the same                            conduct of a business of which you are the
        "insured contract";                                           sole owner.
   d. The allegations in the "suit" and the                       b. A partnership or joint venture, you are an
        information we know about the "occurrence"                    insured. Your members, your partners, and
        are such that no conflict appears to exist                    their spouses are also insureds, but only
       between the interests of the insured and the                   with respect to the conduct of your business.
       interests of the indemnltee;                               c. A limited liability company, you are an
   e. The indemnitee and the insured ask us to                        insured. Your members are also insureds, but
       conduct and control the defense of that                        only with respect to the conduct of your
       indemnitee against such "suit" and agree                       business. Your managers are insureds, but
                                                                      only with respect to their duties as your
                                                                      managers.
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     d. An organization other than a partnership,                                member (if you are a partnership or
        joint venture or limited liability company,                              joint venture), or any member {If you
        you are an insured. Your "executive officers"                            are a limited liability company).
        and directors are insureds, but only with                      b. Any person {other than your "employee" or
        respect to their duties as your officers or                        "volunteer worker"), or any organization
        directors. Your stockholders are also insureds,                    while acting as your real estate manager.
        but only with respect to their liability as                    c. Any person or organization having proper
        stockholders.                                                      temporary custody of your property if you
     e. A trust, you are an Insured. Your trustees                         die, but only:
        are also insureds, but only with respect to                        (1) With respect to liability arising out of
        their duties as trustees.                                                the maintenance or use of that property;
2.   Each of the following is also an insured:                                   and
     a. Your     "volunteer      workers"     only    while                (2) Until your legal representative has been
        performing duties related to the conduct of                              appointed.
        your business, or your "employees", other                      d. Your legal representative if you die, but only
        than either your "executive officers" {if you                      with respect to duties as such. That
        are an organization other than a partnership,                      representative wlll have all your rights and
        joint venture or limited llabillty company) or                     duties under this Coverage Part.
        your managers {if you are a limited liability             3. Any organization you newly acquire or form,
        company), but only for acts within the scope                   other than a partnership, joint venture or limited
        of their employment by you or while                            liability company, and over which you maintain
        performing duties related to the conduct of                    ownership or majority interest, will qualify as a
        your business. However, none of these                          Named Insured if there is no other similar
        "employees• or "volunteer workers" are                         insurance available to that organization. However:
        insureds for:                                                  a. Coverage under this provision Is afforded
        (1) "Bodily       injury"    or    "personal    and                only until the 90th day after you acquire or
             advertising injury":                                          form the organization or the end of the
             (a) To you, to your partners or                               policy period, whichever is earlier;
                   members {if you are a partnership                   b. Coverage A does not apply to "bodily
                   or joint venture), to your members                      Injury" or "property damage" that occurred
                   {if you are a limited liability                         before     you    acquired    or formed    the
                   company), to a co-"employee"                            organization; and
                   while in the course of his or her                   c. Coverage B does not apply to "personal and
                   employment or performing duties                         advertising injury" arising out of an offense
                   related to the conduct of your                          committed before you acquired or formed the
                   business,      or    to    your    other                organization.
                   ''volunteer        workers"        while       No person or organization Is an Insured with respect
                   performing duties related to the               to the conduct of any current or past partnership,
                   conduct of your business;                      joint venture or limited liability company that is not
             (b) To the spouse, child, parent, brother            shown as a Named Insured in the Declarations.
                   or sister of that co-"employee" or
                   "volunteer        worker"       as     a       SECTION Ill • LIMITS OF INSURANCE
                   consequence of Paragraph (1)(a)                1.   The Limits of Insurance shown in the
                   above;                                              Declarations and the rules belo.v fix the most
             (c) For which there is any obligation to                  we will pay regardless of the number of:
                   share damages with or repay                         a. Insureds;
                   someone else who must pay                           b. Claims made or "suits" brought; or
                   damages because of the injury                       c. Persons or organizations making claims or
                   described in Paragraphs (1)(a) or (b)                   bringing "suits".
                   above; or                                      2.   The General Aggregate Limit is the most we
             (d) Arising out of his or her providing                   will pay for the sum of:
                   or failing to provide professional                  a. Medical expenses under Coverage C;
                   health care services.                               b. Damages under Coverage A, except damages
        (2) "Property damage" to property:                                 because of "bodily injury" or "property
             (a) Owned, occupied or used by,                               damage" included in the "products-completed
             (b) Rented to, In the care, custody or                        operations hazard"; and
                   control of, or over which physical                  c. Damages under Coverage B.
                   control is being exercised for any             3.   The Products-Completed Operations Aggregate
                   purpose by                                          Limit is the most we will pay under Coverage
             you,      any     of     your    "employees",             A for damages because of "bodily Injury" and
             "volunteer workers", any partner or                       "property damage• included in the "products-
                                                                       completed operations hazard".

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4.    Subject to 2.          above, the     Personal and               c. You and any other involved insured must:
      Advertising Injury Limit is the most we will                         (1) Immediately send us copies of any
      pay under Coverage B for the sum of all                                   demands, notices, summonses or legal
      damages        because   of   all   "personal  and                        papers received in connection with the
      advertising Injury" sustained by any one person                           claim or "suit";
      or organization.                                                     (2) Authorize us to obtain records and other
5. Subject to 2. or 3. above, whichever applies,                                information;
      the Each Occurrence Limit is the most we will                        (3) Cooperate with us In the investigation
      pay for the sum of:                                                       or settlement of the claim or defense
      a. Damages under Coverage A; and                                          against the "suit"; and
      b. Medical expenses under Coverage C                                 (4) Assist us, upon our request, in the
      because of all "bodily injury" and "property                              enforcement of any right against any
      damage" arising out of any one "occurrence".                              person or organization which may be
6. Subject to 5. above, the Damage To Premises                                  liable to the insured because of injury
      Rented To You Limit is the most we will pay                              or damage to which this insurance may
      under Coverage A for damages because of                                  also apply.
      "property damage" to any one premises, while                    d. No insured will, except at that lnsured's own
      rented to you, or in the case of damage by                          cost, voluntarily make a payment, assume
      fire, while rented to you or temporarily occupied                   any obligation, or incur any expense, other
      by you with permission of the owner.                                than for first aid, without our consent.
7. Subject to 5. above, the Medical Expense Limit                3.   Legal Action Against Us
      is the most we will pay under Coverage C for                    No person or organization has a right under this
      all medical expenses because of "bodily injury"                 Coverage Part
      sustained by any one person.                                    a. To join us as a party or otherwise bring us
The Limits of Insurance of this Coverage Part apply                       into a "suit" asking for damages from an
separately to each consecutive annual period and to                       insured; or
any remaining period of less than 12 months,                          b. To sue us on this Coverage Part unless all
starting with the beginning of the policy period                          of Its terms have been fully complied with.
shown in the Declarations, unless the policy period                   A person or organization may sue us to recover
Is extended after issuance for an additional period of                on an agreed settlement or on a final judgment
less than 12 months. In that case, the additional                     against an insured; but we will not be liable
period will be deemed part of the last preceding                      for damages that are not payable under the
period for purposes of determining the Limits of                      terms of this Coverage Part or that are in
Insurance.                                                            excess of the applicable limit of insurance. An
SECTION IV                  COMMERCIAL GENERAL                        agreed settlement means a settlement and
LIABILITY CONDITIONS                                                  release of liability signed by us, the insured
1. Bankruptcy                                                         and the claimant or the clalmanfs legal
      Bankruptcy or insolvency of the insured or of                   representative.
      the insured's estate will not relieve us of our            4.   Other Insurance
      obligations under this Coverage Part.                           If other valid and collectible insurance is
2. Duties In The Event Of Occurrence,                                 available to the insured for a loss we cover
      Offense, Claim Or Sult                                          under Coverages A or B of this Coverage Part.
      a. You must see to it that we are notified as                   our obligations are limited as follows:
           soon as practicable of an "occurrence" or an               a. Primary Insurance
           offense which may result in a claim. To the                    This insurance is primary except when b.
           extent possible, notice should include:                        below applies. If this insurance is primary,
           (1) How, when and where the "occurrence"                       our obligations are not affected unless any
                or offense took place;                                    of the other insurance Is also primary. Then,
           (2) The names and addresses of any injured                     we wi 11 share with all that other insurance
                persons and witnesses; and                                by the method described in c. below.
           (3) The nature and location of any injury or               b. Excess Insurance
                damage arising out of the "occurrence"                    This insurance is excess over:
                or offense.                                               (1) Any of the other insurance, whether
      b. If a claim is made or "suit" is brought                               primary, excess, contingent or on any
          against any insured, you must                                        other basis:
           (1) Immediately record the specifics of the                         (a) That is Fire, Extended Coverage,
                claim or "suit" and the date received;                              Builder's Risk, Installation Risk or
                and                                                                 similar coverage for "your work";
           (2) Notify us as soon as practicable.                               (b} That is Fire insurance for premises
           You must see to It that we receive written                               rented to you or temporarily occupied
           notice of the claim or "suit" as soon as                                 by you with permission of the
           practicable.                                                             owner;

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              (c) That is insurance purchased by you                     advance premium is a deposit premium only.
                  to cover your liability as a tenant                    At the close of each audit period we will
                  for nproperty damagew to premises                      compute the earned premium for that period
                  rented to you or temporarily occupied                  and send notice to the first Named Insured.
                  by you with permission of the                          The due date for audit and retrospective
                  owner; or                                              premiums is the date shown as the due date
              (d) If the loss arises out of the                          on the bill. If the sum of the advance and
                  maintenance or use of aircraft,                        audit premiums paid for the policy period is
                  •autosn or watercraft to the extent                    greater than the earned premium, we will
                  not subject to Exclusion g. of                         return the excess to the first Named Insured.
                  Section I - Coverage A - Bodily                     c. The first Named Insured must keep records
                  Injury And Property Damage Liability.                  of the information we need for premium
         (2) Any other primary insurance available to                    computation, and send us copies at such
             you covering liability for damages                          times as we may request
             arising     out of the premises          or        6.    Representations
             operations,     or   the    products    and              By accepting this policy, you agree:
             completed operations, for which you                      a. The statements in the Declarations are
              have been added as an additional                           accurate and complete;
             insured      by    attachment     of     an              b. Those     statements     are    based     upon
             endorsement                                                 representations you made to us; and
        When this insurance is excess, we wlll have                   c. We have issued this policy in reliance upon
        no duty under Coverages A or B to defend                         your representations.
        the insured against any nsu1t• if any other             7.   Separation Of Insureds
        Insurer has a duty to defend the insured                      Except with respect to the Limits of Insurance,
        against that "suit". If no other insurer                     and any rights or duties specifically assigned in
        defends, we will undertake to do so, but we                  this Coverage Part to the first Named Insured,
        will be entitled to the insured's rights                     this Insurance applies:
        against all those other insurers.                            a. As If each Named Insured were the only
        When this insurance is excess over other                         Named Insured; and
        insurance, we wlll pay only our share of the                  b. Separately to each Insured against whom
        amount of the loss, If any, that exceeds the                     claim is made or "suit" is brought
        sum of:                                                 8.   Transfer Of Rights Of Recovery Against
        (1) The total amount that all such other                     Others To Us
             Insurance would pay for the loss In the                 If the insured has rights to recover all or part
             absence of this insurance; and                          of any payment we have made under this
        (2) The total of all deductible and self-                    Coverage Part, those rights are transferred to us.
             insured amounts under all that other                    The insured must do nothing after loss to
             insurance.                                              Impair them. At our request, the insured will
        We will share the remaining loss, if any,                    bring nsult" or transfer those rights to us and
        with any other insurance that is not                         help us enforce them.
        described in this Excess Insurance provision            9.   When We Do Not Renew
        and was not bought specifically to apply in                  If we decide not to renew this Coverage Part,
        excess of the Limits of Insurance shown in                   we will mail or deUver to the first Named
        the Declarations of this Coverage Part                       Insured shown in the Declaratlons written notice
     c. Method Of Sharing                                            of the nonrenewal not less than 30 days before
        If all of the other insurance permits                        the expiration date.
        contribution by equal shares, we will follow                 If notice is mailed, proof of malling will be
        this method also. Under this approach each                   sufficient proof of notice.
        insurer contributes equal amounts until it has
        paid its applicable limit of insurance or none         SECTION V - DEFINITIONS
        of the loss remains, whichever comes first.            1. "Advertisement" means a          notice that is
        If any of the other insurance does not                       broadcast or published to the general public or
        permit contribution by equal shares, we will                 specific market segments about your goods,
        contribute by limits. Under this method, each                products or services for the purpose of
        insurer's share is based on the ratio of its                 attracting customers or supporters. For the
        applicable limit of insurance to the total                   purposes of this definition:
        applicable limits of insurance of all insurers.              a. Notices that are published include material
5.   Premium Audit                                                       placed on the Internet or on similar
     a. We will compute all premiums for this                            electronic means of communication; and
        Coverage Part in accordance with our rules                   b. Regarding web sites, only that part of a
        and rates.                                                       web site that Is about your goods, products
     b. Premium shown in this Coverage Part as                           or services for the purposes of attracting

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         customers or supporters is considered an                   9.  "Insured contract" means:
         advertisement.                                                  a.  A contract for a lease of premises. However,
2. "Auto" means:                                                             that portion of the contract for a lease of
    a. A land motor vehicle, trailer or semitrailer                          premises that indemnifies any person or
         designed for travel on public roads, including                      organization for damage by fire to premises
         any attached machinery or equipment; or                             while rented to you or temporarily occupied
    b. Any other land vehicle that is subject to a                           by you with permission of the owner is not
         compulsory or financial responsibility law or                       an "insured contract";
         other motor vehicle insurance law In the                       b. A sidetrack agreement;
         state where it is licensed or principally                      c. Any easement or license agreement, except
         garaged.                                                            in connection with construction or demolition
    However, "auto" does not include "mobile                                 operations on or within 50 feet of a
   equipment".                                                               railroad;
3. "Bodily injury" means bodily injury, sickness or                     d. An obligation, as required by ordinance, to
    disease sustained by a person, including death                           Indemnify          a     municipality,     except     in
    resulting from any of these at any time.                                connection with work for a municipality;
4. "Coverage territory" means:                                          e. An elevator maintenance agreement;
    a. The United States of America (Including Its                     f. That part of any other contract or agreement
        territories and possessions), Puerto Rico and                       pertaining to your business (including an
        Canada;                                                             indemnification           of     a     municipality    in
    b. International waters or airspace, but only if                        connection with work performed for a
        the injury or damage occurs in the course of                        municipality) under which you assume the
        travel or transportation between any places                         tort liability of another party to pay for
        included in a. above; or                                            "bodily Injury" or "property damage" to a
   c. All other parts of the world If the injury or                         third person or organization. Tort liability
        damage arises out of:                                               means a liability that would be imposed by
        (1) Goods or products made or sold by you                           law in the absence of any contract or
              in the territory described in a. above;                       agreement.
        (2) The activities of a person whose home                           Paragraph f. does not include that part of
              is in the territory described In a. above,                    any contract or agreement:
              but is away for a short time on your                          (1) That indemnifies a railroad for "bodily
              business; or                                                         injury" or "property damage" arising out
        (3) "Personal       and     advertising   injury"                          of construction or demolition operations,
              offenses that take place through the                                 within 50 feet of any railroad property
              Internet or similar electronic means of                              and affecting any railroad bridge or
              communication                                                        trestle,       tracks,      road-beds,     tunnel,
   provided the insured's responsibility to pay                                    underpass or crossing;
   damages Is determined in a "suit" on the                                 (2) That indemnifies an architect, engineer
   merits, in the territory described in a. above or                               or surveyor for injury or damage arising
   in a settlement we agree to.                                                    out of:
5. "Employee" includes a "leased worker".                                          (a} Preparing, approving, or falling to
   "Employee" does not include a 1emporary                                               prepare or approve, maps, shop
   worker".                                                                              drawings, opinions, reports, surveys,
6. "Executive officer" means a person holding any                                        field orders, change orders or
   of the officer positions created by your charter,                                     drawings and specifications; or
   constitution, by-laws or any other similar                                      (b} Giving directions or instructions, or
   governing document.                                                                   failing to give them, if that is the
7. "Hostile fire" means one which becomes                                                primary cause of the injury or
   uncontrollable or breaks out from where it was                                        damage; or
   intended to be.                                                          (3) Under which the insured, if an architect,
8. "Impaired property" means tangible property,                                    engineer or surveyor, assumes liability
   other than ''your product" or "your work". that                                 for an injury or damage arising out of
   cannot be used or is less useful because:                                       the insured's rendering or failure to
   a. It incorporates "your product" or "your work"                                render professional services, including
        that Is known or thought to be defective,                                  those       listed     in     (2)   above     and
        deficient, inadequate or dangerous; or                                     supervisory, inspection, architectural or
   b. You have failed to fulfill the terms of a                                    engineering activities.
        contract or agreement;                                     10. "Leased worker" means a person leased to you
   if such property can be restored to use by:                         by a labor leasing firm under an agreement
   a. The repair, replacement, adjustment or                           between you and the labor leasing firm, to
        removal of ''your product" or ''your work"; or                 perform duties related to the conduct of your
   b. Your fulfilling the terms of the contract or                     business. "Leased worker" does not indude a
        agreement.                                                     1emporary worker".
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11. "Loading or unloading" means the handling of                          However, "mobile equipment" does not include
     property:                                                            any land vehicles that are subject to a
     a. After it is moved from the place where it                         compulsory or financial responsibility law or
         is accepted for movement into or onto an                         other motor vehicle insurance law in the state
         aircraft, watercraft or "auto":                                  where it is licensed or principally garaged. Land
     b. While it is in or on an aircraft, watercraft                      vehicles subject to a compulsory or financial
         or "auto"; or                                                    responsibility law or other motor vehicle
     c. While it is being moved from an aircraft,                         insurance law are considered "autos".
         watercraft or "auto" to the place where it                13.    "Occurrence" means an accident, including
         is finally delivered;                                            continuous or repeated exposure to substantially
     but "loading or unloading" does not include the                      the same general harmful conditions.
    movement of property by means of a                             14.    "Personal and advertising injury" means injury,
    mechanical deVice, other than a hand truck, that                      including consequential "bodily injury", arising
    is not attached to the aircraft, watercraft or                       out of one or more of the following offenses:
    "auto".                                                               a. False arrest, detention or imprisonment;
12. "Mobile equipment" means any of the following                         b. Malicious prosecution;
    types of land vehicles, including any attached                        c. The wrongful eviction from, wrongful entry
    machinery or equipment:                                                    into, or invasion of the right of private
    a. Bulldozers, farm machinery, forklifts and                              occupancy of a room, dwelling or premises
         other vehicles designed for use principally                          that a person occupies, committed by or on
        off public roads;                                                     behalf of Its owner, landlord or lessor;
    b. Vehicles maintained for use solely on or                          d. Oral or written publication, in any manner, of
        next to premises you own or ren~                                      material that slanders or libels a person or
    c. Vehicles that travel on crawler treads;                                organization or disparages a person's or
    d. Vehicles, whether self-propelled or not,                               organization's goods, products or services;
         maintained primarily to provide mobility to                     e. Oral or written publication, in any manner, of
        permanently mounted:                                                  material that violates a person's right of
        (1) Power cranes, shovels, loaders, diggers                           privacy;
               or drills; or                                             f. The use of another's advertising idea in your
        (2) Road         construction    or     resurfacing                   "advertisement"; or
               equipment such as graders, scrapers or                    g. Infringing upon another's copyright, trade
              rollers;                                                        dress or slogan in your "advertisement".
    e. Vehicles not described in a., b., c. or d.                  15.   "Pollutants" mean any solid, liquid, gaseous or
        above that are not self-propelled and are                        thermal irritant or contaminant, including smoke,
        maintained primarily to provide mobility to                      vapor, soot, fumes, acids, alkalis, chemicals and
        permanently attached equipment of the                            waste. Waste includes materials to be recycled,
        following types:                                                 reconditioned or reclaimed.
        (1) Air compressors, pumps and generators,                 16.   "Products-completed operations hazard":
              including spraying, welding, building                      a. Includes all "bodily injury" and "property
              cleaning, geophysical exploration, lighting                     damage" occurring away from premises you
              and well servicing equipment; or                                own or rent and arising out of "your
        (2) Cherry pickers and similar devices used                           product" or "your work" except:
              to raise or lower workers;                                      (1) Products that are still in your physical
    f. Vehicles not described in a., b., c. or d.                                   possession; or
        above maintained primarily for purposes other                         (2) Work that has not yet been completed
        than the transportation of persons or cargo.                                or abandoned. However, "your work" will
        However, self-propelled vehicles with the                                   be deemed completed at the earliest of
        following types of permanently attached                                     the following times:
        equipment are not "mobile equipment" but                                    (a) When all of the work called for in
        will be considered "autos":                                                      your contract has been completed.
        (1) Equipment designed primarily for:                                       (b) When all of the work to be done
              (a) Snow removal;                                                          at the job site has been completed
              (b) Road        maintenance,      but      not                             If your contract calls for work at
                    construction or resurfacing; or                                      more than one job site.
              (c) Street cleaning;                                                  (c) When that part of the work done at
        (2) Cherry pickers and similar devices                                           a job site has been put to Its
              mounted on automobile or truck chassis                                     intended use by any person or
              and used to raise or lower workers; and                                    organization other than another
        (3) Air compressors, pumps and generators,                                       contractor or subcontractor working
              Including     spraying, welding,      building                             on the same project.
              cleaning, geophysical exploration, lighting                           Work      that    may     need   service,
              and well servicing equipment.                                         maintenance, correction, repair or

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              replacement, but which is otherwise               19. "Temporary worker" means a person who is
              complete, will be treated as completed.               furnished to you to substitute for a permanent
     b. Does not Include "bodily injury" or "property               "employee" on leave or to meet seasonal or
         damage" arising out of:                                    short-term workload conditions.
         (1) The transportation of property, unless the         20. "Volunteer worker" means a person who is not
              injury or damage arises out of a                      your "employee", and who donates his or her
              condition in or on a vehicle not owned                work and acts at the direction of and within
              or operated by you, and that condition                the scope of duties determined by you, and is
              was created        by the "loading or                 not paid a fee, salary or other compensation by
              unloading" of that vehicle by any                     you or anyone else for their work performed for
              Insured;                                              you.
         (2) The existence of tools, uninstalled                21. "Your product":
              equipment or abandoned or unused                      a. Means:
              materials; or                                              (1) Any goods or products, other than real
         (3) Products or operations for which the                             property, manufactured, sold, handled,
              classification, listed in the Declarations                     distributed or disposed of by:
              or In a policy schedule, states that                           (a) You;
              products-completed       operations    are                     (b) Others trading under your name; or
              subject to the General Aggregate Limit.                        (c) A person or organization whose
17. "Property damage" means:                                                       business     or assets    you    have
    a. Physical Injury to tangible property, including                             acquired; and
         all resulting loss of use of that property. All                (2) Containers       (other     than   vehicles),
         such loss of use shall be deemed to occur                           materials, parts or equipment fumlshed
         at the time of the physical injury that                             in connection with such goods or
         caused it; or                                                       products.
     b. Loss of use of tangible property that Is not                b. Includes
         physically injured. All such loss of use shall                 (1) Warranties or representations made at
         be deemed to occur at the time of the                               any time with respect to the fitness,
        "occurrence" that caused it.                                         quality, durability, performance or use of
    For the purposes of this insurance, electronic                           "your product"; and
    data is not tangible property.                                      (2) The providing of or failure to provide
    As used in this definition, electronic data                              warnings or instructions.
    means Information, facts or programs stored as                  c. Does not include vending machines or other
    or on, created or used on, or transmitted to or                     property rented to or located for the use of
    from computer software, including systems and                       others but not sold.
    applications software, hard or floppy disks, CD-            22. "Your work":
    ROMS, tapes, drives, cells, data processing                     a. Means:
    devices or any other media which are used with                      (1) Work or operations performed by you or
    electronically controlled equipment.                                     on your behalf; and
18. "Suit" means a civil proceeding In which                            (2) Materials, parts or equipment fumished
    damages because of "bodily injury", "property                            in connection with such work or
    damage" or "personal and advertising injury" to                          operations.
    which this insurance applies are alleged. "Suit"                b. Includes
    includes:                                                           (1) Warranties or representations made at
    a. An arbitration proceeding in which such                               any time with respect to the fitness,
        damages are claimed and to which the                                 quality, durability, performance or use of
        insured must submit or does submit with our                          "your work", and
        consent; or                                                     (2) The providing of or failure to provide
    b. Any other alternative dispute resolution                              warnings or instructions.
        proceeding in which such damages are
        claimed and to which the insured submits
        with our consent.



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              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

              RECORDING AND DISTRIBUTION OF MATERIAL OR
                   INFORMATION IN VIOLATION OF LAW
This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph                   B.   The following exclusion is added to Paragraph
     2., Exclusions of Section I - Coverage                             2., Exclusions of Section I - Coverage
     A - Bodily Injury And Property Damage                              B - Personal And Advertising Injury
     Liability:                                                         Liability:
     2. Exclusions                                                      2. Exclusions
         This insurance does not apply to:                                  This insurance does not apply         to:
         RECORDING AND DISTRIBUTION                    OF                   RECORDING AND DISTRIBUTION OF
         MATERIAL OR INFORMATION                       IN                   MATERIAL   OR INFORMATION  IN
         VIOLATION OF LAW                                                   VIOLATION OF LAW
         "Bodily injury" or "property damage" arising                       "Personal and advertising injury" arising
         directly or Indirectly out of any action or                        directly or indirectly out of any action or
         omission that violates or Is alleged to                            omission that violates or is alleged to
         violate:                                                           violate:
         a. The Telephone Consumer Protection Act                           a. The Telephone Consumer Protection Act
              (TCPA), including any amendment of or                              (TCPA), including any amendment of or
              addition to such law; or                                           addition to such law; or
         b. The CAN-SPAM Act of 2003, including                             b. The CAN-SPAM Act of 2003, including
              any amendment of or addition to such                               any amendment of or addition to such
              law;                                                               law;
         c. The Fair Credit Reporting Act (FCRA) and                        c. The Fair Credit Reporting Act (FCRA) and
              any amendment of or addition to such                               any amendment of or addition to such
              law, including the Fair and Accurate                               law, including the Fair and Accurate
              Credit Transaction Act (FACTA); or                                 Credit Transaction Act (FACTA); or
         d. Any federal, state or local statute,                            d. Any federal, state or local statute,
              ordinance or regulation, other than the                            ordinance or regulation, other than the
              TCPA or CAN-SPAM Act of 2003 or                                    TCPA or CAN-SPAM Act of 2003 or
              FCRA      and   their    amendments      and                       FCRA      and   their    amendments     and
              additions, that addresses, prohibits or                            additions, that addresses, prohibits or
              limits     the   printing,   dissemination,                        limits     the   printing,   dissemination,
              disposal, collecting, recording, sending,                          disposal, collecting, recording, sending,
              transmitting,       communicating         or                       transmitting,       communicating        or
              distribution of material or information.                           distribution of material or information.




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              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                EMPLOYMENT-RELATED PRACTICES EXCLUSION

This endorsement modifies insurance provided under the following:


     COMMERCIAL GENERAL LIABILITY COVERAGE PART


A. The following exclusion is added to Paragraph 2.,             B. The following exclusion is added to Paragraph 2.,
     Exclusions of Section I • Coverage A •                         Excluslons of Section I • Coverage B •
     Bodily Injury And Property Damage                              Personal And Advertising Injury Liability:
     Liablllty:                                                      This Insurance does not apply to:
     This insurance does not apply to:                               "Personal and advertising injury" to:
     "Bodily Injury" to:                                                 (1) A person arising out of any:
         (1) A person arising out of any:                                    (a) Refusal to employ that person;
              (a) Refusal to employ that person;                             (b) Termination       of      that     person's
              (b) Termination      of      that     person's                      employment; or
                  employment; or                                             (c) Employment-related practices, policies,
              (c) Employment-related practices, policies,                         acts or omissions, such as coercion,
                  acts or omissions, such as coercion,                            demotion,    evaluation,    reassignment,
                  demotion,    evaluation,    reassignment,                       discipline,   defamation,     harassment,
                  discipline,   defamation,     harassment,                       humiliation or discrimination directed
                  humiliation or discrimination directed                          at that person; or
                  at that person; or                                     (2) The spouse, child, parent, brother or sister
         (2) .The spouse, child, parent, brother or sister                   of that person as a consequence of
              of that person as a consequence of                             "personal and advertising injury" to that
              "bodily injury" to that person at whom                         person at whom any of the employment-
              any of the employment-related practices                        related practices described in Paragraphs
              described in Paragraphs (a), (b), or (c)                       (a), (b), or (c) above is directed.
              above is directed.                                         This exclusion applies:
         This exdusion applies:                                          (1) Whether the insured may be liable as an
         (1) Whether the insured may be liable as an                         employer or in any other capacity; and
              employer or in any other capacity; and                     (2) To any obligation to share damages with
         (2) To any obligation to share damages with                         or repay someone else who must pay
              or repay someone else who must pay                             damages because of the injury.
              damages because of the injury.



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         AMENDMENT OF CONTRACTUAL LIABILITY EXCLUSION
This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE FORM

A. The following replaces Paragraph (2) of Exclusion b., Contractual Liability, in Paragraph 2. of SECTION I -
     COVERAGES - COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY:
     (1) That you would have in the absence of the contract or agreement; or
     (2) Assumed by you in a contract or agreement that is an "insured contract", provided that the "bodily
         injury" or "property damage• occurs subsequent to the execution of the contract or agreement. Solely for
         the purposes of liablllty assumed by you in an "insured contract", reasonable attomey fees and necessary
         litigation expenses Incurred by or for a party other than you will be deemed to be damages because of
         "bodily injury" or "property damage•, provided that:
         (a) liability to such party for, or for the cost of, that party's defense has also been assumed by you in
              the same "insured contract"; and
         (b) Such attomey fees and litigation expenses are for defense of that party against a civil or alternative
              dispute resolution proceeding In which damages to which this insurance applies are alleged.

B. The following replaces the beginning of Paragraph 2., and Paragraphs 2.a., b., c., d. and e., of
     SUPPLEMENTARY PAYMENTS - COVERAGES A AND B of SECTION I - COVERAGES:
     2. If we defend you against a "suit" and your indemnitee Is also named as a party to the "suit", we will
        defend that indemnitee if all of the following conditions are met:
        a. The "suit" against the lndemnltee seeks damages for which you have assumed the liability of the
            indemnitee in a contract or agreement that is an "insured contract•;
        b. This insurance applies to such liability assumed by you;
        c. The obligation to defend, or the cost of the defense of, that indemnltee has also been assumed by
            you in the same "insured contract";
        d. The allegations in the "suit" and the information we know about the "occurrence" are such that we
            determine that no conflict exists between your interests and the interests of the indemnitee;
        e. You and the lndemnitee ask us to conduct and control the defense of that indemnitee against such
            "suit" and agree that we can assign the same counsel to defend you and the indemnltee; and

C. The following replaces the last sentence of Paragraph 2. of SUPPLEMENTARY PAYMENTS - COVERAGES A
   AND B of SECTION I - COVERAGES:
   Our obligation to defend your indemnitee and to pay for attorneys' fees and necessary litigation expenses as
   Supplementary Payments ends when:
   a. We have used up the applicable limit of insurance in the payment of judgments, settlements, medical
       expenses; or
   b. The conditions set forth above, or the terms of the agreement described in Paragraph f. above, are no
       longer met.


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    ADDITIONAL INSURED • OWNERS, LESSEES OR LESSOR OF
              LEASED EQUIPMENT·AUTOMATIC

This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE FORM

A. The words "you" and "your" as used in this endorsement refer to the Named Insured shown in the
   Declarations and any other person or organization qualifying as a Named Insured under the policy to which this
   endorsement Is attached. "You" and "your" do not refer to an additional insured.

B. Section II • Who Is An Insured Is amended to Include any person(s) or organlzatlon(s) for whom you
    are performing operations when you and such person or organization have agreed In a written contract or
    written agreement that such person(s) or organlzation(s) be added as an additional Insured on your policy. Such
    person or organization Is an additional Insured only with respect to:
     1. Llablllty for "bodily Injury", "property damage" or "personal and advertising injury" caused, In whole or In
          part, by:
          a. Your acts or omissions; or
          b. The acts or omissions of those acting on your behalf:
               In the performance of your ongoing operations for the additional insured; or
          c. Your maintenance, operation or use of equipment leased to you by such person(s) or organization(s):
          However, the insurance afforded to such additional insured:
          a. Only applies to the extent pennitted by law; and
          b. Will not be broader than that which you are required by the contract or agreement for such additional
               insured.
          A person's or organization's status as an additional insured under this endorsement ends when the first of
          the following occurs:
               1) Your ongoing operations for that additional Insured are completed or
               2) The contract or agreement Is terminated.

C. With respect to the insurance afforded to these additional insureds, this insurance does not apply to:
     1.   "Bodily Injury", "property damage" or "personal and advertising injury" which takes place after the
          equipment lease expires;
     2.   "Bodily injury", "property damage" or "personal and advertising Injury" caused, In whole or In part, by
          the rendering of, or the failure to render, any professional architectural, engineering or surveying services,
          including:
          a. The preparing, approving, or falling to prepare or approve, maps, shop drawings, opinions, reports,
               surveys, field orders, change orders or drawings and specifications; or
          b. Supervisory, inspection, architectural or engineering activities.
          This exclusion applies even if the claims against any insured allege negligence or other wrongdoing in
          the supervision, hiring, employment, training or monitoring of others by that insured, if the "occurrence"
          which caused the "bodily injury" or "property damage", or the offense which caused the "personal and
          advertising injury", involved the rendering of or the failure to render any professional architectural,
          engineering or surveying services.
     3.   "Bodily injury" or "property damage" occurring after:
          a. All work, including materials, parts or equipment furnished in connection with such work, on the
               project (other than service, maintenance or repairs) to be performed by or on behalf of the additional
               insured(s) at the location of the covered operations has been completed; or
          b. That portion of "your work" out of which the injury or damage arises has been put to its intended
               use by any person or organization other than another contractor or subcontractor engaged in performing
               operations for a principal as a part of the same project.
     4.   "Bodily injury", "property damage" or "personal and advertising injury" arising out of the sole negligence
          or willful misconduct of, or defects in design provided by, the addltlonal Insured or Its "employees".
     5.   "Bodily injury", "property damage" or "personal and advertising injury" caused by "your work" for which
          a consolidated (wrap-up) insurance program has been provided by the prime contractor, project manager or
          owner of a construction project In which you are invited.


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D. Wrth respect to any person or organization added as an additional insured by this endorsement, the definition
   of "insured contract" under Section V - Definitions Is amended as follows:
   1. Paragraph 9.f. does not apply to "bodily injury" or "property damage" included within the "products-
        completed operations hazard" unless such contractual assumption of liability is specifically required by a
        written contract or written agreement.
   2. Under paragraph 9.f. any such part of a contract or agreement shall only be considered an "insured
       contract" to the extent your assumption of the tort liability is permitted by law.

E. With respect to the Insurance afforded to these additional insureds, the following is added to Section Ill •
   Limits Of Insurance:
   The most we will pay on behalf of the additional insured is the amount of insurance:
   1. Required by the contract or agreement you have entered into with the additional insured; or
   2. Available under the applicable Limit of Insurance shown in the Declarations,
   whichever is less.

    This endorsement shall not increase the applicable Limits of Insurance shown in the Declarations.




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               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                             AUTO SERVICE GARAGE
                     BROADENED PRODUCTS LIABILITY COVERAGE
is replaced. This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the coverage form apply unless modified
by endorsement.

A. Paragraph 2. k, Section I • Coverages is replaced by the following:
       k. Damage To Your Product:
            "Property damage" to "your product" arising out of it or any part of it. However, this exclusion does
            not apply to "property damage" to "your garage product".
B. Wrth respect to the coverage provided by this endorsement the following is added to Section I •
   Coverages:
   1. Our obligation to pay damages for "property damage" to "your garage product" only applies to that
       amount which exceeds $250 for any one "occurrence".
C. The following is added to Section IV • Definitions:
   1. "Your Garage Product"
       a. Means:
            (1) The products you fabricated or sold in your garage business to repair, service, or otherwise
                maintain the functionality or appearance of an "auto" which becomes a part of that "auto"; and
            (2) Containers {other than vehicles), materials, parts or equipment furnished in connection with such
                goods or products;
            (3) The providing of or failure to provide warnings or instructions.
       b. Does not include:
            (1) ''Your work", other than the fabrication of "your garage product".



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             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                  ELECTRONIC DAT A LIABILITY

This endorsement modifies Insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                      SCHEDULE


                                                              wn above, w1

A. Exclusion 2.p. of Coverage A • Bodily                        D. For the purposes of the coverage provided by this
   Injury And Property Damage Liability In                          endorsement, the definition of "Property Damage"
   Section I • Coverages Is replaced by the                         In the Definitions Section Is replaced by the
    following:                                                      following:
    2. Exclusions                                                   17. "Property damage" means:
        This insurance does not apply to:                                a. Physical injury to tangible property,
        p. Electronic Data                                                   induding all resulting loss of use of that
           Damages arising out of the loss of, loss                          property. All such loss of use shall be
           of use of, damage to, corruption of,                              deemed to occur at the time of the
           inability to access, or inability to                              physical injury that caused it;
           manipulate "electronic data" that does not                    b. Loss of use of tangible property that is
            result from physical injury to tangible                          not physically injured. All such loss of
            property.                                                        use shall be deemed to occur at the time
B. The following paragraph is added to Section Ill                           of the "occurrence" that caused it; or
    • Limits Of Insurance:                                               c. Loss of, loss of use of, damage to,
   Subject to 5. above, the Loss of Electronic Data                          corruption of, inability to access, or
   Limit shown in the Schedule above is the most                             inability to properly manipulate "electronic
   we will pay under Coverage A for "property                                data", resulting from physical Injury to
   damage" because of all loss of "electronic data"                          tangible property. All such loss of
   arising out of any one "occurrence".                                      "electronic data" shall be deemed to
C. The following definition is added to the                                  occur at the time of the "occurrence"
   Definitions Section:                                                      that caused it.
   "Electronic data" means information, facts or                         For the purposes of this insurance, "electronic
   programs stored as or on, created or used on, or                      data• is not tangible property.
   transmitted to or from computer software
   (induding systems and applications software), hard
   or floppy disks, CD-ROMS, tapes, drives, cells,
   data processing devices or any other media which
   are used with electronically controlled equipment




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               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          PROFESSIONAL LIABILITY EXCLUSION
This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE FORM

The provisions of the policy apply except as modified by this endorsement

A. The following is added to Paragraph 2. Exclusions of Section I - Coverage A. Bodily Injury and Property
   Damage Liability:
   This insurance does not apply to "bodily Injury" or "property damage" caused by rendering or failure to
   render any professional service. This includes but is not limited to:
   (1) Legal, accounting or advertising services;
   (2) Preparing, approving, or failure to prepare or approve maps, drawings, opinions, reports, surveys, change
        orders, designs, or specifications.
   (3) Supervisory, inspection, quality control or engineering activities;
   (4) Services by you or any engineer, architect or surveyor who is either employed by you or performing work
        on your behalf in such capacity, including:
        a. The preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions, reports,
             surveys, field orders, change orders, or
        b. Preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions, reports, surveys,
             field orders, change orders, or drawings and specifications.
   (5) Drawings and specifications;
   (6) Medical, surgical, dental, x-ray or nursing treatment, advice or instruction;
   (7) Treatment of any sickness, disease, condition or injury in animals, including medical, surgical, diagnostic
        testing or dental procedures used for the prevention, detection, diagnosis or the related furnishing or
        prescription of drugs or medical, dental or surgical supplies;
        The rendering or failure to render any advice or lnstrudion on health maintenance; or
        Errors or omissions in the handling or treatment of dead animals including, but not limited to, autopsies,
        organ donation or other procedures.
   (8) Any service, treatment, advice or instruction for the purpose of appearances or skin enhancement, hair
        removal or replacement or personal grooming;
   (9) Any service, treatment, advice or instruction relating to physical fitness, including service, treatment,
        advice or instruction In connection with diet, cardio-vascular fitness, body building or physical training
        programs.
   (10) Optometry or optical or hearing aid services including the prescribing, preparation, fitting, demonstration or
        distribution of ophthalmic lenses and similar products or hearing aid devices;
   (11) Body piercing services; and
   (12) Services in the practice of pharmacy or a druggist.
   (13) Any misrepresentation, error or omission by you or any insurance or real estate sales or service
        representative, agent or broker who is either employed by you or performing work on your behalf In such
        capacity.
   (14) Any service by you or on your behalf in connection with the selling, licensing, franchising or furnishing
        of computer software including electronic data processing programs, designs, specifications, manuals and
        instructions;
   (15) Any act, error or omission with respect to electronic data processing services, computer consulting or
        computer programming services, advice, or instruction rendered by, or that should have been rendered by
        the insured or any person or organization for whose acts errors or omissions the insured is legally
        responsible.

B. The following is added to Paragraph 2. Exclusions of Section I - Coverage B. Personal and Advertising
   Injury Liability:
   This insurance does not apply to "personal and advertising injury" caused by rendering or failure to render
   any professional service. This indudes but is not limited to:
   (1) Legal, accounting or advertising services;
   (2) Preparing, approving, or failure to prepare or approve maps, drawings, opinions, reports, surveys, change
        orders, designs, or specifications.
   (3) Supervisory, inspection, quality control or engineering activities;

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     (4) Services by you or any engineer, architect or surveyor who is either employed by you or performing work
           on your behalf in such capacity, induding:
           a. The preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions, reports,
               surveys, field orders, change orders, or
           b. Preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions, reports, surveys,
               field orders, change orders, or drawings and specifications.
     (5) Medical, surgical, dental, x-ray or nursing treatment, advice or instruction;
     (6) Treatment of any sickness, disease, condition or injury in animals, induding medical, surgical, diagnostic
          testing or dental procedures used for the prevention, detection, diagnosis or the related furnishing or
          prescription of drugs or medical, dental or surgical supplies;
          The rendering or failure to render any advice or instruction on health maintenance; or
          Errors or omissions in the handllng or treatment of dead animals including, but not limited to, autopsies,
          organ donation or other procedures.
     (7) Any service, treatment, advice or Instruction for the purpose of appearances or skin enhancement. hair
          removal or replacement or personal grooming;
     (8) Any service, treatment, advice or instruction relating to physical fitness, including service, treatment,
          advice or instruction in connection with diet, cardio-vascular fitness, body building or physical training
          programs.
     (9) Optometry or optical or hearing aid services including the prescribing, preparation, fitting, demonstration or
          distribution of ophthalmic lenses and similar products or hearing aid devices;
     (10) Body piercing services; and
     (11) Services in the practice of pharmacy or a druggist.
     (12) Any misrepresentation, error or omission by you or any insurance or real estate sales or service
          representative, agent or broker who is either employed by you or performing work on your behalf in such
          capacity.
     (13) Any service by you or on your behalf in connection with the selling, licensing, franchising or furnishing
          of computer software including electronic data processing programs, designs, specifications, manuals and
          instructions;
     (14) Any act, error or omission with respect to electronic data processing services, computer consulting or
          computer programming services, advice, or instruction rendered by, or that should have been rendered by
          the insured or any person or organization for whose acts errors or omissions the Insured is legally
          responsible.




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               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         BROAD FORM NOTICE OF OCCURRENCE

This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE FORM

The provisions of the policy apply except as modified by this endorsement

The following is added to Paragraph 2. Duties in the Event of Occurrence, Offense, Claim or Suit. of
Section IV - Commercial General Liability Conditions:

e.   The    requirements in Paragraph 2.a., above, do not apply until after the "occurrence" or offense is known to:
     (1)   You, if you are an individual:
     (2)   A partner, if you are a partnership:
     (3)   An "executive officer" or insurance manager, if you are a corporation;
     (4)   Your members, managers or insurance manager, if you are a limited liability company; or
     (5)   Your elected or appointed officials, trustees, board members, or your insurance manager if you are an
           organization other than a partnership, joint venture, or limited liability company




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                      INCIDENTAL MEDICAL SERVICES LIABILITY

This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE FORM

The provisions of the policy apply except as modified by this endorsement.

The following is added to Section I - Coverage A. Paragraph 1:

Additional Coverage - Incidental Medical Services Liability

     Damages because of "bodily injury" indude Incidental Medical Services Injury. This means injury arising out
     of the giving or failure to give, during the policy period, the following services:
     1. Medical, surgical, dental, x-ray or nursing service or treatment, including food and drink given in the
         process;
     2. Providing drugs or medical, dental or surgical supplies.
     3. This coverage does not apply to:
     4. Expenses incurred by the insured for first aid to others as provided under Medical Expenses.
     5. Any insured who engages in the business or occupation of providing any of the services described above.
     6. Any insured who causes injury for which liability is assumed under any contract or agreement, if engaged
         In the business Dr occupation of providing services described above.


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              ADDITIONAL INSURED - GRANTOR OF LICENSES -
             AUTOMATIC STATUS WHEN REQUIRED BY LICENSOR

This endorsement modifies Insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE PART


Section II • Who Is An Insured is amended to include as an insured any person(s) or organization(s) that
grants licenses to you when you and such person(s) or organization(s) have agreed In writing in a contract or
agreement that such person(s) or organization(s) be named as an additional Insured on your policy. Such person(s)
or organizalion(s) is an insured only with respect to their liability as grantor of licenses to you.

A person(s) or organization(s) status as an additional insured under this endorsement ends when:
   1. The license granted to you by such person(s) or organization(s) expires; or
   2. Your license is terminated or revoked by such person(s) or organlzalion(s) prior to expiration of the
        license as stipulated by the contract or agreement


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                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

                        MEDICAL EXPENSES - FOOD OPERATIONS

This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE FORM

A. The following is added to Coverage C. Medical Payments Paragraph 1.a.:
   (4) Arising out of "your product" as included in the "products-completed operations hazard" for operations
       Involving the serving and consumption of food products on your premises.

8. Paragraph 2.f. of Coverage C. Medical Payments is replaced by the following:
     f.     Products-Completed Operations Hazard
            lnduded within the "products-completed operations hazard". This exclusion does not apply, however, to
            "bodily injury• resulting from the consumption of food products which are "your product" on your
            premises.




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                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

                     BROADENED NON - OWNED WATERCRAFT
This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE FORM

A. Paragraph 2.g.(2) of Section I • Coverages Is replaced by the following:

     (2) A watercraft you do not own that is:
         (a) Less than 51 feet long; and
         (b) Not being used to carry persons or property for a charge;




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              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                    ARKANSAS EXCLUSION OF PUNITIVE DAMAGES
                     RELATED TO A CERTIFIED ACT OF TERRORISM
This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART
    LIQUOR LIABILITY COVERAGE PART
    OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
    POLLUTION LIABILITY COVERAGE PART
    PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
    RAILROAD PROTECTIVE LIABILITY COVERAGE PART
    UNDERGROUND STORAGE TANK POLICY

A. The following exclusion is added:                                            b. The act is a violent act or an act that
   This insurance does not apply to:                                               is dangerous to human life, property or
   TERRORISM PUNITIVE DAMAGES                                                      infrastructure and is committed by an
   Damages arising, directly or indirectly, out of a                               individual or individuals as part of an
   •certified act of terrorism" that are awarded as                                effort to coerce the civilian population
   "punitive damages''.                                                            of the United States or to influence the
B. The following definitions are added:                                            policy or affect the conduct of the
   1. "Certified act of terrorism" means an act                                    United States Government by coercion.
       that is certified by the Secretary of the                          2. "Punitive damages" means damages that may
       Treasury, in accordance with the provisions                             be imposed to punish a wrongdoer and to
       of the federal Terrorism Risk Insurance Act,                            deter others from similar conduct.
       to be an act of terrorism pursuant to such                      C. The terms and limitations of any terrorism
       Act. The criteria contained in the Terrorism                       exclusion, or the Inapplicability or omission of a
       Risk Insurance Act for a "certified act of                         terrorism exclusion, do not serve to create
       terrorism" include the following:                                  coverage for injury or damage that is otherwise
       a. The act resulted in insured losses in                           excluded under this Coverage Part.
             excess of $5 million in the aggregate,
             attributable to all types of insurance
             subject to the Terrorism Risk Insurance
             Act; and




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              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          ARKANSAS CHANGES • NON-BINDING ARBITRATION
This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART
    ELECTRONIC DATA LIABILITY COVERAGE PART
    LIQUOR LIABILITY COVERAGE PART
    OWNERS AND CONTRACTORS PROTECTION LIABILITY COVERAGE PART
    POLLUTION LIABILITY COVERAGE PART
    PRODUCT WITHDRAWAL COVERAGE PART
    PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
    RAILROAD PROTECTIVE LIABILITY COVERAGE PART
    UNDERGROUND STORAGE TANK POL.ICY

If we and the insured do not agree whether coverage              Unless both parties agree otherwise, arbitration will
is provided under this Coverage Part or Policy for a             take place in the county or parish in which the
claim made against the insured, both parties may, by             address shown in the Declarations is located. Local
mutual consent, agree in writing to arbitration of the           rules of law as to procedure and evidence will apply.
disagreement.                                                    Any decision agreed to by the arbitrators may be
If both parties agree to arbitrate, each party will              appealed to a court of competent jurisdiction.
select an arbitrator. The two arbitrators will select a
third. If they cannot agree within 30 days, both
parties must request that selection be made by a
judge of a court having jurisdiction. Each party will:
     1. Pay the expenses it incurs; and
     2. Bear the expenses of the third arbitrator
         equally.


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             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                  ARKANSAS CHANGES • POLLUTION EXCLUSION

This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE FORM


A. The following is added to Paragraph 2.f. of Section I • Exclusions:
   (3) Paragraph 2. f. (1) and (2) applies to all insureds to include, but not limited to:
       a. An active polluter legally obligated to pay damages beceuse of an "occurrence" resulting from
            continuous or repeated exposure to substantially the same generally harmful conditions, or
       b. Any other polluter responsible for damages resulting from an "occurrence" caused by an isolated,
            infrequent, or unexpected event.

B. The following is added to Paragraph 2.m. of Section I • Coverage B Personal and Advertising
    Injury Liability:
    This exclusion applies to all insureds to include, but not limited to:
    (1) An active polluter legally obligated to pay damages because of an "occurrence" resulting from continuous
        or repeated exposure to substantially the same generally harmful conditions, or
    (2) Any other polluter responsible for damages resulting from an "occurrence" caused by an isolated,
        infrequent, or unexpected event.

C. The following replaces Paragraph 15. of Section IV • Definitions:
   15. "Pollutants" mean any solid, liquid, gaseous, bacterial, fungal, electromagnetic, thermal or other substance
       that can be toxic or hazardous, cause irritation to animals or persons and/or cause contamination to
       property and the environment including smoke, except smoke arising from a "hostile fire", vapor, soot,
       fumes, acids, alkalis, chemicals, and waste. Specific examples identified as pollutants include, but are not
       limited to, diesel, kerosene, and other fuel oils, gasoline, butane, propane, natural gas, and other fuels,
       brake fluid, transmission fluid, and other hydraulic fluids, ethylene glycol, methanol, ethanol, isopropyl
       alcohol, and propylene glycol, and other antifreeze additives, grease, tar, petroleum distillates, and other
       petroleum products, carbon monoxide, and other exhaust gases, Stoddard solvent, mineral spirits, and other
       solvents, chromium compounds, emulsions/emulsifiers, naphtha, tetrachloroethylene, perchloroethylene (PERC),
       trichloroethylene (TCE), methylene chloroform, and other dry cleaning chemicals, methyl isobutyl ketone,
       methyl ethyl ketone, n-butyl acetate, 2-butoxyethanol, hexylene glycol, peroxides, Freon, polychlorinated
       biphenyl (PCB), CFC113, chlorofluorocarbons, chlorinated hydrocarbons, adhesives, pesticides, insecticides,
       barium, 1,2-Dichloroethylene, ethylene dichloride, dichloromethane, methylene chloride, ehtylbenzene, lead,
       Mercury, Selenium, sulfate., xylene, silica, sewage, and industrial waste materials and all substances
       specifically listed, identified, or described by one or more of                   the following references:
       Comprehensive Environmental Response, Compensation, and Liability Act (CERCLA)
       Priority List Hazardous Substances (1997 and all subsequent editions), Agency For Toxic
       Substances And Disease Registry ToxFAQsrM, and/or U.S. Environmental Protection
       Agency EMCI Chemical References Complete Index. Substances identified as examples above
       or by the referenced lists also include materials or substances to be discarded, recycled, reconditioned or
       reclaimed.

         This definition of "pollutants" applies whether or not such solid, liquid, gaseous, bacterial, fungal,
         electromagnetic or thermal irritant or contaminant is your product or products used by or for you, and/or
         is an integral part of or incidental to your business or operations or has any function in your business,
         operations, premises, site, or location.



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~          Insurance Companies                                                               BOP 2896359                   00

             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
Tliis endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART
    LIQUOR LIABILITY COVERAGE PART
    OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
    POLLUTION LIABILITY COVERAGE PART
    PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
    RAILROAD PROTECTIVE LIABILITY COVERAGE PART
    UNDERGROUND STORAGE TANK POLICY

A. If aggregate insured losses attrlbutable to                       1. The act resulted in insured losses in excess of
   terrorist acts certified     under the federal                       $5 million in the aggregate, attrlbutable to all
   Terrorism Risk Insurance Act exceed $100 billion                     types of insurance subject to the Terrorism Risk
   in a calendar year and we have met our insurer                       Insurance Act; and
   deductible under the Terrorism Risk Insurance                     2. The act is a violent act or an act that is
   Act, we shall not be llable for the payment of                       dangerous     to   human      life,   property  or
   any portion of the amount of such losses that                        infrastructure and is committed by an individual
   exceeds $100 billion, and in such case insured                       or individuals as part of an effort to coerce the
   losses up to that amount are subject to pro rata                     civilian population of the United States or to
   allocation   in   accordance    with   procedures                    influence the policy or affect the conduct of the
   established by the Secretary of the Treasury.                        United States Government by coercion.
   •Certified act of terrorism" means an act that                    B. The terms and limitations of any terrorism
   is certified by the Secretary of the Treasury, in                    exclusion, or the inapplicability or omission of a
   accordance with the provisions of the federal                        terrorism exdusion, do not serve to create
   Terrorism Risk Insurance Act, to be an act of                        coverage for injury or damage that is otherwise
   terrorism pursuant to such Act. The criteria                         excluded under this Coverage Part.
   contained In the Terrorism Risk Insurance Act
   for a "certified act of terrorism" include the
   following:




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      ~        STATE AUTO•
. .CJ          Insurance Companies                                                             BOP 2896359                       00

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       ARKANSAS CHANGES • MUL Tl-YEAR POLICIES
This endorsement modifies insurance provided under the following:

       COMMERCIAL GENERAL LIABILITY COVERAGE PART
       LIQUOR LIABILITY COVERAGE PART
       POLLUTION LIABILITY COVERAGE PART
       PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

The following is added to the Common Policy Conditions:

G. MUL Tl-YEAR POLICIES
   We may issue this policy for a term in excess of twelve months with the premium adjusted on an annual
   basis in accordance with our rates and rules.



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                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                               ARKANSAS CHANGES

This endorsement modifies insurance provided under the following:

        COMMERCIAL GENERAL LIABILITY COVERAGE PART


Pursuant to Arkansas Code Section 23-79-155:                          B. The definition of "occurrence" required by this
                                                                         section of Arkansas law does not serve to limit
A. The definition of "occurrence" includes faulty                        or restrict the applicability of any exclusion for
       workmanship; and                                                  "bodily injury" or "property damage" under this
                                                                         Coverage Part.




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    ~          STATE AUT0°
. .CJ          Insurance Companies                                                     BOP 2896359                              00   S

                                                                                   Acct. Number CB90192283
  STAR CITY INSURANCE AGENCY LLC
  POBOX340
  STAR CITY, AR 71667




ITo:'' Insured                                                                ;Your Independent AQent




 STAR CITY COLLISION CENTER LLC                                         STAR CITY INSURANCE AGENCY LLC
 1610 N LINCOLN AVE                                                     POBOX340
 STAR CITY, AR 71667                                                    STAR CITY, AR 71667




Thank you for insuring with State Auto Insurance Companies. Attached Is information about your new business,
renewal or policy change. Please contact your agent with any questions.

Your coverages are listed on the attached declarations pages. Any new or revised coverage forms are attached.

The State Auto Insurance companies and your independent agent strive to provide overwhelming service to you.
Please let us know how we can best serve your needs.

ENCLOSED DOCUMENTS ARE POLICY INFORMATION ONLY.
YOUR BILL WILL BE SENT SEPARATELY, IF NEEDED.
If you have questions concerning policy payment status, please call Payment Services at 1-800-444-9950, Ext. 5118.




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   IA STATE AUTO•
-'li..J Insurance Companies                                                      BOP 2896359                            00

                          State Auto Property and Casualty Insurance Co.
    Named Insured and Address:                            Agency Name, Address and Telephone:
    STAR CITY COLLISION CENTER LLC                        STAR CITY INSURANCE AGENCY LLC
    1610 N LINCOLN AVE                                    PO BOX 340
    STAR CITY, AR 71667                                   STAR CITY, AR 71667


    Region:                                               (870) 628-5133        Agency Number:                   0002963
    Policy Period:        From: 11/0312016                To: 11/03/2017
    This change resulted in no premium change.
    Polley Change Effective: 11/03/16                     Total Revised Premium:         $4,933.00
                                           POLICY CHANGES
                        This Endorsement changes the policy. Please read it carefully.

      THE FOLLOWING HAS BEEN ADDED AS A MORTGAGEE FOR LOCATION 1 BUILDING 1

      BANK OF STAR CITY
      PO BOX69
      STAR CITY, AR 71667




           THANK YOU FOR MAKING STATE AUTO YOUR COMMERCIAL COMPANY

      11/08/16


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